Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 1 of 157 Page
                                 ID #:31713




                 EXHIBIT 19
    Case 2:10-cv-03633-ODW-RZ                Document 500-4 Filed 10/10/12               Page 2 of 157 Page
                                                  ID #:31714
Tom McGuire Assistant

From:                             Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN=REOPIENTS/CN=MTOBEROFF_ASST>
Sent:                             Friday, May 21, 2004 9:15 AM
To:                               Ariel Emanuel Scheduler
Subject:                          RE:Favor


Dear autumn:
Are the Siegels(superman) meting AE and MT in .AE's office or have you reserved a conference room? Please let me
know...

Nicholas
IP Worldwide

        -----Original Message-----
        From: Ariel Emanuel Scheduler
        Sent: Thursday, May 20, 2004 3:41 PM
        To: Marc Toberoff Assistant
        Subject: RE: Favor

        Thank you so much. I'm sorry to bother you so much.

               ----Original Message-----
               From: Marc Toberoff Assistant
               Sent: Thursday, May 20, 2004 3:40 PM
               To: Ariel Emanuel Scheduler
               Cc: IPWW
               Subject: RE: Favor

               Dear Autumn,
               The meeting is now rescheduled for 11:30.
               The meeting is with the siegels (the superman heirs).
               It is a very important client.
               Please confirm receipt of this email
               Thanks.
               Nicholas
               IP Worldwide

                        -----Original Message-----
                        From: Ariel Emanuel Scheduler
                      . Se(Jt: Thursday, May 20, 2004 3:34PM
                        To: Marc Toberoff Assistant
                        Subject: Favor

                       AE will be able to do the meeting tomorrow. He was wondering, could you push it to 11 :30?

                       Also, I deleted the old email. Who is the meeting with again?

                       Thanks,

                      Autumn




                                                           1


                                                    EXHIBIT 19                                           WME 00051
                                                       172
~-   '
             Case 2:10-cv-03633-ODW-RZ                Document 500-4 Filed 10/10/12                Page 3 of 157 Page
                                                           ID #:31715
         Tom McGuire Assistant

         From:                             Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                           GROUP/CN=REOPIENTS/CN=MTOBEROFF_ASST>
         Sent:                             Tuesday, May 11, 2004 12:36 PM
         To:                               Ariel Emanuel Scheduler
         Cc:                               IPWW
         Subject:                          RE: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive)



         We need to schedule an office meeting between Marc Toberoff, Ari Emanuel, and Laura Siegel Larson(superman). Times
                                                                                                           1
         during which the Larsons are available include: Thursday the 13th from 12.30- 5:00, Friday the 14 h from 12.30- 5.00, and
                               1
         finally Tuesday the 18 h from12.00- 5.00. Please let me know at your earliest convenience and I'll coordinate with the
         Larsons. Thanks ....

         Nicholas C. Williamson
         IP Worldwide




                                                      REDACTED




                                                                    1

                                                             EXHIBIT 19                                             WME 00052
                                                                173
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 4 of 157 Page
                                 ID #:31716




                            REDACTED




                                     2


                                EXHIBIT 19                            WME 00053
                                   174
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 5 of 157 Page
                                 ID #:31717




                              REDACTED




                                     3
                                EXHIBIT 19                             WME 00054
                                   175
    Case 2:10-cv-03633-ODW-RZ                Document 500-4 Filed 10/10/12                 Page 6 of 157 Page
                                                  ID #:31718
Tom McGuire Assistant

From:                             Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN=REQPIENTS/CN=MTOBEROFF_ASST>
Sent:                             Thursday, October 30, 2003 4:03 PM
To:                               Ariel Emanuel Scheduler
Subject:                          RE: AE/MT/Siegels mtg (re Superman/Superboy)




    Not good. Here are the times they provided for me:

    11/4-11, 12,or1p

    11/5 - 11 , 12 or 1p

    11/6- 1 or 2p




            -----Original Message-----
            From: Ariel Emanuel Scheduler
            Sent: Thursday, October 30, 2003 12:54 PM
            To: Marc Toberoff Assistant
            Subject: RE: AE/MT/Siegels mtg (re SupermanjSuperboy)



            11/4 at 5PM?




                    -----Original Message-----
                    From: Marc Toberoff Assistant
                    Sent: Thursday, October 30, 2003 12:53 PM
                    To: Ariel Emanuel Scheduler
                    Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                    Of course, 1115 @ 4p does not work for the Siegels. They are available on 11/4, or morning of 11/5,
                    or afternoon of 11/6.




                    -----Original Message-----
                    From: Ariel Emanuel Scheduler
                    Sent: Wednesday, October 29, 2003 6:17PM
                    To: Marc Toberoff Assistant
                    Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                    Who are the siegels? Can I have first names?
                                                           1

                                                    EXHIBIT 19                                             WME 00055
                                                       176
.....   Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12               Page 7 of 157 Page
                                                ID #:31719

                  -----Original Message-----
                  From: Marc Toberoff Assistant
                  Sent: Wednesday, October 29, 2003 6:15PM
                  To: Ariel Emanuel Scheduler
                  Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                  That's fine.




                  -----Original Message-----
                  From: Ariel Emanuel Scheduler
                  Sent: Wednesday, October 29, 2003 6:10PM
                  To: Marc Toberoff Assistant
                  Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                  4PM, works on 11/5




                  -----Original Message-----
                  From: Marc Toberoff Assistant
                  Sent: Wednesday, October 29, 2003 6:07 PM
                  To: Ariel Emanuel Scheduler
                  Subject: AE/MT/Siegels mtg (re Superman/Superboy)



                  Is AE available anytime on 11/4 or 11/5 for a mtg with the Siegels? We need to schedule this ASAP
                  due to the importance of this property. Let me know. Thanks.




                                                        2

                                                 EXHIBIT 19                                            WME 00056
                                                    177
 ..
~·


          Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12                 Page 8 of 157 Page
                                                         ID #:31720
      Tom McGuire Assistant

      From:                               Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                          GROUP/CN=REOPIENTS/CN=MTOBEROFF_ASST>
      Sent:                               Thursday, October 30, 2003 12:55 PM
      To:                                 Ariel Emanuel Scheduler
      Subject:                            RE: AE/MT/Siegels mtg (re Superman/Superboy)




         I'll run it by them. Will let you know.




                 -----Original Message-----
                 From: Ariel Emanuel Scheduler
                 S~nt: Thursday, October 30, 2003 12:54 PM
                 To: Marc Toberoff Assistant
                 Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                  11/4 at 5PM?




                           -----Original Message-----
                           From: Marc Toberoff Assistant
                           Sent: Thursday, October 30, 2003 12:53 PM
                           To: Ariel Emanuel Scheduler
                           Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                           Of course, 11/5 @ 4p does not work for the Siegels. They are available on 11/4, or morning of 11/5,
                           or afternoon of 11/6.




                          -----Original Message-----
                          From: Ariel Emanuel Scheduler
                          Sent: Wednesday, October 29, 2003 6:17PM
                          To: Marc Toberoff Assistant
                          Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                          Who are the siegels? Can I have first names?




                                                                  1

                                                          EXHIBIT 19                                              WME 00057
                                                             178
...........
          Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12               Page 9 of 157 Page
                     ----Original Message-----
                                                  ID #:31721
                     From: Marc Toberoff Assistant
                     Sent: Wednesday, October 29, 2003 6:15PM
                     To: Ariel Emanuel Scheduler
                     Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                     That's fine.




                      -----Original Message-----
                    . From: Ariel Emanuel Scheduler
                     Sent: Wednesday, October 29, 2003 6:10PM
                     To: Marc Toberoff Assistant
                     Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                    4PM, works on 11/5




                    -----Original Message-----
                    From: Marc Toberoff Assistant
                    Sent: Wednesday, October 29, 2003 6:07PM
                    To: Ariel Emanuel Scheduler
                    Subject: AE/MT/Siegels mtg (re Superman/Superboy)



                    Is AE available anytime on 11/4 or.11/5 for a mtg with the Siegels? We need to schedule this ASAP
                    due to the importance of this property. Let me know. Thanks.




                                                          2

                                                     EXHIBIT 19                                          WME 00058
                                                        179
      Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12                   Page 10 of 157 Page
                                                     ID #:31722
Tom McGuire Assistant

From:                                 Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                      GROUP/CN=RECIPIENTS/CN=MTOBEROFF_ASST>
Sent:                                 Wednesday, October 29, 2003 6:22 PM
To:                                   Ariel Emanuel Scheduler
Subject:                              RE: AE/MT/Siegels mtg (re Superman/Superboy)




      Laura and Joanne Siegel. Daughter and widow of Jerry Siegel, co-creator of Superman/Superboy. AEIMT represent
      their rights in the property.

      FYI, I still need to confirm the date/time of mtg w/the Siegels. But I don't anticipate any problems.




              -----Original Message-----
              From: Ariel Emanuel Scheduler
              Sent: Wednesday, October 29, 2003 6:17PM
              To: Marc Toberoff Assistant
              Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



              Who are the siegels? Can I have first names?




                      ---.,.-Original Message-----
                      From: Marc Toberoff Assistant
                      Sent: Wednesday, October 29, 2003 6:15PM
                      To: Ariel Emanuel Scheduler
                      Subject: RE: AE/MT/Siegels mtg (re Superman/Superboy)



                      That's fine.




                      -----Original Message-----
                      From: Ariel Emanuel Scheduler
                      Sent: Wednesday, October 29, 2003 6:10PM
                      To: Marc Toberoff ASsistant
                      Subject: RE: AE/MT/Siegels mtg (re Superman(Superboy)



                      4PM, works on 11/5



                                                                1


                                                        EXHIBIT 19                                            WME 00059
                                                           180
~   '   Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12               Page 11 of 157 Page
                   -----Original Message-----   ID #:31723
                   From: Marc Toberoff Assistant
                   Sent: Wednesday, October 29, 2003 6:07PM
                   To: Ariel Emanuel Scheduler
                   Subject: AE/MT/Siegels mtg (re Superman/Superboy)



                   Is AE available anytime on 11/4 or 11/5 for a mtg with the Siegels? We need to schedule this ASAP
                   due to the importance of this property. Let me know. Thanks.




                                                        2

                                                   EXHIBIT 19                                          WME 00060
                                                      181
    Case 2:10-cv-03633-ODW-RZ               Document 500-4 Filed 10/10/12        Page 12 of 157 Page
                                                 ID #:31724
Tom McGuire Assistant

From:                             Ariel Emanuel Scheduler </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN =RECIPIENTS/CN =AEMANU EL_SCH ED>
Sent:                             Thursday, May 20, 2004 8:21 AM
To:                               Marc Toberoff Assistant
Subject:                          AE, MT, Laura and Joanne Siegel (Superman)


Can we reschedule this for next week? AE will not be able to attend tomorrow.

Thanks,

Autumn




                                                          1

                                                    EXHIBIT 19                                 WME .00061
                                                       182
      Case 2:10-cv-03633-ODW-RZ                  Document 500-4 Filed 10/10/12       Page 13 of 157 Page
                                                      ID #:31725
Tom McGuire Assistant

From:                                 Ariel Emanuel Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                      GROUP/CN = REOPIENTS/CN =AEMANU EL_ASST>
Sent:                                 Thursday, May 20, 2004 8:16 AM
To:                                   Ariel Emanuel Scheduler


Resked dr. brodney

Change the siegel superman meeting but just ch_eck with him first




                                                         REDACTED




                                                                    1

                                                          EXHIBIT 19                               WME 00062
                                                             183
      Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12                 Page 14 of 157 Page
                                                  ID #:31726
Tom McGuire Assistant

From:                             Marc Toberoff Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN=REOPIENTS/CN=MTOBEROFF_ASST>
Sent:                             Tuesday, May 11, 2004 12:36 PM
To:                               Ariel Emanuel Scheduler
Cc:                               IPWW
Subject:                          RE: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive)


We need to schedule an office meeting between Marc Toberoff, Ari Emanuel, and Laura Sieg~l Larson(superman). Times
                                                                 1
during which the Larsons are available include: Thursday the 13 h from 12.30-5:00, Friday the 14th from 12.30-5.00, and
finally Tuesday the 18th from12.00- 5.00. Plea.se let !lle know at your earliest convenience and I'll coordinate with the
Larsons. Thanks ....

Nicholas C. Williamson
IP Worldwide




                                              REDACTED




                                                           1

                                                     EXHIBIT 19                                            WME 00063
                                                        184
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 15 of 157 Page
                                 ID #:31727




                             REDACTED




                                     2
                                 EXHIBIT 19                           WME 00064
                                    185
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 16 of 157 Page
                                 ID #:31728




                               REDACTED




                                      3
                                 EXHIBIT 19                            WME 00065
                                    186
    Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12         Page 17 of 157 Page
                                                ID #:31729

Tom McGuire Assistant

From:                             Ariel Emanuel Scheduler </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN=RECIPIENTS/CN=AEMANUEL_SCHED>
Sent:                             Tuesday, ·November 04, 2003 11:12 AM
To:                               Marc Toberoff Assistant
Subject:                          RE: AE/MT/Siegels mtg




   Thanks.




             -----Original Message-----
             From: Marc Toberoff Assistant
             Sent: Tuesday, November 04, 2003 11:11 AM
             To: Ariel Emanuel Schequler
             Subject: RE: AE/MT/Siegels mtg



             Laura and Joanne Siegel




           -----Original Message-----
           From: Ariel Emanuel Scheduler
           Sent: Tuesday, November 04, 2003 11:09 AM
           To: Marc Toberoff Assistant
           Subject: RE: AE/MT/Siegels mtg



           Forgot What are their names?




           -----Original Message-----
           From: Marc Toberoff Assistant
           Sent: Tuesday, November 04, 2003 11:09 AM
           To: Ariel Emanuel Scheduler
           Subject: RE: AE/MT/Siegels mtg



           Ok. Confirmed.

                                                         1
                                                 EXHIBIT 19                                    WME 00066
                                                    187
Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12          Page 18 of 157 Page
                                            ID #:31730



     -----Original Message-----
     From: Ariel Emanuel Scheduler
     Sent: Tuesday, November 04, 2.003 11:06 AM
     To: Marc Toberoff Assistant
     Subject: RE: AE/MT/Siegels mtg



     AE can do 11/13 at 3PM/




     -----Original Message-----
     From: Marc Toberoff Assistant
     Sent: luesday, November 04, 2.003 11:04 AM
     To: Ariel Emanuel Scheduler              ·
     Subject: RE: AE/MT/Siegels mtg



     Ok. 11/13 AM does not work for them ... here's what they proposed:

     11/12 AM (1 0 -1), 11/13 afternoon up to 4p or 11/14 AM (10 -1)

     Let me know.




     -----Original Message-----
     From: Ariel Emanuel Scheduler
     Sent: Monday, November 03, 2.003 3:42 PM
     To: Marc Toberoff Assistant
     Subject: RE: AE/MT/Siegels mtg



     Ok thanks.




     -----Original Message-----
     From: Marc Toberoff Assistant
     Sent: Monday, November 03, 2003 3:42PM
     To: Ariel Emanuel Scheduler
     Subject: RE: AE/MT/Siegels mtg



     I'll have to let you know tomorrow after I hear back from the Siegels.


                                                      2

                                               EXHIBIT 19                                WME 00067
                                                  188
~   •   .r.   t

              Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12              Page 19 of 157 Page
                                                         ID #:31731



                   -----Original Message-----
                   From: Ariel Emanuel Scheduler
                   Sent: Monday/ November 03 1 2003 3:26PM
                   To: Marc Toberoff Assistant
                   Subject: RE: AE/MT/Siegels mtg



                   930, 1030 works he has an 1145




                   -----Original Message----
                   From: Marc Toberoff Assistant
                   Sent: Mo"nday, November 03, 2003 3:23 PM
                   To: Ariel Emanuel Scheduler
                   Subject: RE: AE/MT/Siegels mtg



                   Flexible w/the hour? Anytime before 1p right?




                  · -----Original Message-----
                    From: Ariel Emanuel Scheduler
                    Sent: Monday, November 03, 2003 3:20PM
                    To: Marc Toberoff Assistant
                    Subject: RE: AE/MT/Siegels mtg



                   AM on 11/13 works best.-




                   -----Orig ina I Message-----
                   From: Marc Toberoff Assistant
                   Sent: Monday, November 03, 2003 3:18 PM
                   To: Ariel Emanuel Scheduler
                   Subject: AE/MT/Siegels mtg



                   Is AE available next week around the same time? Either morning of 11/11, 11/12 or 11/13? I need some
                   times to get back to the Siegels when I call to reschedule. Thanks.




                                                                   3

                                                           EXHIBIT 19                                         WME 00068
                                                              189
   Case 2:10-cv-03633-ODW-RZ                  Document 500-4 Filed 10/10/12                 Page 20 of 157 Page
                                                   ID #:31732
Tom McGuire Assistant

From:                               Ariel Emanuel Scheduler </O=ENDEAVOR AGENCY/OU=ARST ADMINISTRATIVE
                                    GROUP/CN = RECIPIENTS/CN =AEMAN UEL_SCH ED>
Sent:                               Monday, May 17, 2004 12:45 PM
To:                                 Ariel Emanuel Assistant
Subject:                            FV:.J: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive}




                                               REDACTED



        -----Original Message-----
        From: Ariel Emanuel Scheduler
        Sent: Wednesday, May 12, 2004 2:57 PM
        To: Marc Toberoff Assistant
        Subject: RE: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive)
               51
        The 21 works. Can we do it AT 11am? That would be great. (is this the Superman mtg?) Let me
        know. Thanks for being patient.

        Autumn

                 -----Original Message-----
                 From: Marc Toberoff Assistant
                 Sent: Wednesday, May 12, 20041:01 PM
                 To: Ariel Emanuel Scheduler
                 Cc: IPWW
                 Subject: RE: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive)

                 We need to set an in person meeting at endeavour (AE's office or reserve a conference room) for AE,
                 Marc Toberoff(ceo of IP worldwide we are down the street with accounting) and the Siegels. You need to
                 find out from AE if he can meet either anytime after 11 am Tuesday may 18th or anytime after 11 am
                 Friday May 21. You will then let me know. I will then call the siegels and let them know the final time. I
                 need this set up today if at all possible. Thanks

                 IP Worldwide

                         -----Original Message-----
                         From: Ariel Emanuel Scheduler
                         Sent: Wednesday, May 12, 2004 12:47 PM
                         To: Marc Toberoff Assistant
                         Subject: RE: CC//AE, Marc Toberoff, Larry Cohen (re: It's Alive)


                                                             1

                                                     EXHIBIT 19                                              WME 00069
                                                        190
Case 2:10-cv-03633-ODW-RZ         Document 500-4 Filed 10/10/12                   Page 21 of 157 Page
                                       ID #:31733
              I'm sorry Nicholas -I'm new ... What is this that I'm setting? Thanks

                      -----Original Message-----
                      From: Marc Toberoff Assistant
                      Sent: Wednesday, May 12, 2004 12:20 PM
                      To: Ariel Emanuel Scheduler
                      Cc: IPWW
                      Subject: RE: CC/IAE, Marc Toberoff, Larry Cohen (re: It's Alive)


                     The siegels are available the following for an office meeting with AE and MT:
                     After 1 pm 5/13
                     After 1 pm 5/18
                     After 1 pm 5/21
                     please let me know so I can coordinate with this very important client.

                     Nicholas

                     IP Worldwide




                                  REDACTED




                                                 2

                                          EXHIBIT 19                                           WME 00070
                                             191
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 22 of 157 Page
                                 ID #:31734




                                REDACTED




                                      3
                                 EXHIBIT 19                            WME 00071
                                    192
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 23 of 157 Page
                                 ID #:31735




                                REDACTED




                                       4
                                 EXHIBIT 19                            WME 00072
                                    193
       Case 2:10-cv-03633-ODW-RZ               Document 500-4 Filed 10/10/12                  Page 24 of 157 Page
                                                    ID #:31736

Tom McGuire Assistant

From:                              mtoberoff@ipwla.com
Sent:                              Monday, October 25, 2004 2:17 PM
To:                                Ariel Emanuel
Cc:                                Ariel Emanuel Assistant
Subject:                           SBOY


Ari:

Just filed the SBOY complaint last Friday will send you a copy (I'm keeping that guy we met very busy). It's liberating not
to dick around and it all has that DFWM ring to it, dontcha think.




Thanks
                                                        REDACTED
Marc T oberoff
IPW
1999 Avenue of the Stars, Suite 1540
Los Angeles, CA 90067
(310) 246-3100
Fax:(310) 246-3101
MToberoff@ipwla.com




                                                            1
                                                       EXHIBIT 19                                              WME 00073
                                                          194
        Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12               Page 25 of 157 Page
                                                 ID #:31737

 Tom McGuire Assistant

 From:                            marc.toberoff@gmail.com on behalf of Marc Toberoff <mtoberoff@ipwla.com>
 Sent:                            Monday, December 01, 2008 11:49 AM
 To:                              Ariel Emanuel
 Subject:                         Hit list



 Ari:

 Need to pull a Rabbit out of the Hat and get these contracts or proof of the deal ASAP. The confidentiality of
 any docs will be strictly protected by a Protective Order in the case.

 Since the harsh treatment of Siegel and Shuster over Superman is a cause celebre for writers/artists,
 and this case sets precedents in advancing artists rights, you would think that writers (and their reps) would get
 behind it and give permission to release big old deals.

 AE:. Shane Black, Long Kiss Goodnight ($4.5M); Last Boy Scout ($1.75M); PLEASE get permission to release
 contract

 Lynn Nesbit (Janklow partner): Michael Crichton (died 11/4/08), Jurassic Park ($5M plus gross); Time line
 (15% gross to Crichton and Dick Donner)

 Janklow: Thomas Harris, Hannibal (huge deal)

Robert Gottlieb (212-333-1500), then AMG: Tom Clancy, Patriot Games, Sum ofAll Fears, Clear and
Present Danger

David Gemett (212-838-7777): Jon Grisham, The Firm, The Chamber, A Time To Kill, The Client

Need to come in TODAY to speak to you about something else.


  Marc Toberoff
· Toberoff & Associates, PC
  2049 Century Park East, Suite 2720
  Los Angeles, CA 90067
  Tel: (31 0) 246-3333
  Fax: (31 0) 246-310 l
 MToberof:f;t@.ipwla.com




                                                         1
                                                   EXHIBIT 19                                           WME 00074
                                                      195
          Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12          Page 26 of 157 Page
 .
" -                                                 ID #:31738

      Tom McGuire Assistant

      From:                          mtoberoff@ipwla.com
      Sent:                          Friday, Aprill8, 2008 1:14 PM
      To:                            Ariel Emanuel
      Cc:                            Ariel Emanuel Assistant
      Subject:                       Fwd: SMan Philadelphia Inquirer Article 4/8/08
      Attachments:                   SMan Philadelphia Inquirer 4.8.08.pdf




      Bernard Levin <blevin@ipwla.com> wrote:
      Date: Fri, 18 Apr 2008 12:11:12-0700 (PDT)
      From: Bernard Levin <blevin@ipwla.com>
      Subject: SMan Philadelphia Inquirer Article 4/8/08
      To: mtoberoft@ipwla.com




      Marc Toberoff
      Toberoff & Associates
      2049 Century Park East, Shite 2720
      Los Angeles, CA 90067       ·
      Tel: (310) 246-3333
      Fax: (310) 246-3101
      MTo beroff@ipwla.com




                                                            1
                                                       EXHIBIT 19                                WME 00075
                                                          196
             CaseTruth,
,O.ryeJ.ast "I;hing: 2:10-cv-03633-ODW-RZ
                        justice and a copyright whodunnit Document
                                                          I Philadelphia ...500-4      Filed 10/10/12
                                                                               http://W\vw.philly                Page 27 of 157
                                                                                                  .com/inquirer/columnists/jonathan     Page Tru ...
                                                                                                                                   _lasU20080.f08_
                                                                     ID #:31739


                                                                                    SERVICE.                                    latH lhe. fn$11ranc. Agcy Inc
                                                                                                                                t.fell-lace, Aoant
                                                                                                                                S.ller:r;ill-.. PA 1E-950.ZfiJ 1
                                                                                    COVERAGE.
                                                                                    PRICE.                                          Click here for
                                                                                                                                    more information


           QJfie ll'fiilabelpftia ]nquirer
            Home     Inquirer        Daily News News Business Sports Entertainment Living Restaurants & Food Travel

          News     Front Page        Sports   Business   Obituaries   Arts & Entertainment   Food, Home & life   Health & Science    Education           Opinion           Bl

          Subscriber Services I Get a Subscription         I Join Our Team                       Web Search powered by YAHOO! SEARCH                I
         JONATHAN LAST                                                                                                                                      Welcome•
          lZi email this     ~ print this                                                                          TEXT SIZE: A A      AA

          Posted on Tue, Apr. 8, 2008



          One Last Thing: Truth, justice and a
          copyright whodunnit
          By Jonathan Last
          Inquirer Editorial Board

         You may not know Jerome Siegel, but you know his work.
         In 1933, Siegel and his high school buddy Joseph Shuster
         created Superman. In his first incarnation, Superman was
         a bald-headed, Depression-era villain bent on world
         domination. But Siegel and Shuster tinkered with the
         character until Supes became the hero we know and love:
         He came from an alien plane~ had great strength and
         speed, was impervious to bullets, could leap a building in a
         single bound, and was known to the outside world as
         mild-mannered reporter Clark Kent.
         Siegel and Shuster shopped their Superman comics to a                                                                                              Today'!
         number of publishers until Detective Comics purchased
         the strip, and the future rights to Superman ("to have and                                                                                           • ABC
         hold forever'), in March 1938 for $130. On April 18, 1938,                                  SPENCER WEINER I Los Angeles Times
                                                                                                                                                              • vorr
         Detective Comics published Action Comics No. 1 -which                  Action Comics No. 1 -featuring Superman -was published
         pictured Superman on the·cover, hoisting a car above his               April18, 1938 (June cover date): It changed the                              • Phil~
         head - and changed the comic-book industry forever.                  : comic-book industrY forever.          ·                                      • Philli·
                                                                                                                                                        :    • Susa
         The publisher and its succeeding corporate parents (it's                                                                                              Alyci
         now owned by '(ime Warner) hiwe made a vast fortune              . SAVE AND SHARE
         from Superman, with only small, grudging payments to the
         character's creators over the years. It's a classic case of         ~       ':?5      a•u.Y:
         big business bullying individual creators.                                                                                                          »More
                                                                                 Yahoo! Buzz
         But on March 26, a California district court awarded a                                                                                              • VOTI
         share of Superman's intellectual property rights back to                                                                                            • Awil·
         Siegel's heirs, ruling the estate could claim a share in the                                                                                              repel
         profit The story of how the heirs triumphed is a trib.ute to truth, justice and the American way.
                                                                                                                                                             • ABC
        The 1909 Copyright Act granted a copyright lasting 28 years from the date of first publication, with the option for                                  • Two
        renewal, also lasting 28 years. The idea behind the two tiers was that the value of intellectual property is not always                              • Barn
        immediately apparent. The renewal period was intended to let creators reap a true- value of their work after 28 years:                                 Kens
        If they sold the first rights to their work to·another party, but the work increased in value, after 28 years the creators
        could receive a second copyright, which they could sell at a truer price. It's what lawyers call a second bite at the                               >>More
        apple.

        It was a good system, but the Supreme Court stepped in and changed it. In the 1943 case Fred Fisher Music Co. v. M.




of4
                                                                           EXHIBIT 19
                                                                              197
           Case 2:10-cv-03633-ODW-RZ                          Document 500-4
. Qn~\L~_t~t Thing: Truth, justice and a copyright whodunnit I Philadelphia...
                                                                                    Filed 10/10/12 Page 28 of 157 Page
                                                                          http://-..vww.philly.com/inquirer/columnists/jonathan_last/20080408_ Tru ...
                                                                   ID #:31740

            lNitmark & Sons, the Supreme Court decided that creators could sell both the initial rights and the renewal rights from
            the outset As a result of that ruling, corporations demanded both sets of copyrights from creators. That negated the
            whole purpose of renewal as an instrument of fairness.
                                                                                                                                        MOST
                                                                                                                                        • One l
            So in 1976, Congress tried to clean up the mess by passing a new Copyright Act The 1976 version increased the               • One l
            length of both the initial and renewal copyrights by 19 years. Most important, it created a mechanism that would allow-        whod
            after a passage of time - creators to terminate a grant of rights they had previously made.                                 • One l
           This is what Jerome Siegel's heirs had been trying to do: terminate the exclusive rights he had given Detective Comics       • One l
           back in 1938, allowing them to share Superman's copyright with Time Warner- thus entitling them to a share of the            • One l
           profit Supes has made since 1999 and going forward. (l/llhy 1999? Read the decision, linked below.)                            of pre

           Termination is a complicated process. It begins with the creators' filing a "notice of termination," where they pick the     LATm
           date in the past that they designate as the moment of creation. Siegel's heirs chose April 16, 1938, two days before         • One l
           Action Comics No. 1 was published. Their case looked solid, except for one gigantic problem.                                   04/13/:
                                                                                                                                          By Jon
           Time Warner dug up two ads for Action Comics No. 1, which had run in other comic books before April16, 1938. The
           ads featured a miniature black-and-white version of the famous Action Comics cover with Superman and the car. They           • One l
           were published on April 5 and April 10, 1938. Time Warner argued that the appeara1ce of Superman iri the ads before            good
           the date given on the termination notice meant that the rights the company held superseded the rights created on the           By Jon
           date specified by Siegel's family. It's a hypertechnical mistake, but one Time Warner insisted was "fatal" to the            • One l
           termination claim.                       ·                                                                                     comn
                                                                                                                                          By Jon
           Judge Stephen Larson of the Central District of California wrote a decision that reads like an episode from The Perils
                                                                                                                                        • One l
           of Pauline. Page after page, he explains that Time Warner is correct! The two earlier ads could give it protection from
                                                                                                                                          hacki:
           the Siegel heirs' attempt at termination! The court was prepared to grant Time Warner sole copyright to everything in
                                                                                                                                          By Jon
           those ads.
                                                                                                                                       • One l
           But then Larson pulls off an amazing twist!                                                                                    03/09/:
                                                                                                                                          By Jon
           "The court begins by observing what is not
           depicted in the announcements," Larson wrote (emphasis in the original). No menton of the character's name or
           origins! No description of any of Superman's powers (except for his strength, whch is obvious because he's holding a
         . car above his head)! This leaves Time Warner with only what is pictured in the affi.                                        Top Job!

           And that picture was in black and white and quite tiny. Superman's distinctive bl!e-and-red costume? Nowhere. He's
           so minuscule, you can't even make out the S on his chest.

           Larson's exciting conclusion? Time Warner "may continue to exploit the image of a person with extraordinary strength
           who wears a black-and-white leotard and cape."

           But as for Superman - or at least the Superman we know from Action Comics No. 1 -Time Warner now has to share
           him with Jerome Siegel's heirs.

           As in many suspense stories, there are lots of loose ends. The decision may be appealed. How much Siegel's family is
           owed will be subject to litigation. And co-creator Joseph Shuster's estate won't have the chance to try to get his rights
           back until 2013.
                                                                                                                                         SEAR
           But for now, Judge Larson's decision is enough. It makes you believe a man can fly.

          (Postscript for lawyers:· I've elided certain other points of contention in the case - notably, the fights over collateral    OldCI
          estoppel and the nature of "work for hire"- for brevity's sake. Apologies; I throw myself on the mercy of the court.)


          How a creator's heirs prevailed

          II Read the Superman decision at http://go.philly.com/superman


          Contact Jonathan V. Last atjlast@phillynews.com.
                                                                                                                                        $304,0
                                                                                                                                        246 N


             Sponsored Links

            Action Comics                            Action Comics                           de comic action figure                     FordE
            Heritage buys, sells and auctions for    Browse a huge selection now. Find       de comic action figure & More. 100,000
            great prices.                            exactly what you want today.            Stores. Deals. Reviews.
            www.HA.com/Cornics                       www.ebay.com                            shopping. yahoo.com




. of4
                                                                        EXHIBIT 19
                                                                           198
      Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12               Page 29 of 157 Page
                                                  ID #:31741

 Tom McGuire Assistant

 From:                            Ariel Emanuel Assistant </O=ENDEAVOR AGENCV/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN =REGPIENTS/CN =AEMANU EL_ASST>
 Sent:                            Tuesday, April 01, 2008 5:47 PM
 To:                              ariannahuf@aol.com
 Subject:                         Marc Toberoff



 Hi Arianna- Ari asked me to send you the news articles from the New York Times, Los Angeles, Times, and
 Variety; all regarding the victory in the Superman copyright case against Warner Bros Studios.




Time Warner ordered to share Superman rights
From Bloomberg News

March 29,2008

Time Warner Inc., the world's largest media company, must share control of the Superman c0pyright with the
heirs of the comic hero's creator, Jerome Siegel, a federal judge has ruled.

Siegel's widow, Joanne, and their daughter, Laura Larson, won back his half of the copyright to Superman
material, under the order this week by U.S. District Judge Stephen Larson in Riverside.

Jerome Siegel and his creative partner, Joseph Shuster, granted the rights to DC Comics in 1938, a contract that
expired in 1999, the judge found.

"After 70 years, Jerome Siegel's heirs regain what he granted so long ago-- the copyright in the Superman
material that was published in Action Comics," Larson wrote in his order Wednesday. The victory was "no
small feat indeed," he said.

Joanne Siegel's and Laura Larson's share of the profit must still be determined at trial, according to the order.

Marc Toberoff, the Siegels' lawyer, said Jerome Siegel fought for decades, without success, to share in the
profit from the rights to his Superman character, which he sold with Shuster for $130. Jerome Siegel died in
1996.

"Joanne Siegel has courageously carried the torch in this matter for decades, and this is probably the first good
news she has received regarding Superman in 70 years," Toberoff said.

Time Warner spokesmen Edward Adler and Keith Cocozza didn't immediately return phone calls and e-mails
seeking comment.


Warner vexed by legal Man of Steel
Lawyer Toberoff dings Superman

                                                         1
                                                    EXHIBIT 19                                          WME 00078
                                                       199
     Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12           Page 30 of 157 Page
                                                    ID #:31742
  By DIANE GARRETT

 He's a superhero to rights holders - but Kryptonite to studios.

 Last week, attorney Marc Toberoff won a potentially costly "Superman" victory against \Vamer Bros. for co-
 creator Jerome Siegel's heirs. The federal ruling, which gives the heirs a stake in rights sold 71 years ago, could
 put a serious crimp on future plans for one of the studio's most enduring-- and lucrative-- franchises, especially
 if co-creator Joe Shuster's heirs follow sui_t in five _years, when they are eligible to do so.

 As it is, the studio has at least two Superman projects in development -- a follow-up to Bryan Singer's
 "Superman Returns" and "Justice League"-- and it may end up paying tens of millions from the domestic haul
 of "Superman Returns" to Siegel's heirs under the ruling, which applies to domestic monies for Superman
 projects since 1999. ·

 The case is Toberoffs latest-- and potentially most damaging-- claim against the studio. The dedicated
 copyright crusader has pursued claims involving "Wild Wild West," "Dukes of Hazzard," "Smallville" and the
 upcoming "Get Smart."

 He has gone after other studios, including Sony, but his most high-profile cases -- and victories -- have involved
 Warners. The studio paid "Moonrunners" producer Robert B. Clark a $17.5 million settlement in a case about
 similarities between that 1974 movie and the bigscreen "The Dukes of Hazzard." And a federal judge ruled
 earlier in the Siegels' favor over "Smallville," although that was challenged and the case still being resolved.

The studio declined to comment on the latest ruling in favor of their legal nemesis, issuing only a statement
noting that, "substantial issues :t;elating to the accounting of profits were ruled in our favor."

Among these issues: international profits, trademark-related revs and profits stemming from Superman fare
produced before 1999, when Siegel's heirs terminated the earlier copyright arrangement under a 1976 law.

To the Siegels, Toberoffs legal maneuvers are nothing short of heroic. The family had been destitute for years
after Siegel sold rights to his Man of Steel to Detective Comics for $130. DC Comics had started to pony up
more monies after Warners made successful movies based on the character, but Siegel had long wished to
redress the fact he had gotten so little from his creation; he died in 1996.

Toberoffhas set up a production company, Intellectual Properties Worldwide, to develop films around these
and other titles. And he has built up a sideline business producing bigscreen adaptations of the projects whose
copyright claims he pursues. He has a producing credit on "Fantasy Island," a Sony project for Eddie Murphy,
as well as "Sanford and Son."

March 29, 2008


Ruling Gives Heirs a Share of Superman Copyright
By MICHAEL CIEPLY

LOS ANGELES- Time Warner is no longer the sole proprietor of Superman.

A federal judge here on Wednesday ruled that the heirs of Jerome Siegel - who 70 years
ago sold the rights to the action hero he created with Joseph Shuster to Detective Comics
for $130 -were entitled to claim a share of the United States copyright to the character.
                                                            2
                                                       EXHIBIT 19                                      WME 00079       I.
                                                          200
    Case 2:10-cv-03633-ODW-RZ       Document 500-4 Filed 10/10/12      Page 31 of 157 Page
                                         ID #:31743
 The ruling left intact Time Warner's international rights to the character, which it has long
 owned through its DC Comics unit.

 And it reserved for trial questions over how much the company may owe the Siegel heirs
 for use of the character since 1999, when their ownership is deemed to have been restored.
 Also to be resolved is whether the heirs are entitled to payments directly from Time
 Warner's film unit, Warner Brothers, which took in $200 million at the domestic box
 office with "Superman Returns" in 2006, or only from the DC unit's Superman profits.

Still, the ruling threatened to complicate Warner's plans to make more films featuring
Superman, including another sequel and a planned movie based on the DC Comics'
"Justice League of America," in which he joins Batman, Wonder Woman and other
superheroes to battle evildoers.

If the ruling survives a Time Warner legal challenge, it may also open the door to a similar
reversion of rights to the estate of Mr. Shuster in 2013. That would give heirs of the two
creators control over use of their lucrative character until at least 2033 - and perhaps
longer, if Congress once again extends copyright terms - according to Marc Toberoff, a
lawyer who represents the Siegels and the Shuster estate.

"It would be very powerful," said Mr. Toberoff, speaking by telephone on Friday. "After
2013, Time Warner couldn't exploit any new Superman-derived works without a license
from the Siegels and Shusters."

Time Warner lawyers declined to discuss the decision, a spokesman said. A similar ruling
in 2006 allowed the Siegels to recapture their rights in the Superboy character, without
determining whether Superboy was, in fact, the basis for Warner Brothers's "Smallville"
television series. The decision was later challenged in a case that has yet to be resolved,
said Mr. Toberoff, who represented the family in that action.

This week's decision by Stephen G. Larson, a judge in the Federal District Court for the
Central District of California, provided long-sought vindication to the wife and daughter of
Mr. Siegel, who had bemoaned until his death in 1996 having parted so cheaply with rights
to the lucrative hero.

"We were just stubborn," Joanne Siegel, Mr. Siegel's widow, said in a joint interview with
her daughter, Laura Siegel Larson. "It was a dream of Jerry's, and we just took up the
task."

The ruling specifically upheld the Siegels' copyright in the Superman material published in
Detective Comics' Action Comics Vol. 1. The extent to which later iterations of the
character are derived from that original was not determined by the judge.

In an unusually detailed narrative, the judge's 72-page order described how Mr. Siegel and
JVIr. Shuster, as teena.gers at Glenville High School in Cleveland, became friends and
collaborators on their school newspaper in 1932. They worked together on a short story,

                                              3
                                         EXHIBIT 19                                 WME 00080
                                            201
      Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12       Page 32 of 157 Page
                                         ID #:31744
 "The Reign of the Superman," in which their famous character first appeared not as hero,
 but villain.

 By 1937, the pair were offering publishers comic strips in which the classic Superman
 elements - cape, logo and Clark Kent alter-ego - were already set. When Detective
 Comics bought 13 pages of work for its new Action Comics series the next year, the
 company sent Mr. Siegel a check for $130, and received in return a release from both
 creators granting the company rights to Superman "to have and hold forever," the order
 noted.

In the late 1940s, a referee in a New York court upheld Detective Comics' copyright,
prompting Mr. Siegel and Mr. Shuster to drop their claim in exchange for $94,000. More
than 30 years later, DC Comics (the successor to Detective Comics) gave the creators each
a $2o,ooo-per-year annuity that was later increased to $30,000. In 1997, however, Mrs.
Siegel and her daughter served copyright termination notices under provisions of a 1976
law that permits heirs, under certain circumstances, to recover rights to creations.

Mr. Toberoff, their lawyer, has been something of a gadfly to Warner in the past. In the
late 1990s, for example, he represented Gilbert Ralston, a television writer, in a legal battle
over his rights in the CBS television series "The Wild Wild West," which was the basis for a
1999 Warner Brothers film that starred Will Smith. The case, said Mr. Toberoff, was
settled.

Compensation to the Siegels would be limited to any work created after their 1999
termination date. Income from the 1978 "Superman" film, or the three sequels that
followed in the 1980s, are not at issue. But a "Superman Returns" sequel being planned
with the filmmaker Bryan Singer (who has also directed "The Usual Suspects" and "X-
lVIen") might require payments to the Siegels, should they prevail in a demand that the
studio's income, not just that of the comics unit, be subject to a court-ordered accounting.

lVlrs. Siegel and Ms. Larson said it was too soon to make future plans for the Superman
character. But they were inclined to relish this moment.

"I have lived in the shadow of this my whole life," Ms. Larson said. "I am so happy now, I
just can't explain it."
Mark Tseng!! Endc,avor




                                              4
                                          EXHIBIT 19                                 WME 00081
                                             202
     Case 2:10-cv-03633-ODW-RZ                   Document 500-4 Filed 10/10/12       Page 33 of 157 Page
                                                      ID #:31745

Tom McGuire Assistant

From:                                 Ariel Emanuel Assistant </O=ENDEAVOR AGENCY/OU=ARST ADMINISTRATIVE
                                      GROUP/CN=RECIPIENTS/CN=AEMANUEL_ASST>
Sent:                                 Friday, March 28, 2008 3:58 PM
To:                                   nikkifinke@aol.com
Subject:                              Superman/Court opinion
Attachments:                          Superman SJ Decision.3.26.08.pdf


Attached please find the Court's decision and opinion of the Superman case.

Mark Tseng:! Fndcavor

<< ... >>




                                                         EXHIBIT 19                               WME 00082
                                                            203
Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12 Page 34 of 157 Page
      Case 2:04-cv-08776-SGL-RZ            ID #:31746
                                        Document  174 Filed 03/26/2008 Page 1 of 72




 1

 2

 3
 4
 5
 6
 7

 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   JOANNE SIEGEL and LAURA SIEGEL ))
     LARSON,                                          CASE NO. CV-04-8400-SGL (RZx)

                                                 ~)
11
                                                      [Consolidated for pre-trial and discovery
12                         Plaintiffs,                purposes with CV-04-8776-SGL (RZx)]
                                                 )
13   v.                                          )    ORDER GRANTING IN PART AND
                                                 )    DENYING IN PART PLAINTIFFS'
14   WARNERBROS. ENTERTAINMENT                   )    MOTION FOR PARTIAL SUMMARY
     INC.; TIME WARNER INC.; and DC              )    JUDGMENT; ORDER GRANTING IN
15   COMICS,                                     )    PART AND DENYING IN PART
                                                 )    DEFENDANTS' MOTION FOR PARTIAL
                 Defendants.                     )    SUMMARY JUDGMENT
16
     ________________________ )
17
18           The termination provisions contained in the Copyright Act of 1976 have aptly

19   been characterized as formalistic and complex, such that authors, or their heirs,

20   . successfully terminating the grant to the copyright in their original work of authorship

21   is a feat accomplished "against all odds." 2 WilLIAM F. PATRY, PATRY ONCOPYRIGHT

22   § 7:52 (2007).
23           In the present case, Joanne Siegel and Laura Siegel Larson, the widow and

24   the daughter of Jerome Siegel, seek a declaration from the Court that they have

25   overcome these odds and have successfully terminated the 1938 grant by Jerome

26   Siegel and his creative partner, Joseph Shuster, of the copyright in their creation of

27   the iconic comic book superhero "Superman," thereby recapturing Jerome Siegel's

28   half of the copyright in the same. No small feat indeed. It requires traversing the




                                           EXHIBIT 19                                        WME 00083
                                              204
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12 Page 35 of 157 Page
      Case 2:04-cv-08776-SGL-RZ           ID #:31747
                                       Document  174 Filed 03/26/2008 Page 2 of 72



 1   many impediments - many requiring a detailed historical understanding both

 2   factually and legally of the events that occurred between the parties over the past
 3   seventy years- to achieving that goal and, just as importantly, reckoning with the
 4   limits of what can be gained through the termination of that grant.

 5          Any discussion about the termination of the initial grant to the copyright in a.
 6   work begins, as the Court does here, with the story of the creation of the work itself.
 7          In 1932, Jerome Siegel and Joseph Shuster were teenagers at Glenville High

 8   School in Cleveland, Ohio. Siegel was an aspiring writer and Shuster an aspiring
 9   artist; what Siegel later did with his typewriter and Shuster with his pen would
1o   transform the comic book industry. The two met while working. on their high

11   school's newspaper where they discovered their shared passion for science fiction
12   and comics, the beginning of a remarkable and fruitful relationship.
13          One of their first collaborations was publishing a mail-order fanzine titled

14   "Science Fiction: The Advance Guard of Future Civilization." 1 In the January, 1933,
15   issue, Siegel and Shuster's first superman character appeared in the short story
16   'The Reign of the Superman," but in the form of a villain not a hero. The story told
17   of a "mad scientist's experiment with a deprived man from the breadlines" that
18   transformed "the man into a mental giant who then uses his new powers- the
19   ability to read and control minds -   to steal a fortune and attempt to dominate the
20   world." (Dec!. Michael Bergman, Ex. HH at 1126). This initial superman character

21   in villain trappings was drawn by Shuster as a bald-headed mad man.
22          A couple of months later it occurred to Siegel that re-writing the character as
23   a hero, bearing little resemblance to his villainous namesake, "might make a great

24   comic strip character." (Dec!. Michael Bergman, Ex. HH at 1126). Much of Siegel's
25   desire to shift the role of his protagonist from villain to hero arose from Siegel's

26   exposure to despair and hope: Despair created by the dark days of the Depression

27
             1
              A fanzine is a publication, usually distributed at no or nominal cost,
28    produced by fans of a particular topic (such as comic books, opera, murder
      mystery stories, etc.) for others who share their interest.
                                                 2



                                           EXHIBIT 19                                          WME 00084
                                              205
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12 Page 36 of 157 Page
      Case 2:04-cv-08776-SGL-RZ           ID #:31748
                                        Document 174 Filed 03/26/2008 Page 3 of 72



 1   and hope through exposure to the "gallant, crusading heros" in popular literature

 2   and the movies. (Decl. Michael Bergman, Ex. HH at 1126). The theme of hope
 3   amidst despair struck the young Siegel as an apt subject for his comic strip:
 4   "Superman was the answer- Superman aiding the downtrodden and oppressed."

 5   (Decl. Michael Bergman, Ex. HH at 1126).
 6          Thereafter, Siegel sat down to create a comic book version of his new
 7   character. While he labored over the script, Shuster began the task of drawing the

 8   panels visualizing that script. Titling it "The Superman," "[t}heir first rendition of the
 9   man of steel was a hulking strongman who wore aT-shirt and pants rather thim a

1o   cape and tights."· (Decl. Michael Bergman, Ex. HH at 1129). And he was not yet
11   able to hurdle skyscrapers, nor was he from a far away planet; instead, he was
12   simply a strong (but not extraordinarily so) human, in the mold of Flash Gordon or
13   Tarzan, who combated crime. Siegel and Shuster sent their material to a publisher

14   of comic books- Detective Dan - and were informed that it had been accepted
15   for publication. Their success, however, was short-lived; the publisher later
16   rescinded its offer to publish their submission. Crestfallen, Shuster threw into the ·

17   fireplace all the art for the story except the cover (reproduced below), which Siegel

18   rescued from the flames.

19
20

21
22
23

24

25
26

27
28


                                                  3



                                           EXHIBIT 19                                             W~E   00085
                                              206
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 37 of 157 Page
                                   ID #:31749
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 " Page 4 of 72




 1
 2
 3
 4
 5

 6

 7

 8
 9
10

11
12

13

14

15
16

17         Undaunted, Siegel continued to tinker with his character, but decided to try a

18   different publication format, a newspaper comic strip. The choice of crafting the

19   material in a newspaper comic strip format was influenced both by the failure to get

20   their earlier incarnation of the Superman character published by Detective Dan in a

21   comic book format, and by the fact that, at the time, black-and-white newspaper ·

22   comic strips- not comic books- were the most popular medium for comics. As

23   one observer of the period has commented:

24                 It is worth noting the extent to which early comic books
                   were conjoined with newspaper strips of the day. The
25                 earliest comic books consisted of reprints of those
                   newspaper strips, re-pasted into a comic book page
26                 format. When original material began appearing in
                   comic book format, it was generally because companies
27                 that wished to publish comic books were unable to            ·
                   procure reprint rights to existing newspaper strips. The
28                 solution to this ... was to hire young [comic strip artists]
                   to simulate the same kind of newspaper strip material.

                                                 4



                                          EXHIBIT 19                                     WME 00086
                                             207
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12 Page 38 of 157 Page
      Case 2:04-cv-08776-SGL-RZ           ID #:31750
                                       Document  174 Filed 03/26/2008 Page 5 of 72



 1    (Decl. Mark Evanier, Ex. A at 5-6).
 2             On a hot summer night in 1934, Siegel, unable to sleep, began brainstorming
 3    over plot ideas for this new feature when an idea struck him: "I was up late counting

 4    sheep and more and more ideas kept coming to me, and I wrote out several weeks
 5    of syndicate script for the proposed newspaper strip. When morning came, I
 6    dashed over to Joe [Shuster]'s place and showed it to him." (Decl. Michael
 7    Bergman, Ex. HH at 1129). Siegel re-envisioned his character in more of the mythic

 8    hero tradition of Hercules, righting wrongs in present-day society. His inspiration
 9    was to couple an exaggeration of the daring on-screen acrobatics performed by
1o    such actors as Douglas Fairbanks, Sr., with a pseudo-scientific explanation to make

11    such fantastic abilities more plausible in the vein of Edgar Rice Burroughs' John
12    Carter of Mars stories, and placing all of this within a storyline that was the reverse
13    of the formula used in the Flash Gordon serials. The end product was of a

14    character who is sent as an infant to Earth aboard a space ship from an unnamed
15    distant planet(that had been destroyed by old age) who, upon becoming an adult,
16    uses his superhuman powers (gained from the fact that his alien heritage made him
17    millions of years more evolved than ordinary humans) to perform daring feats for the

18    public good.
19             Siegel named his character "Superman." Unlike his previous incarnation,

20.   Siegees new Superman character's powers and abilities were much more
           .                                      .

21    extraordinary and fantastic: Superhuman strength; the ability to leap 1/Sth of a mile,
22    hurdle a twenty-story building, and run faster than an express train; and nothing less
23    than a bursting shell could penetrate his skin. Siegel placed his character in a very

24    cosmopolitan environment that had the look and feel of mid-thirties America. He

25    also humanized his character by giving his superhero an "ordinary person" alter
26    ego: Mild-mannered, big-city newspaper reporter Clark Kent. Siegel developed

27    this concept of Superman's secret identity both as a means for his superhero to
28    maintain an inconspicuous position in everyday society and as a literary device to


                                                  5



                                            EXHIBIT 19                                          WME 00087
                                               208
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12 Page 39 of 157 Page
          Case 2:04-cv-08776-SGL-RZ         ID #:31751
                                         Document  174 Filed 03/26/2008 Page 6 of72



 1    introduce a conflict- and the potential for story lines centered around that conflict

 2    -    between the character's dual identities, a conflict played out no more

 3    dramatically than in the love "triangle" between the character's dual identities and

 4    another newspaper reporter, Lois Lane.
 5             Shuster immediately turned his attention to giving life and color to Siegel's

 6    idea by drawing illustrations for the story. Shuster conceived of the costume for

 7    Siegel's Superman superhero - a cape and tight-fitting leotard with briefs, an "S"

 8    emblazoned on an inverted triangular crest on his chest, and boots as footwear. In

 9.   contrast, he costumed Clark Kent in a nondescript suit, wearing black-rimmed

1o    glasses, combed black hair, and sporting a fedora. He drew Superman and his

11    alter ego Clark Kent with chiseled features, gave him a hairstyle with a distinctive

12    curl over his forehead, and endowed him with a lean, muscular physique. Clark

13    Kent hid most of these physical attributes behind his wardrobe, which he could

14    quickly doff revealing his Superman costume underneath when he was called to

15    action by someone in need of his superpowers. One of the earliest of Shuster's

16    sketches of Superman and Clark Kent from this 1934 or 1935 period are depicted

17    below:

18

19

20

21

22

23

24

25

26

27
28


                                                   6



                                            EXHIBIT 19                                         WME 00088
                                               209
Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12 Page 40 of 157 Page
     Case 2:04-cv-08776-SGL-RZ           ID #:31752
                                      Document 174  Filed 03/26/2008 Page 7 of 72



 1
 2

 3
 4
 5

 6
 7
 8
 9
10

11
                              Cr..ARI< kENT         SUPE;RM.AN
12                                  ONE AND SAME!

13
14          The two then set about combining Siegel's literary material with Shuster's

15   graphical representations. Together they crafted a comic strip consisting of several

16   weeks' worth of material suitable for newspaper syndication. Siegel typed the

17   dialogue and Shuster penciled in artwork, resulting in four weeks of Superman

18   comic strips intended for newspapers. (Decl. Michael Bergman, Ex. Hat 1). The

19   art work for the first week's worth "of daily [comic] strips was completely inked" and

20   thus ready for publication. ·(Decl. Michael Bergman, Ex. Hat 1). The "th~ee

21   additional weeks of 'Superman' newspaper comic strip material" differed from the

22   first week's material "only in that the art work, dialogue and the balloons in which

23   the dialogue appeared had not been inked," instead consisting of no more than

24   black-and-white pencil drawings. (Decl. Michael Bergman, Exs. Gat 2 & Hat 1-2).

25          Siegel also wrote material to which Shuster provided no illustrations: A

26   paragraph previewing future Superman exploits, and a nine-page synopsis of the

27   storyline appearing in the three weeks of penciled daily Superman newspaper

28   comic strips. (Dec!. James Steranka, Ex. A at 4; Decl. Michael Bergman, Ex. H at


                                                7



                                          EXHIBIT 19                                          WME 00089
                                             210
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 41 of 157 Page
                                   ID #:31753
     Case 2:04-cv-08776-SG L-RZ Document  174 Filed 03/26/2008 Page 8 of 72



 1   2).
 2              The two shopped the character for a number of years to numerous

 3   publishers but were unsuccessful. As Siegel later recalled: One publisher ·
 4   "expressed interest in Superman," but preferred that it be "published in comic book
           '
 5   form where it would be seen in color" rather than "a black-and-white daily strip," a

 6   suggestion to which he and Shuster balked given their earlier experience with the

 7   comic book publisher of Detective Dan. (Decl. Michael Bergman, Ex. H at 2).

 8             . In the meantime, Siegel and Shuster penned other comic strips, most notably

 9   "Slam Bradley" and "The Spy," that were sold to Nicholson Publishing Company.

10   When Nicholson folded shop in 1937, Detective Comics acquired some of its comic

11   strip properties, including "Slam Bradley" and "The Spy."
12              On December 4, 1937, Siegel and Shuster entered into an agreement with

13   Detective Comics whereby they agreed to furnish some of these existing comic

14   strips for the next two years, and further agreed "that all of these products and work
15   done by [them] for [Detective Comics] during said period of employment shall be

16   and become the sole and exclusive property of [Detective Comics,] and [that

17   Detective Comics] shall be deemed the sole creator thereof ...." (Decl. Michael

18   Bergman, Ex. A). The agreement further provided that any new or additional
19   features by Siegel and Shuster were to be submitted first to Detective Comics, who

20   was given a sixty-day option to publish the material.

21              Soon thereafter Detective Comics decided to issue a new comic book

22   magazine titled Action Comics and began seeking new material. Inquiry was made

23   of many newspaper comic strip publishers, including McClure Newspaper

24   Syndicate. Amongst the material submitted by McClure to Detective Comics was

25   the previously rejected Siegel and Shuster Superman comic strip. Detective

26   Comics soon became interested in publishing Siegel and Shuster's now well-

27   traveled Superman material, but in an expanded thirteen-page comic book format,

28   for release in its first volume of Action Comics.


                                                  8



                                            EXHIBIT 19                                      WME 00090
                                               211
Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12 Page 42 of 157 Page
     Case 2:04-cv-08776-SGL-RZ           ID #:31754
                                      Document 174  Filed 03/26/2008 Page 9 of 72



 1          On February 1, 1938, Detective Comics returned the existing Superman

 2   newspaper comic strip material to Siegel and Shuster for revision and expansion

 3   into a full-length, thirteen-page comic book production. Detective Comics' desire to

 4   place Superman in a comic book required that Siegel an'd Shuster reformat their

 5   existing Superman newspaper material by re-cutting the strip into separate panels

 6   and then re-pasting it into a comic book format.

 7        . An issue emerged due to Detective Comics' additional requirement that there

 8   be eight panels per page in the comic book. Siegel and Shuster's existing

 9   Superman newspaper material did not have enough drawings to meet this format.

10   In response, portions of the thirteen-page comic went forward with fewer than eight

11   panels per page, and in the remaining pages Shuster either trimmed or split existing

12   panels to stay within the page size, or drew additional panels from the existing

13   dialogue to meet the eight-panel requirement. As Shuster later recounted:

14                 The only thing I had to do to prepare Superman for
                   comic book publication was to ink the last three weeks of
15                 daily strips which I had previously completely penciled in
                   detail. In addition, I inked the lettering and the dialogue
16                 and story continuity and inked in the balloons containing
                   the dialogue. Certain panels I trimmed to conform to
17                 Detective's page size. I drew several additional pictures
                   to illustrate the story continuity and these appear on
18                 page 1 of the first Superman release. This was done so
                   that we would be certain of having a sufficient number of
19                 panels to make a thirteen page release. Finally, I drew
                   the last panel appearing on the thirteenth page.
20                 Detective's only concern was that there would be panels
                   sufficient for thirteen complete pages. Jerry told me that
21                 Detective preferred having eight panels per page but in
                   our judgment this would hurt the property. I specifically
22                 refer to the very large panel appearing on what would be
                   page 9 of the thirteen page release. We did not want to
23                 alter this because of its dramatic effect. Accordingly, on
                   this page but six panels appeared.
24
     (Dec!. Michael Bergman, Ex. G at 2). Siegel similarly recollected:
25
                           Upon receiving word from Detective that we could
26                 proceed, Joe Shuster, under my supervision, inked the
                   illustrations, lettering and dialogue balloons in the three
27                 weeks of daily strips that had been previously penciled.
                   In addition, he trimmed certain pictures to meet
28                 Detective's panel specifications and extended others.
                   To assure ourselves of having the proper number of

                                                9



                                          EXHIBIT 19                                        WME 00091
                                             212
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12 Page 43 of 157 Page
      Case 2:04-cv-08776-SGL-RZ           ID #:31755
                                       Document 174  Filed 03/26/2008 Page 10 of 72




 1                   panels we added several pictures to illustrate the story
                     continuity, I had already written. Added as well for this
 2                   reason was the scientific explanation on page 1 of the
                     release and the last panel at the foot of page 13.
 3
     (Decl. Michael Bergman, Ex. H at 5).
 4
              On or around February 16, 1938, the pair resubmitted the re-formatted
 5
     Superman material to Detective Comics. Soon thereafter Detective Comics
 6
     informed Siegel that, as he had earlier suggested to them, one of the panels from
 7
     their Superman comic would be used as the template (albeit slightly altered from the
 8
     original) for the cover of the inaugural issue of Action Comics. (Dec!. Michael
 9
     Bergman, Ex. 1).
10
              On March 1, 1938, prior to the printing of the first issue of Action Comics,
11
     Detective Comics wrote to Siegel, enclosing a check in the sum of $130,
12
     representing the per-page rate for the thirteen-page Superman comic book release
13
     and enclosing with it a written agreement for Siegel and Shuster's signatures. The
14
     agreement assigned to Detective Comics "all [th~] good will attached ... and
15
     exclusive right[s]" to Superman "to have and hold forever." (Decl. Michael
16
     Bergman, Ex. F). Siegel and Shuster executed and returned the written assignment
17
     to Detective Comics.
18
              This world-wide grant in ownership rights was later confirmed in a September
19
     22, 1938, employment agreement in which Siegel and Shuster acknowledged that
          .                           -                                  .
20
     · Detective Comics was "the exclusive ownerO" of not only the other comic strips they
21
     had penned for Nicholson (and continued to pen for Detective Comics), but
22
     Superman as well; that they would continue to supply the artwork and storyline (or
23
     in the parlance of the trade, the "continuity") for these comics at varying per-page
24
     rates depending upon the comic in question for the next five years; that Detective
25
     Comics had the "right to reasonably supervise the editorial matter'' of those existing
26
     comic strips; that Siegel and Shuster would not furnish "any art copy ... containing
27
     the ... characters or continuity thereof or in any wise similar" to these comics to a
28
     third party; and that Detective Comics would have the right of first refusal (to be

                                                 10



                                           EXHIBIT 19                                        WME 00092
                                              213
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 44 of 157 Page
                                  ID #:31756
     Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 11 of 72



 1   exercised within a six-week period after the comic's submission) with respect to any

 2   future comic creations by Siegel or Shuster.
 3          Detective Comics announced the debut of its Action Comics series with full
 4   page announcements in the issues of some of its existing publications. Specifically,

 5   in More Fun Comics, Vol. 31, with a cover date of May, 1938, Detective Comics
 6   placed the following black-and-white promotional advertisement on the comic's
 7   inside cover, which reproduced the cover of the soon-to-be published first issue of

 8   Action Comics, albeit in a greatly reduced size:

 9
10

11                               183fRAND NEWP
                              ,[NIJ JUST WHAT YOU•'f.!E BeEN WAITlNC 1!0~ - ~
12                                                                                      Lo<Jk for thh ~ruly
                              r--::f/•::::;;;:::;.:::77/4-f new r.ti:l'gn:<Ine fil1c<l
13                                                                                      With or.iglnnl adven.
                                                                                       ~ure, fentnrea l!.nd
                                                                                       t».ctm-es in
14
                                                                                                  Color!
                                                                                      Written n:n!it drawn
15                                                                                    e!l'pecially ft>l" yo,u
                                                                                      by your favo:dlt!
16                                                                                   arti!!l:s!                 e
                                                                                     Yon'lt miss tlie trent     ~

17                               ~~ji~J~~~"/A~J <;of 3 1iieltme if you                                          ¢;
                                     ?~~-__:~~)'\r~l ~nil to buy a copy!                                        ~
                                                                                                                6
                                                                                            10c t:tf a:fl
18                                                                                          Newntands.          e
                                                                                                                e=
19                           SPECIAL PRIZES AN.O A WARDS!                                                       ¢'
                        w~r::::::::~==~~~~e:~.
                                           MORE FUN t:OMtcs                                                     ~
20                                            T,'!>rofi.•r,.,'""*rC... micM.t;l!.-~ 1 nc-                       ¢j
                                                Ytfleti!T ..,,S.ULl,JVAH                                        ~



                           ~~:~:~#~f~~~~~B~~~;~t~~:~~%~~,:fg!~~ :
21
22                                                              .,.
23
24
25          Similarly, Detective Comics, Vol. 15, with a cover date of May, 1938, had a
26   full-page black-and-white promotional advertisement on the comic's inside cover

27   which contained within it a reproduction of the cover (again in a reduced scale) of

28   the soon-to-be published first issue of Action Comics:


                                                                11



                                             EXHIBIT 19                                                              WME 00093
                                                214
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 45 of 157 Page
                                  ID #:31757
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 12 of 72



 1
 2
 3
 4

 5
 6

 7
 8
 9

10

11
12

13

14

15
16   To provide some context and contrast, the cover of the first issue of Action Comics

17   is notable for its difference from the promotional advertisements both in its scale

18   and its colorized format.

19
20

21

22
23

24

25
26

27

28


                                               12


                                         EXHIBIT 19                                        WME 00094
                                            215
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12             Page 46 of 157 Page
                                         ID #:31758
      Case 2:04-cv-08776-SGL-RZ         Document 174       Filed 03/26/2008     Page 13 of 72



 1
 2

 3
 4
 5

 6
 7

 8
 9
10

11

12

13

14

15

16
17           Superman itself was published by Detective Comics on April18, 1938, in

18    Action Comics, Vol. 1, which had a cover date of June, 1938. A full reproduction of

19    the original Superman comic contained in Action Comics, Vol. 1, is attached as an

20.   addendum to this Order. See Attachment A to this Order. The Superman comic ·

21    became an instant success, and Superman's popularity continues to endure to this

22    day as his depiction has been transferred to varying media formats.

23           The Superman character has evolved in subsequent works since his initial

24    depiction in Action Comics, Vol. 1. These additional works have added decades of

25    new material to further define, update, and develop the character (such as his

26    origins, his relationships, and his powers and weaknesses) in an ongoing flow of

27    new exploits and supporting characters, resulting in the creation of an entire fictional

28    Superman "universe." For instance, absent from Action Comics, Vol. 1, was any


                                                 13


                                           EXHIBIT 19                                       WME 00095
                                              216
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 47 of 157 Page
                                  ID #:31759
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 14 of72



 1   reference to some of the more famous story elements now associated with
 2   Superman, such as the name of Superman's home planet "Krypton." Many of

 3   Superman's powers that are among his most famous today did not appear in Action

 4   Comics, Vol. 1, including his ability to fly (even through the vacuum of space); his

 5   super-vision, which enables him to see through walls ("x-ray" vision) and across

 6   great distances ("telescopic" vision); his super-hearing, which enables him to hear

 7   conversations at great distances; and his "heat vision," the ability to aim rays of

 8   extreme heat with his eyes. The "scientific" explanation for these powers was also

 9   altered in ensuing comic$, initially as owing. to differences in gravity between Earth

1o   and Superman's home planet (the latter being much larger in size than the former),

11   and later because Krypton orbited a red sun, and his exposure to the yellow rays of

12   Earth's sun somehow made his powers possible. In a similar Earth-Krypton

13   connection, it was later revealed that Superman's powers could be nullified by his

14   exposure to Kryptonite, radioactive mineral particles of his destroyed home planet.

15          Aside from the further delineation of Superman's powers and weaknesses,

16   many other elements from the Superman story were developed in subsequent

17   publications. Some of the most famous supporting characters associated with

18   Superman, such as Jimmy Olsen and rival villains Lex Luthor, General Zod, and
19   Brainiac, were created long after Action Comics, Vol. 1, was published. Moreover,

20   certain.el_ements contained in Action Comics, Vol. 1, were altered, even if slightly, in

21   later publications, most notably Superman's crest. In Action Comics, Vol. 1, the

22   crest emblem was a small, yellow, inverted triangle bearing the letter "S" in the

23   middle, shown throughout the comic as solid yellow in most instances and as a red

24   "S" in two instances. Thereafter, the emblem changed, and today is a large yellow

25   five-sided shield, outlined in the color red, and bearing the letter "S" in the middle,

26   also in the color red.

27          The acclaim to which the release of Action Comics, Vo. 1, was greeted by

28   the viewing public quickly made Superman not only the iconic face for the comic


                                                 14



                                           EXHIBIT 19                                          WME 00096
                                              217
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 48 of 157 Page
                                  ID #:31760
     Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 15 of72



 1   book industry but also a powerful super-salesman for his publisher. Detective

 2   Comics oversaw the creation, development, and licensing of the Superman

 3   character in a variety of media, including but not limited to radio, novels, live action

 4   and animated motion pictures, television, live theatrical productions, merchandise

 5   'and theme parks. From such promotional activity, Detective Comics came to "ownO

 6   dozens of federal trademark registrations for Superman related indicia, such as

 7   certain key symbols across a broad array of goods and services." (Decl. Paul Levitz

 8   ~ 10).   The most notable of these marks that are placed on various items of

 9   merchandi.se are "Superman's characteristic .outfit, comprised of a full length blue

1o   leotard with red cape, a yellow belt, the S in Shield Device, as well as certain key

11   identifying phrases[,]" such as '"Look! ... Up in the sky! ... It's a bird! ... It's a

12   plane! ... It's Superman!" (Decl. Paul Levitz~ 10).
13            MeanwhHe, Siegel continued to submit other comic book characters to

14   Detective Comics that were als<;> published. Sometimes these submissions were

15   without Shuster serving as an illustrator and sometimes, such as in the case of

16   Superman's youthful persona "Superboy," see Siegel v. Time Warner Inc., 496 F.

17   Supp. 2d 1111 (C. D. Cal. 2007), without illustrations accompanying the submission.

18   Among these subseguent creations was "The Spectre," a comic written by Siegel

19   and illustrated by Bernard Baily, which first appeared in 1940 in Detective Comics'

20   More Fun Comics, Vol. 52.· The comic told the story about a superhero with a

21   supernatural bent- the character being the spirit of a police officer killed in the line

22   of duty while investigating a gangland overlord and who, after meeting a higher

23   force in the hereafter, is sent back to Earth with nearly limitless abilities but offered

24   eternal rest only when he has wiped out all crime.

25            With Superman's growing popularity, a growing rift developed between the

26   parties. Siegel and Shuster believed that Detective Comics' poached the artists

27   apprenticing out of Siegel and Shuster's studio in Cleveland by moving them in-

28   house to its New York offices, and further believed that Detective Comics had not


                                                 15



                                           EXHIBIT 19                                            WME 00097
                                              218
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 49 of 157 Page
                                   ID #:31761
      Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 16 of 72



 1    paid them their fair share of profits generated from the exploitation of their
          '
 2    Superman creation and from the profits generated from copycat characters that

 3    they believed had their roots in the original Superman character. As a result, in

 4    1947, Siegel and Shuster brought an action against Detective Comics' successor in

 5    interest in New York Supreme Court, Westchester County, seeking, among other

 6    things, to annul and rescind their previous agreements with Detective Comics

 7    assigning their ownership rights in Superman as void for lack of mutuality and

 8    consideration.

 9            After: a trial, official referee J. Addison Young issued detailed findings off<:!ct

1o   · and conclusions of law wherein he found that the March 1, 1938, assignment of the
11    Superman copyright to Detective Comics was valid and supported by valuable

12    consideration and that, therefore, Detective Comics was the exclusive owner of "all"

13    the rights to Superman. The parties eventually settled the Westchester action and

14    signed a stipulation on May 19, 1948, whereby in exchange for the payment of over
15    $94,000 to Siegel and Shuster, the parties reiterated the referee's earlier finding

16    that Detective Comics owned all rights to Superman. Two days later, the official

17    referee entered a final consent judgment vacating his earlier findings of fact and

18    conclusions of law, and otherwise reiterating the recitals contained in the stipulation.
19            The feud between the parties did not end after the Westchester action. In

20    the mid-1960s, the simmering dispute boiled anew when the expiration of the initial

21    copyright term for Superman led to another round of litigation over ownership to the .

22    copyright's renewal term. 2 In 1969, Siegel and Shuster filed suit in federal district

23    court in New York seeking a declaration that they, not Detective Comics' successor

24

25             2
                  Under the Copyright Act of 1909 (the "1909 Act"), which was in effect at
26     the time of Siegel and Shuster's creation of Superman and later assignment of
       rights in the same to Detective Comics, an author was entitled to a copyright in his
27     work for twenty-eight years from the date of its publication. See 17 U.S.C. § 24,
       repealed by Copyright Act of 1976, 17 U.S.C. § 101 et seq. Upon the expiration of
28     this initial twenty-eight year term, the author could renew the copyright for a
       second twenty-eight year period (the "renewal term").
                                                   16



                                             EXHIBIT 19                                         WME 00098
                                                219
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 50 of 157 Page
                                  ID #:31762
     Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 17 of72



 1   (National Periodical Publications, Inc.), were the owners of the renewal rights to the .

 2   Superman copyright. See Siegel v. National Periodical Publications, Inc., 364

 3   F.Supp. 1032 (S.D.N.Y. 1973), affd by, 508 F.2d 909 (2nd Cir. 1974). The end

 4   resulfof the litigation was that, in conformity with United States Supreme Court

 5   precedent at the time, see Fred Fisher Music Co. v. M. Witmark & Sons, 318 U.S.

 6   643, 656-59 (1943), in transferring "all their rights" to Superman in the March 1,

 7   1938, grant to Detective Comics (which was reconfirmed in the 1948 stipulation),

 8   Siegel and Shuster had assigned not only Superman's initial copyright term but the

 9   renewal term as well, even though those renewal rights had yet to vest when the

10   grant (and later the stipulation) was made.

11          After the conclusion of the 1970s Superman litigation, the New York Times

12   "ran a story about how the two creators of Superman were living in near destitute

13   conditions":

14                  Two 61-year-old men, nearly destitute and worried about
                    how they will support themselves in their old age, are
15                  invoking the spirit of Superman for help. Joseph Shuster,
                    who sits amidst his threadbare furniture in Queens, and
16                  Jerry Siegel, who waits in his cramped apartment in Los
                    Angeles, share the hope that they each will get pensions
17                  from the Man of Steel.

18   Mary Breasted, Superman's Creators, Nearly Destitute, Invoke His Spirit, N.Y.

19   TIMES, Nov. 22, 1975, at 62.

20          Apparently.in response to the bad publicity associated with this and similar

21   articles, the parties thereafter entered into a further agreement, dated December

22   23, 1975. See id. ("'There is no legal obligation,' Mr. Emmett[, executive vice-

23   president of Warner Communications, Inc.,] said, 'but I sure feel that there is a

24   moral obligation on our part"'). In the agreement, Siegel and Shuster re-

25   acknowledged the Second Circuit's decision that "all right, title and interest in"

26   Superman ("including any and all renewals and extensions of ... such rights")

27   resided exclusively with DC Comics and its corporate affiliates and, in return, DC

28   Comics' now parent company, Warner Communications, Inc. ("WCI"), provided


                                                17



                                          EXHIBIT 19                                       WME 00099
                                             220
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 51 of 157 Page
                                  ID #:31763
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 18 of 72



 1   Siegel and Shuster with modest annual payments for the remainder of their lives;

 2   provided them medical insurance under the plan for its employees; and credited

 3   them as the "creators of Superman." In tendering this payment, Warner

 4   Communications, Inc. specifically stated that it had no legal obligation to do so, but

 5   that it did so solely "in consideration" of the pair's "past services ... and in view of

 6   [their] present circumstances," emphasizing that the payments were "voluntary."

 7   The 1975 agreement also made certain provisions for Siegel's spouse Joanne,

 8   providing her with certain monthly payments "for the balance of her life if Siegel"

 9   died before December 31, 1985. Finally, Warner Communications, Inc. noted that

1o   its obligation to make such voluntary payments would cease if either Siegel or

11   Shuster (or their representatives) sued "asserting any right, title or interest in the

12   'Superman' ... copyright." As the years went by Warner Communications, Inc.

13   increased the amount of the annual payments, and on at least two occasions paid

14   the pair special bonuses.
15          As the time grew nearer to the December 31, 1985, cutoff date for surviving

16   spouse benefits, Joanne Siegel wrote the CEO for DC Comics expressing her

17   "terrible worry" over the company's refusal to provide Jerome Siegel life insurance

18   in the 1975 agreement. (Dec!. Michael Bergman, Ex. NN). She voiced her concern
19   that, should anything happen to her husband after the cutoff date, she and their

20   daughter "would be left without any measure of [financial] security." (Dec!. Michael

21   Bergman, Ex. NN). The parties thereafter agreed by letter dated March 15, 1982,

22   that Warner would pay Joanne Siegel the same benefits it had been paying her

23   husband if he predeceased her, regard, less of the time of his death. (Dec!. Michael

24   Bergman, Ex. 00). Jerome Siegel died on January 28, 1996, and Joanne Siegel

25   has been receiving these voluntary survival spouse benefits since that time.

26          In the meantime, changes in the law resurrected legal questions as to the

27   ownership rights the parties had to the Superman copyright. With the passage of

28   the Copyright Act of 1976 (the "1976 Act"), Congress changed the legal landscape


                                                 18



                                           EXHIBIT 19                                           WME 00100
                                              221
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 52 of 157 Page
                                  ID #:31764
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 19 of72



 1   concerning artists' transfers of the copyrights in their creations. First, the 1976 Act

 2   expanded by nineteen years the duration of the renewal period for works, like the

 3   initial release of Superman in Action Comics, Vol. 1, that were already in their

 4   renewal term at the time of the Act's passage. See 17 U.S.C. § 304(b).

 5          Second, and importantly for this case, the 1976 Act gave artists and their

 6   heirs the ability to terminate any prior grants of the rights to their creations that were

 7   executed before January 1, 1978, regardless of the terms contained in such

 8   assignments, ~. a contractual provision that all the rights (the initial and renewal)

 9   belonged exclusively to the publisher. Specifically, section 304(c) to the 1976 Act

1o   provides that, "[i}n the case of any copyright subsisting in either its first or renewal

11   term on January 1, 1978, other than a copyright in a work made for hire, the

12   exclusive or nonexclusive grant of a transfer or license of the renewal copyright or

13   any right under it, executed before January 1, 1978, ... is subject to termination ...

14   notwithstanding any agreement to the contrary .... "

15          It is this right of termination that Joanne Siegel and Laura Siegel Larson now

16   seek to vindicate in this case. 3 In pursuing such a claim, the two heirs, initially

17   sought the legal assistance of a highly regarded copyright expert, Mr. Arthur J.

18
              3
                 Although the present case only concerns the Siegel heirs' efforts to
19
      terminate the 1938 grant, it has come to the Court's attention thatthe estate of
20    Superman co..:creator Joseph Shuster has recently. filed termination notices to
      reclaim the rights to the Superman copyright. According to documents filed with
21    the United States Copyright Office, Mark Warren Peary, the son of Shuster's sister
      and the court-appointed representative of the Shuster estate, has given notice of
22    the estate's intent to terminate the 1938 grant of the Superman copyright to
23    Detective Comics and its successors effective 2013. As executor of the Shuster
      estate, Peary is entitled, under changes made to the 1976 termination provisions
24    by the 1998 Sonny Bono Copyright Term Extension Act, to make the same
      termination claims for the Superman copyright that Shuster or his heirs would have
25    been entitled to bring beforehand. See 17 U.S.C. § 304(c)(2); 3 NIMMER ON
      COPYRIGHT§ 11.03[A}[2l[a} at 11-40.1 (noting that when the 1976 Act was
26
      originally passed if an author died without leaving heirs before exercising the right
27    to termination "the result was that no one could exercise [that} right," but this
      "harsh result" was "ameliorated" through the passage of the 1998 Act by providing
28    that, "instead of lapsing," the termination right could be exercised by "the author's
      executor, administrator, personal representative, or trustee").
                                                 19


                                           EXHIBIT 19                                           WM   00101
                                              222
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 53 of 157 Page
                                    ID #:31765
       Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 20 of72



 1     Levine, in compiling the information necessary to draft the termination notica itself. 4

 2            On April3, 1997, the two heirs served seven separate notices of termination

 3     under section 304(c) of the 1976 Act, purporting to terminate several of Siegel's

 4     potential grant(s) in the Superman copyright to defendants, including the March 1,

 5     1938; assignment; the May 19, 1948, stipulation; and the December 23, 1975,

 6     agreement. The termination notices also specified that they covered hundreds of

 7     works, with the added proviso that the intent was for the termination notice to apply

 8     "to each and every work ... that includes or embodies" Superman, and the failure

 9     to list any such work in the notice was "unintentional and involuntary." Each of the

10     termination notices had an effective date of Apri116, 1999. A flurry of settlement

11     discussions between the parties quickly ensued, but just as quickly fizzled out.

12     Nearly two years then passed without much discussion between the parties.

13            The day before the purported termination was to take effect, defendants sent

14     a letter to Siegel's counsel, Mr. Levine, rejecting "the validity and scope" of the

15     termination notices. (Decl. Marc Toberoff, Ex. Qat 171). The same day DC
16     Comics Executive Vice President and ·Publisher Paul Levitz wrote to Joanne Si(;gel

17     that his company would "continue to provide the income and insurance benefits you
                                 \
18     ... have been receivfng under the 1975 agreement, without prejudice to [the

19     company's] rights under that agreement, as long as we all continue to pursu~ the

20     goal of working together." (Decl. Michael Bergman, ~x. P).

21 ·          Not long after the termination notices' effective date passed, the Siegel heirs

22     retained new counsel and the parties re-entered into settlement discussions to

23     resolve their respective claims to the Superman copyright. Towards that end, DC

24     Comics (and its "successors, past and present subsidiaries or affiliates") a.nd the

25     Siegel heirs executed a tolling agreement on Apri16, 2000, whereby it was agreed

26     that neither would "assert any statute of limitations ... defenseO relating to ... the

27
               4
                 Before going into private practice, Mr. Levine served as General Counsel
28      for the United States Copyright Office and also as Executive Director for the
        National Commission on New Technological Uses of Copyrighted Works.
                                                  20



                                            EXHIBIT 19                                            WME 00102
                                               223
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 54 of 157 Page
                                  ID #:31766
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 21 of 72



 1   [Termination] Notices" based on "the passage of time during the period from the

 2   date hereof until cancellation of this Tolling Agreement pursuant to paragraph 7

 3   hereof (the 'Toiling Period')" while the parties attempted "to find an amicable

 4   resolution in respect of the [Termination] Notices." (Reply Decl. Marc Toberoff, Ex.

 5   A at 1). The agreement further provided that the tolling period would remain in

 6   effect "until 10 business days after the earlier of: (a) one of the parties terminating

 7   negotiations, in writing, relating to the [Termination] Notices, or (b) the parties

 8   reaching an amicable resolution of the disputes between them relating to the

 9   Notices." (Reply Decl. Marc Toberoff, Ex. A at 2).
1o          At some point the broad outline of a global settlement concerning the

11   copyright to the Superman material, as well as to other works Siegel either authored

12   or contributed material to Detective Comics (notably, Superboy and The Spectre

13   properties), was reached. Specifically, on October 19, 2001, counsel for Joanne

14   Siegel and Laura Siegel Larson sent a six-page letter to Warner Bros.' General

15   Counsel confirming and summarizing the substance of the settlement. The letter

16   concluded that "if there is any aspect of the above that is somehow misstated,

17   please let me know by [October 22, 2001] at 2:00, as I will be out of the office-

18   and likely difficult to reach- for the following four weeks." (Decl. Marc Toberoff,

19   Ex. BB).
20          A week later, on October 26, 2001, Warner Bros' General Counsel John

21   Shulman responded with a letter, stating that he had "reviewed" the summary set

22   forth in the October 19 letter, and then "enclose[d) ... a more fulsome outline of

23   what we believe the deal we've agreed to is"; the outline was five pages long.

24   (Decl. Marc Toberoff, Ex. CC). The letter concluded that Warner Bros. was.

25   "working on the draft agreement" so as to "have this super-matter transaction in

26   document form." (Decl. Marc Toberoff, Ex. CC).

27          A few months later, on February 1, 2002, outside counsel for Warner Bros.

28   provided a copy of the promised draft agreement (spanning fifty-six pages), with the


                                                 21



                                           EXHIBIT 19                                          WME 00103
                                              224
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 55 of 157 Page
                                   ID #:31767
      Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 22 of 72




 1    proviso that, "[a]s our clients have not seen this latest version of the agreement, I

 2    must reserve their right to comment." (Decl. Marc Toberoff, Ex. DO). Mention was

 3    also made in the draft agreement for the need of certain "Stand Alone Assignments"

 4    that had as yet not been finalized, something which Warner's outside counsel

 5    promised would be forthcoming. (Decl. Marc Toberoff, Ex. DO).

 6           Three months later, on May 9, 2002,, Joanne Siegel wrote a letter to Time

 7    Warner's Chief Operating Officer Richard Parsons, recounting that she and her

 8    daughter had "made painful concessions and reluctantly accepted John Shulman's

 9    last [settlement] proposal [in October, 2001]," but upon reading the proposed draft

10    agreement learned that they had been "stabbed in the back," as it "contained new,

11    outrageous demands that were not in the [October, 2001] proposal," such as

12    "condition[ing] recei[pt of] financial compensation for our rights on demands which

13    were not in the proposal we accepted." (Decl. Michael Bergman, Ex. Z). The letter

14    concluded that "[a]fter four years we have no deal and this contract makes an

15    agreement impossible." (Dec!. Michael Bergman, Ex. Z).

16           Time Warner's CEO quickly responded with a letter of his own ·on May 21,

17    2002, expressing shock and dismay as "each of the major points covered in the
             I


18    draft agreement ... accurately represented the agreement previously reached" by

19    the parties. (Dec!. Michael Bergman, Ex. AA). The letter continued by

20    acknowledging that, as with all lengthy negotiations, Time Warner "expected" that

21   . the submissi.on o(the draft agreement would result in further "comments and

22    questions on the draft" by Siegel family's representatives that "would need to [be]

23    resolve[d]." (Decl. Michael Bergman, Ex. AA). The letter concluded by reaffirming

24    Time Warner's continued interest "that this agreement can be closed based upon

25    the earlier discussions with [the Siegel family's] lawyers." (Decl. Michael Bergman,

26    Ex. AA).

27           Not long thereafter, the Siegel heirs' lawyers submitted for the family's review

28    and approval a re-draft of the February 4, 2002, agreement the lawyers had crafted.


                                                 22



                                          EXHIBIT 19                                          WME 00104
                                             225
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 56 of 157 Page
                                    ID #:31768
       Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 23 of 72



  1    (Decl. MarcToberoff, Ex. AA). The Siegel heirs, on September 21, 2002, rejected

  2    the redraft and fired their attorneys. (Dec!. Marc Toberoff, Ex. AA). That same day

  3    Joanne Siegel and Laura Siegel Larson sent a letter to DC Comics' General

  4    Counsel Paul Levitz notifying the company that they were "stopp[ing] and end[ing]

  5    negotiations with DC Comics, Inc., its parent company AOL Time Warner and           all of
  6    its representatives and associates cOncerning" their rights to, among other things,

  7    Superman. (Decl. Michael Bergman, Ex. DO).

  8           Joanne Siegel and Laura Siegel Larson thereafter filed the present action,

  9    with the assistance of new counsel, Marc Toberoff, on October 8, 2004. Both sides

. 1o   have since filed cross-motions for partial summary judgment.
 11           Reduced to their essentials, the legal questions at stake in the parties' cross-

 12    motions are two-fold:
 13           (1) The validity and enforceability of the termin?tion notices in light of

 14    (a) whether any copyrightable Superman material contained in the promotional

 15    advertisements for Action Comics, Vol. 1, lies outside the reach of the termination

 16    notice (and hence, the termination notice is not enforceable against it); (b) whether

 17    certain portions of the Superman comic in Action Comics, Vol. 1, are in the nature of

 18    a work for hire (and hence, not subject to termination); (c) whether the failure to list

 19    the 1948 consent judgment in the notices as one of the grants sought to be

20     terminated materially affects the notices of termination; (d) whether the post-

21     termination receipt of benefits under the 1975 agreement acts as a novation to re-

22     grant the Superman copyright; (e) whether the statute of limitations ran out before

23     the instant action was instituted thereby forestalling this lawsuit; and (f) whether the

24     settlement negotiations that took place between the parties resulted in an

25     enforceable agreement disposing of the claims asserted in the present action; and,

26            (2) The parameters of what was recaptured (and the rights flowing therefrom)

27     through the termination notices, namely, (a) whether plaintiffs have a right to

28     defendants' post-termination foreign profits from the exploitation of the Superman


                                                  23



                                            EXHIBIT 19                                          WME 00105
                                               226
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 57 of 157 Page
                                  ID #:31769
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 24 of72



 1   copyright; (b) whether plaintiffs are entitled to profits from any of the various

 2   trademarks that defendants have procured since the grant in marketing Superman;

 3   (c) whether plaintiffs are entitled to profits from the derivative works of the

 4   Superman material published by Detective Comics and its successors in interest

 5   prior to the termination notice's effective date; and (d) whether any recovery of

 6   profits extends beyond those made through DC Comics' exploitation ofthe

 7   Superman copyright to that of its corporate siblings and parent who are licensees to

 8   that copyright's movie and television rights, be it based on an alter-ego theory or

 9   other notion of equity,

10            L      Validity and Enforceability of Termination Notices

11            The 1976 Act created a new right_ allowing authors and their heirs the ability
12   to terminate a prior grant to the copyright in their creations. See 17 U.S.C.

13   § 304(c). The 1976 Act also set forth specific steps concerning the timing and
14   contents of the notices that had to be served to effectuate the termination of a prior

15   grant. One of the most important steps was placing a limit on the temporal reach

16   such    a notice could have on what was subject to being recaptured. Specifically, the
17   "[t]ermination of the grant may be effected at any time during a period of five years

18   beginning at the end of fifty-six years from the date copyright was originally

19   secured." 17 U.S.C. § 304(c)(3) (emphasis added). Moreover, the notice is

20   required to be "served not less than two or more than ten years before" its effective.

21   date.
22            Taken together, someone seeking to exercise the termination right must

23   specify the effective date of the termination, and that effective date must fall within a

24   set five-year window which is at least fifty-six years, but no more than sixty-one

25   years, from the date the copyright sought to be recaptured was originally secured,

26   and such termination notice must be served two to ten years before its effective

27   date. The purpose of this time window for terminating pre-1978 grants was so that

28   the only rights to the copyright affected thereby were those to the 19-year extension


                                                 24



                                           EXHIBIT 19                                          WME 00106
                                              227
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 58 of 157 Page
                                  ID #:31770
     Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 25 of 72



 1   in the renewal term created by the 1976 Act, leaving undisturbed the grantee's

 2   vested interest to the original 28-year renewal term as set forth in the 1909 Act, the

 3   governing statute at the time the grant itself was made.

 4       ,   Additional procedures required to be followed to make the termination notice

 5   effective were specified as well: The author or his or her heirs had to serve "an

 6   advance notice in writing upon the grantee or the grantee's successor in title"; the

 7   notice had to be signed by the author or his or her heirs; the notice was required to

 8   "state the effective date of the termination"; and the notice must be "recorded in the

 9   Copyright Office before the effective date of termination." 17 U.S.C. § 304(c)(4).

1o           Beyond these statutory requirements, the notice was also required to

11   "comply, in form, content, and manner of service, with [the] requirements that the

12   Register of Copyrights ... prescribe[s] by regulation." 17 U.S.C. § 304(c)(4)(B).

13   Toward that end, the Register promulgated regulations implementing this statutory

14   proviso. See 37 C.F.R. § 201.10. Among those regulations was one requiring the

15   terminating party to identify in the notice "each work as to which the notice of

16   termination applies." 37 C.F.R. § 201.1 O(b)(1 )(ii).

17           As one noted author has commented, "[i]t is difficult to overstate the

18   intricacies of these [termination] provisions, the result of which is that they·are

19   barely used, no doubt the result desired by lobbyists for assignees." William Patry,

20   Choice?~ Law and International Copyright, 48 AM. J. CoMP. L. 383,A47 (2000);

21   see also Burroughs v. Metro-Goldwyn-Mayer. Inc., 683 F.2d 610, 621 (2nd Cir.

22   1982) (commenting that the steps necessary to make a termination effective

23   oftentimes create "difficult, technical questions"). Those intricate provisions

24   oftentimes create unexpected pitfalls that thwart or blunt the effort of the terminating

25   party to reclaim the full measure of the copyright in a work of authorshiP.. This case

26   is no different.

27

28


                                                 25



                                          EXHIBIT 19                                        WME 00107
                                             228
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 59 of 157 Page
                                  ID #:31771
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 26 of 72



 1          1.      Promotional Announcements

 2          Plaintiffs gave notice that the effective date of the termination notices was

 3   April 16, 1999, meaning that, backdating from that date sixty-one years, the

 4   termination notices would leave unaffected (or better said, beyond their reach) any

 5   statutory copyright that had been secured in the Superman material before April 16,
 6   1938. Defendants contend that the promotional announcements for Action Comics,

 7   Vol. 1, featuring a graphical depiction of Superman, fall just a few days outside the

 8   five-year effective window of plaintiffs' termination notices; therefore, they argue,

 9   any copyright material contained in those promotional announcements,
                                                             .          .
                                                                          notably the

1o   illustration of Superman on the cover of Action Comics, Vol. 1, is unaffected by the

11   termination notices and remains theirs to exploit exclusively. As defendants frame

12   it, section 304(c)(3)'s five-year effective window "is tantamount to a statute of

13   limitations[;] ... if any work falls outside the five-year window established by the

14   [termination] effective date, it cannot be recaptured, and the original copyright grant

15   remains in force for that work, allowing the grantee to continue exercising the

16   granted rights without liability." (Defs' Mot. Partial Summ. J. at 29). Thus, any work

17   that was published with notice prior to April16, 1938, i.e., sixty-one years before the

18   stated effective date, remains untouched by the termination notice. 5

19          Plaintiffs do not dispute the legal consequence section 304(c)'s five-year

20   window has in this case on the effective reach of their termination notices. As

21   drafters of the notice, Siegel's heirs were given carte blanche in identifying the

22   termination notices' effective date. Once they chose a date, certain consequences

23   flowed therefrom, the most important of which is to cabin the five-year window

24

25           5
                Defendants also contend that the promotional advertisements are not
26    effected by the termination notices because plaintiffs failed to list those works in
      their notices. As the Court finds that the promotional advertisements fall outside
27    the five-year window during which those notices could effectively terminate the
      grant in the copyright contained in them, the Court wm not pass on the
28    consequences, if any, stemming from plaintiffs' additional failure to list those
      promotional announcements in their notices.
                                                26



                                          EXHIBIT 19                                         WME 00108
                                             229
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 60 of 157 Page
                                   ID #:31772
      Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 27 of 72




 1    within which the notice can recapture any copyright secured in the material to which

 2    the grant was directed. A copyright in a work statutorily secured even just days

 3    outside this five year window is beyond the effective reach of the termination notice,

 4    in much the same way a tardily-filed renewal registration has been held to be

 5    ineffective. Cf. 3 NIMMER ON CoPYRIGHT§ 9.05[b][1] at 9-44 ("a variance of even

 6    several days is fatal and that the purported renewal is void to rescue the subject

 7    work from the public domain, whether filed after expiration of the one year or prior to

 8    its initiation"). A leading treatise supports such a calculation and the consequences

 9.   flowing from it:

10                   The appropriate dates for termination notices are
                     measured from "the date copyright was originally
11                   secured, or beginning on January 1, 1978, whichever is
                     later." In the case of pre-January 1, 1978 works,
12                   "secured" means the actual date the work was first
                     published with notice (or in the case of unpublished
13                   works, the date of registration), e.g., April 15, 1970, not
                     December 31, 1970. Failure to pay attention to the
14                   differences between the date the copyright was originally
                     secured for purposes of section 304(c) termination of
15                   transfer and section 305 expiration of term may lead to
                     an untimely notice of termination.
16

17    2 PATRY ON COPYRIGHT§ 7:43·; see also 3 NIMMER ON COPYRIGHT§ 11.05[8][1] at

18    11-40.11 ("Suppose that statutory copyright for a song were first secured oli May

19    21, 1925. Based on the statutory provision that termination may be effected

20    'beginning at the end of fifty-six
                                  .
                                         years from. the-.date. copyright was originally
                                                              ,·               .


21    secured,' the first effective date for termination should be May 21, 1981").; 3 JAY

22    DRATLER, JR. AND STEPHEN M. MCJOHN, INTELLECTUAL PROPERTY LAW: COMMERCIAL

23    CREATIVE AND INDUSTRIAL PROPERTY§ 6.04A[3][a] (2008) ("If the year in which a

24    work was so published predates the current year by more than sixty-one years, then

25    the termination right [to that work] under section 304(c) has expired. The statute

26    apparently requires calculation of all these termination periods from the exact date

27    of publication, rather than from the end of the publication year, as is appropriate for

28    determining copyright terms under the 1976 Act").


                                                  27



                                            EXHIBIT 19                                       WME 00109
                                               230
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 61 of 157 Page
                                  ID #:31773
     Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 28 of 72



 1           It is in this sense that one can say whether a termination notice is timely or

 2   not, a question that does not go to the notice's validity (the notice remains valid with

 3   respect to a copyright in works that was secured during the five year window) but as

 4   to its enforceability against a copyright in a particular work pre- or post-dating that

 5   window. Thus, the key in deciding this timeliness question begins with a

 6   determination of when the copyright in the work in question was secured, and not

 7   when the work itself was created.

 8           The determination of when the copyright in a work is secured is when the

 9   material was protected by statute, meaning when the copyright in such a work

1o   secured protection under this country's copyright laws. Under the 1909 Act, "works

11   could have obtained statutory copyright ... , without the necessity of registration,

12   simply by the act of publishing copies of the work bearing a proper copyright notice.

13   As to such works, registration did not create the copyright, but merely recorded it."

14   2 NIMMER ON COPYRIGHT§ 7.16[A][2][b] at 7-148 (emphasis added); see also 17

15   U.S.C. § 10 (repealed). Thus, the initial question is whether the comic books
16   containing the promotional announcements bore such a copyright notice upon

17   them.
18           Section 19 of the 1909 Act delineated what constituted proper notice: "The

19   notice of copyright required by section 10 of this title shall consist either of the word

20   'Copyright', theabbreviation 'Copr.', or the symbol©, accompanied by the name of

21   the copyright proprietor, and if the work be a printed literary, musical, or dramatic
22   work, the notice shall include also the year in which the copyright was secured by

23   publication." If the comic books in question contained such a notice, then the date

24   of publication is also the date the copyright in the material contained therein was

25   secured. If not, then any of the copyrightable material in the works (including the

26   promotional announcements) was never secured (ab$ent evidence that the material

27   had been registered beforehand with the Copyright Office when it was in an

28   unpublished state) but instead was injected into the public domain.


                                                 28



                                          EXHIBIT 19                                           WME 00110
                                             231
Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12 Page 62 of 157 Page
     Case 2:04-cv-08776-SGL-RZ           ID #:31774
                                     Document  174  Filed 03/26/2008 Page 29 of 72



 1          Here, the material submitted by defendants (the cover page for the magazine

 2   and the page on which the promotional announcements is displayed) does contain

 3   such a notice. At the bottom of the promotional announcement itself is the

 4   following: "Entire contents copyright 1938 by Detective Comics, Inc." (Decl.

 5   Michael Bergman, Ex. C at 10 & Ex. D at 14). Thus, the copyright for any of the

 6   works contained in the comic books in question was secured on the date they were

 7   published.

 8          This leads to the next question: What are the publication dates for the two

 9   comic books that contained the promotional announcements for Action· Comics,

1o   Vol. 1 , featuring an illustration of Superman? Defendants have submitted the initial

11   copyright registrations for these comics, which indicate that More Fun Comics,

12   Vol. 31, was published on April 5, 1938, eleven days before the effectiveness of the

13   plaintiffs' termination notices, and that Detective Comics, Vol. 15, was published on

14   April 10, 1938, six days outside the temporal reach of the termination notices. ·

15   Under the 1909 Act the initial (as opposed to the renewal) copyright registration

16   constituted prima facie evidence of the publication date for a work. 6 See 17 U.S.C.

17

18           6
                Defendants' suggestion that the addition of section 304(a)(4)(B) by the
      Copyright Amendments Act of 1992 somehow altered this rule by extending the
19
      prima facie imprimatur to renewals like those in this case is simply mistaken.
20    (Defs' Reply at 40 & n.16). That section provides that, so long as the renewal
      occurred "within 1 year before [the] expiration" of the initial term, then "the
21    certificate of such registration shall constitute prima facie evidence as to the ...
      the facts stated in the certificate." However, the 1992 Act's provisions placed one
22    very important proviso on its applicability- its provisions applied only where a
23    party was filing a renewal registration to the "extended term of copyright in a work."
      Thus, the amendments' provisions were limited to renewal claims to works that
24    were still in their initial term when the 1976 Act became effective, January 1, 1978,
      meaning for copyrights whose first term of copyright was secured on or after
25    January 1, 1950. That is to say, section 304(a)(4)(B)'s provisions only applies to
      works that had yet reached the time for renewal before the 1976 Act extended the
26
      term of the renewal period (unlike Superman in Action Comics, Vol. 1, or the
27    comics containing the promotional announcements). For those works, the 1992
      amendments allowed such renewal to be made at anytime, but provided incentives
28    for prompt renewal, the most notable being the extension of the prima facie rule to
      such promptly filed renewal claims. See 2 PATRY ON COPYRIGHT§ 7:50 ("Effective
                                               29



                                          EXHIBIT 19                                         WME 00111
                                             232
 Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 63 of 157 Page
                                     ID #:31775
       Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 30 of 72



  1    § 209 (repealed) (providing that a "certificate of registration" issued by the Register

  2    of Copyrights "shall be admitted in any court as prima facie evidence of the facts

  3    stated therein"); see also Epoch Productions Corp. v. Killiam Shows, Inc., 522 F.2d

  4    737, 745-46 (2nd Cir. 1975); 5 PATRY ON COPYRIGHT§ 17:115 (observing that the

  5    reason that renewal certificates issued during the 1909 Act were not accorded

  6    prima facie status was because of the "minimal attention" the Register of Copyrights

  7    paid to the information contained therein; "[a]s long as original registration for a

  8    work has been made, the Copyright Office accept[ed] it at face value").

  9           Plaintiffs attempt to refute this prima facie evidence through expert testimony

 1o    and by legal argument.
 11           As to the latter, plaintiffs seek to discredit the value of the initial copyright

 12    registration for More Fun Comics, Vol. 31, because Detective Comics' successor

 13    did not obtain that registration until nearly 28 years after its publication, on the eve

 14    of the expiration of the initial copyright term. The 1909 Act required that, once

 15    cOpyright had been secured by publication with notice, "there shall be promptly

 16    deposited" the required copies of the published work and the registration claim
· 17   itself. 17 U.S.C. § 13 (repealed). Plaintiffs suggest that such a "late" initial

 18    registration raises questions as to the trustworthiness of any of the information

 19    contained in that registration. (Pis' Opp. at 48-49). Plaintiffs correctly point out that

 20    Professor Nimmer in his treatise has commented that, "where there was a failure to

 21
        June 26, 1992, Congress abolished the requirements that works in their first term
 22     of copyright published or registered between 1964 and 1977 must be timely
 23     renewed in order to enjoy the (now) 67-year renewal term. Instead, these works
        are now automatically renewed for the full term of 75 years. Copyrights whose
 24     first term of copyright was secured between January 1, 1950, and December 31,
        1963, still had to have been renewed according to the requirements of the 1909
 25     Act. Failure to do so resulted in the work falling into the public domain ....
 26     Renewal claims may still be filed at any time during the renewal period, and a
        number of incentives have been added to encourage filing. [One such] incentive[]
 27     for renewing provided in the Copyright Act of 1992 are the prima facie status that
        is accorded to the validity of the work"). Given that none of the comics in question
 28     fall within the class affected by section 304(a)(4)(B), that section's expansion of
        the prima facie status to renewal claims does not apply here.
                                                    30



                                              EXHIBIT 19                                          WME 00112
                                                 233
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 64 of 157 Page
                                   ID #:31776
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 31 of 72



 1   promptly register and deposit, under the 1909 Act, some questions as to the viability

 2   of the copyright might be raised." 2 NIMMER ON COPYRIGHT§ 7.16[A][2][b] at 7-150.

 3   But Professor Nimmer's comments as to the collateral consequences flowing from

 4   such a delay were not geared toward the validity of the copyright itself, but to the

 5   existence of an impediment to bringing an action for infringement. See id. at 7-149

 6   (noting that Supreme Court's Washingtonian decisjon effectively read the "words

 7   'promptly deposited' in Section 13 ... not ... as a condition subsequent that,' if not

 8   satisfied, would result in destruction of the copyright," but rather "[t]he deposit ...

 9   requirement was (as it still is) clearly a condition precedent to the right to bring an

1o   infringement action").

11          Although the general line of reasoning plaintiffs seek to draw from such a

12   "late-in-time" registration makes sense from a policy perspective, plaintiffs have

13   cited no authority that such long delays in registration vitiates or otherwise

14   diminishes the statutorily conferred prima facie presumption to which such

15   registration claims (and the information contained therein) are entitled, especially

16   once a registration has (as here) been tendered. Moreover, even were the Court to
17   entertain plaintiffs' invitation, there remains the initial registration for the other comic

18   book in question -    Detective Comics, Vol. 15 -which was obtained shortly after

19   that comic book's publication and, hence, the problem pressed by defendants with

20   the promotional announcement contained therein falling outside the effective reach

21   of the termination notice remains.
22          Plaintiffs next contend that the copies of the registration certificates

23   submitted by defendants have not been authenticated by the declarant to whose

24   declaration they are affixed, and hence, are not admissible as proof of the comic

25   books' publication date. (Pis' Opp. at 48-49 ("the certificate is not properly

26   authenticated, but is merely attached to the declaration of defendants' attorney, who

27   appears to have no personal knowledge of it"). Such extrinsic evidence of ,

28   authenticity by the declarant is unnecessary for these copyright registration


                                                  31



                                            EXHIBIT 19                                          WME 00113
                                               234
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 65 of 157 Page
                                    ID #:31777
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 32 of 72



 1    certificates. Under Federal Rule of Evidence 902(1), a "document bearing a seal

 2    purporting to be that of the United States ... or of a ... department, officer, or

 3    agency thereof," with "a signature purporting to be an attestation or execution," is

 4    considered self-authenticated. Close inspection of the copyright registration

 5    certificates submitted by defendants clearly reveals the seal issued by the United

 6    States Copyright Office, signed by the Register of Copyrights, and bearing the

 7    following legend: "[A]ttached are additional certificates for the [comics in question]

 8    which were registered in accordance with provisions of the United States Copyright

 9    Law." (Decl. James Weinberger, Ex. B & C). The requirements of Rule 902(1)

1o    have been met, rendering the copies of the copyright registration certificates as self-

11    authenticated and, thus, admissible.
12           The obscure nature of these promotional announcements does not alter this

13    analysis. It is undoubtedly true that the existence of these announcements was not

14    widely recognized even by comic book aficionados. That, however, does not

15    change the effect their existence has vis-a-vis the termination notices' effective
16    reach. Once a termination effective date is chosen and listed in the notice, the five-

17    year time window is an unbendable rule with an inescapable effect,. not subject to

18    harmless error analysis. See 37 C.F.R. § 201.1 O(e) (limiting application to

19    "[h]armless errors in a notice" that does not "materially affect the adequacy of the

20   . information") (emphasis added). That good cause may have e)(isted for failing to

21    structure the termination notices so as to sweep the announcements within its reach

22    does not obviate application of the rule itself.
23           The importance such promotional announcements may have on the reach of

24    a termination notice that has been tendered was not lost on plaintiffs' counsel, Mr.

25    Levine, who drafted the termination notices in this case. He also drafted plaintiffs'

26    termination notice with respect to The Spectre copyright, and structured it in such a

27    way so as to include among the works affected by the notice's five-year window a

28    promotional announcement for The Spectre contained in a comic published a month


                                                  32


                                            EXHIBIT 19                                         WME 00114
                                               235
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 66 of 157 Page
                                    ID #:31778
       Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 33 of 72



   1   before the one containing the first comic book story of the character. (Decl. Michael

  2    Bergman, Exs. WW-YY (termination notice describing among the works affected by

  3    the notice the promotional announcement as "Spectre character appearing in

  4    costume in an ad in issue No. 51 of More Fun Comics, copyrighted November 28,

  5    1939, as Copyright Registration No. 8437786, publication date January 1940") &

  6    Decl. Paul Levitz, Ex. A (containing picture of The Spectre ad)).

  7           Having provided prima facie evidence of the comic books' publication dates,

  8    the burden shifts to the plaintiffs to produce some evidence calling into question

  9    those dates. The burden of production is not a heavy one (in large measure owing

 1o    to the fact that so little is proffered by the applicant or scrutinized by the Copyright

. 11   Office in the application process to procure the registration in the first instance), but

 12    it is one that must be met nonetheless. See 3 PATRY ON COPYRIGHT§ 9:14 ("the

 13    Copyright Office has no ability to verify facts stated in the certificate, and not

 14    surprisingly makes no effort to do so .... At the most, the Office can take notice of

 15    any inconsistent facts that appear on the deposit copy and request clarification from

 16    the claimant .... In any ~vent, [the opposing party] should be required to present

 17    only a small degree of evidence calling into question the fact at issue in order to

 18    rebut the certificate's presumption").

 19           On that point all that plaintiffs have submitted is the opinion of a comic book

 20    historian, Mark Evanier, who was retained by DC Comics in the 1970s to, among

 21    other things, assist it "in attempting to determine approximate dates of past

 22    publication" of its comics. (Decl. Mark Evaier ~ 12). From this particular

 23    experience, as well as his long history in the comic book industry, Mr. Evanier seeks

 24    to cast doubt on the veracity of the asserted publication dates for the comics

 25    containing the promotional announcements. The general thrust of his expert

 26    opinion is that, outside the first printing of certain famous comic superheros such as

 27    Superman in Action Comics, Vol. 1, a particular "run of the mill" comic book's exact

 28    date of publication during the 1930s and 1940s is difficult to determine, rendering


                                                   33



                                             EXHIBIT 19                                           WME 00115
                                                236
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 67 of 157 Page
                                   ID #:31779
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 34 of 72



 1   the dates listed on the certificates as nothing more than "mere guesstimates" by the

 2   publisher. (Decl. Mark Evanier ~ 10). Furthermore, Mr. Evanier downplays the

 3   significance of the fact that the comic books in question contained promotional

 4   announcements for Action Comics, Vol. 1, as necessarily meaning that their

 5   publication must have preceded Action Comics publication. As Mr. Evanier

 6   explains, the dates provided by publishers were often the dates initially scheduled

 7   or intended for publication, but the actual dates often varied with printing, delivery,

 8   and other delays. (Decl. Mark Evanier ~ 11 ).

 9          Mr. Evanier's expert opinion is chalk full of information on the publication of

10   comic books in general during this time period, but is void of any specific evidence

11   or opinion as to the publication of the particular comic books in question in this

12   case. He offers no evidence of any sp'ecific printing, delivery, or other problems that

13   may have affected the publication of More Fun Comics, Vol. 31, or Detective

14   Comics, Vol. 15. His general opinion thus does not sufficiently refute the prima

15   facie evidence set forth in the initial copyright registration certificates for these

16   particular comic books. At most, his opinion raises some doubts as to the precision

17   of the dates contained in initial copyright registrations for comic books in general

18   from this period. However, those copyright notices were completed at a time which,

19   by Mr. Evanier's own opinion, the copyright holder was attempting to be as accurate

20   as possible in listing those dat~s and long before any incentive to provide
                                                       .,


21   inaccurate dates by virtue of contemplating this present litigation orthe termination

22   provisions of the 1976 Act existed. Plaintiffs evidence does no more than inform the

23   Court that, despite efforts to be precise about publication dates for comic books

24   during this particular period, mistakes could be made; it is not at all probative on the

25   issue of whether mistakes were in fact made with respect to the information

26   contained in the particular registration certificates at issue in this case. The Court

27   therefore finds that the promotional announcements containing an illustration of

28   Superman from the cover of Action Comics, Vol. 1, are outside the effective reach


                                                  34



                                            EXHIBIT 19                                         WM   00116
                                               237
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 68 of 157 Page
                                  ID #:31780
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 35 of 72



 1   of the termination notices.

 2          Perhaps anticipating this finding, plaintiffs next seek to downplay the

 3   significance of the promotional announcements themselves by arguing that, legally

 4   and factually, little, if any, copyrightable Superman material is contained in those

 5   announcements. Specifically, plaintiffs submit that Siegel and Shuster's material

 6   was an indivisible joint work, and that the advertisements were a derivative work of

 7   the authors' material. Thus, they claim that none of the Superman material

 8   contained in .the promotional announcements (namely, the cover artwork from

 9   Action Comics,.Vol. 1) could be copyrighted, a~d thus, defendants cannot contin~e

1o   to exploit the same, regardless of the termination notice. As framed by plaintiffs:

11   "Defendants' entire argumentis falsely premised on the erroneous assumption that

12   they can take the cover of Action Comics, No. 1, one of many illustrated panels in

13   Siegel and Shuster's first 'Superman' comic book story, rip it from this copyrighted

14   joint work, and own a separate copyright in the illustration in the form of a mere 'in

15   house announcement' depicting a reduced image of the illustration. [Moreover,]

16   Detective's 'in-house announcements,' at best, are derivative works based on the

17   pre-existing cover and interior panel of Siegel and Shuster's pre-existing

18   'Superman' story." (Pis' Opp. at 44, 46).

19          This emphasis on the joint nature of Siegel and Shuster's Superman material
20   is rendered nugatory by the_fact that Siegel and Shuster granted the copyright in

21   their material to Detective Comics on March 1, 1938, well before the promotional
22   advertisements were published by Detective Comics in April of that year. Thus, by

23   the time the promotional announcements were published, Siegel and Shuster's

24   Superman material was owned solely by Detective Comics to do with it as it saw fit,

25   whether it be as a full-length comic or as artwork in its advertising. That Siegel and

26   Shuster intended their work to be combined together and depicted as a unitary

27   whole is a separate and distinct question from whether, in later using some of

28   Shuster's artwork from that combined material it had acquired, Detective Comics


                                                 35



                                          EXHIBIT 19                                          WME 00117
                                             238
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 69 of 157 Page
                                   ID #:31781
      Case 2:04-cv-08776-SGL-RZ Document  174 Filed 03/26/2008 Page 36 of 72



 1   somehow unraveled the copyrightability in that portion of the work. The manner of a

 2   work's authorship is entirely separate from the way in which an assignee may

 3   exploit that material once it has acquired exclusive ownership of the same and,

 4   correspondingly, whether there were anything copyrightable in the work the

 5   assignee subsequently published using only parts of that material.

 6          In this respect it is important to remember that a joint work can consist of

 7   either inseparable or interdependent parts, the latter example of which include "the

 8   collaborative musical works of Gilbert and Sullivan .... , [t]hese works are the result

 9   of the interdependent contributions of the collaborators, i.~., one person wrote the

1o   lyrics and the other the music, either of which could on its own [stand] as an

11   independent work, but which, when combined, form a single[, separate]

12   'interdependent' joint work." 2 PATRY ON CoPYRIGHT§ 5:6. The original Superman

13   material was the product of the story and dialogue written by Siegel and the art work

14   drawn by Shuster; each on its own could have been a work in its own right subject

15   to copyright protection, but when merged together they formed a single new and

16   unified interdependent work. See Siegel v. Time Warner, Inc., 496 F.Supp.2d 1111,

17   1145 (C. D. Cal. 2007) (where this Court held, in regard to Superboy, "the copyright

18   to [the same] (if a joint work) would be considered comprised of interdependent

19   parts- Siegel's dialogue and storyline ... and Shuster's artwork giving life and
20   color t,a those words").

21          At most, Detective Comics took a part of Shuster's independently

22   copyrightable art work out of the joint work and utilized it, in conjunction with other

23   material (namely, the advertising slogan), in a promotional announcement. There is

24   no rule preventing a publisher or others from publishing portions or excerpts of

25   works, joint or otherwise, that it solely owns, and then seeking a separate copyright

26   in the same. Indeed, the opposite is true- the holder of a copyright is expressly

27   entitled to prepare derivative works based upon a copyrighted work it owns or to

28   utilize portions of that work in other materials. See 17 U.S.C. § 106(2); see


                                                36


                                          EXHIBIT 19                                           WME 00118
                                             239
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 70 of 157 Page
                                    ID #:31782
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 37 of 72



 1    generally 17 U.S.C. § 1 (repealed). Detective Comics could just as well have

 2    decided to split up the Superman material for publication into two or three

 3    installments as it could (and did) decide to publish a portion of that material in an

 4    advertisement to promote the comic.
 5           This leads to plaintiffs' contention that the "derivative nature" of the

 6    promotional advertisement itself works to exclude any of the copyright in the pre-

 7    existing Superman material (notably, the art work for the Action Comics, Vol. 1

 8    cover) contained therein from enurfng to the benefit of the defendants to continue to

 9.   exploit. Generally, if an author contributes additional original material to a pre-

1o    existing work so as to recast, transform, or adapt that work, then the copyright

11    protection afforded to the author of that derivative work extends only to that

12    additional material and in no way extends to the underlying, pre-existing material.

13    See 17 U.S.C. § 103(b) (specifying that a derivative work's copyright does not

14    extend to any part of that work using "preexisting material in which copyright

15    subsists"); 1 NIMMER ON COPYRIGHT§ 3.03, at 3-10. Thus, it is asserted that the
16    author of the pre-existing material work (here Siegel and Shuster) would continue to

17    retain ownership in the same despite its use in the derivative work (the promotional

18    announcement).
19           Even assuming that the changes made to the cover page for Action Comics,

20    Vol. 1, in the promotional announcements is not merely a repro~uction, but

21    sufficiently "recast, transform, or adapts" the pre-existing material so as to be

22    considered a derivative work thereof (M, the cover is shown in black and white

23    instead of color, the scale of the artwork .itself is diminished, and text is placed

24    alongside the artwork), there remains a complicating wrinkle. At the time the

25    promotional announcements were placed in Detective Comics' existing comic book

26    publications, the underlying pre-existing Superman material from which a portion of

27    the announcements were derived (again the artwork for the cover) had yet to be

28    published, and, hence, copyright in the same was protected at the time under state


                                                  37



                                            EXHIBIT 19                                        WME 00119
                                               240
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 71 of 157 Page
                                  ID #:31783 Filed 03/26/2008 Page 38 of 72
     Case 2:04-cv-08776-SGL-RZ Document 174




 1   common law. See 17 U.S.C. § 2 (repealed).·

 2          Given that the portion of the pre-existing material at issue had yet to achieve

 3   statutory copyright protection when it was first published in More Fun Comics, Vol.

 4   31, and Detective Comics, Vol. 15, it was injected into the public domain upon the

 5   publication of the promotional announcements themseives, absent investiture of

 6   statutory copyright protection through its publication. See 17 U .S.C. § 10

 7   (repealed). That is to say, the copyright in the cover of Action Comics, Vol. 1, itself

 8   first achieved statutory protection, if at all, upon its publication in the

 9   announcements, not its later publication in Action Comics, Vol. 1. ·See 2 PATRY ON

10   COPYRIGHT§ 6:35 ("where an investitive publication occurs, the derivative work

11   copyright covers the unpublished material").

12          This fact has repercussions on plaintiffs' derivative works argument, as it

13   alters the general rule described above.      Once Detective Comics published a

14   portion of the previously unpublished pre-existing material -as was its right as

15   owner of the material at that time -    its continued protection resided exclusively

16   under statutory copyright in the derivative work itself lest that portion of the pre-

17   existing material (the art work for the cover) be injected into the public domain. See·

18   Batjac Productions Inc. v. GoodTimes Home Video Corp., 160 F.3d 1223, 1233 (9th

19   Cir. 1998); 2 PATRY ON COPYRIGHT§ 6:35 ("to the extent that previously unpublished

20   material is included in an authorized published derivative work, the derivative work

21   publishes the previously unpublished material"). As Professor Nimmer explains:

22                  Because a derivative work by definition to some extent
                    incorporates a copy of the pre-existing work, publication
23                  of the former necessarily constitutes publication of the
                    copied portion of the latter. Of course, an article that
24                  merely describes a pre-existing work but does not .
                    incorporate any substantial portion of it is not a
25                  derivative work and hence, does not publish the pre-
                    existing work. Unless the basic work is reproduced in
26                  the published work, it is not published. If only the broad
                    outlines or other fragmentary portion of the pre-existing
27                  work are copied and published in the derivative work,
                    then only to that extent is the pre-existing work
28                  published.


                                                  38



                                            EXHIBIT 19                                       WME 00120
                                               241
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 72 of 157 Page
                                   ID #:31784
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 ~age 39 of 72



 1   1 NIMMER ON COPYRIGHT§ 4.12[A] at 4-59 to 4-60; see also id. § 4.13[A] at 4-73

 2   ("any work published prior to January 1, 1978, was not only thereby divested of

 3   common law copyright; it was also injected into the public domain, unless at the

 4   moment of publication copies of the work bore a proper copyright notice").

 5   Thus, included in defendants' right to continue to exploit the copyright in the

 6   derivative work (the promotional announcements) is the right to the copyright in that

 7   part of the pre-existing work (the illustration from the cover) that was published for

 8   the first time in that derivative work.

 9          The cases cited by plaintiffs as standing for the contrary are all

1o   distinguishable, as either the act of publication in question fell within the "limited"

11   publication exception because the material was distributed for promotional purposes

12   to members in the trade and not, as here, the general public itself, see Rushton v.

13   Vitale, 218 F.2d 434 (2nd Cir. 1955); Hub Floral Corp. v. Royal Brass Corp., 454

14   F.2d 1226 (2nd Cir. 1972); or because the underlying work reproduced in the

15   derivative work was itself in the public domain (unlike here where the underlying

16   material was in an unpublished state protected by common law copyright), thereby

17   mooting any question about divestiture of the underlying work through publication.

18   See Alfred Bell & Co. v. Catalda Fine Arts, 191 F.2d 99 (2nd Cir. 1951).

19          Here, the promotional announcements represent the first time Superman

20   appeared to the public, and consequently, the first time any of Siegel and Shuster's

21   Superman material was protected by statutory copyright, albeit in conjunction with

22   the other material contained in the advertisement itself. Thus, all of the material in

23   the promotional announcement (which included the graphic depiction of Superman

24   later portrayed on the cover of Action Comics, Vol. 1) obtained statutory copyright

25   protection before the earliest possible date covered by the plaintiffs' termination

26   notices. The Court therefore finds that the publication date for at least one of the

27   comics containing the promotional announcements falls outside the reach of the

28   termination notice and, therefore, any copyrightable material contained therein


                                                  39


                                               EXHIBIT 19                                      WME 00121
                                                  242
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 73 of 157 Page
                                  ID #:31785
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 40 of 72



 1   (including that found in the cover to Action Comics, Vol. 1, as depicted in those
 2   announcements) remains for defendants to exploit.
 3          This leads to the question of the scope of the copyrighted material remaining

 4   in defendants' possession by way of the promotional announcements, a question

 5   that defendants themselves acknowledge "is most obviously answered by [looking
 6   at] the ads which speak for themselves" and that does not require some "special
 7   'lens"' to resolve. (Defs' Reply at 44).

 8          The Court begins by observing what is not depicted in the announcements.
 9   Obviously, nothing concerning the Superman storyline (that is, the literary elements

10   contained in Action Comics, Vol. 1) is on display in the ads; thus, Superman's

11   name, his alter ego, his compatriots, his origins, his mission to serve as a champion
12   of the oppressed, or his heroic abilities in general, do not remain within defendants
13   sole possession to exploit. Instead the only copyrightable elements left arise from
14   the pictorial illustration in the announcements, which is fairly limited.
15          The person in question has great strength (he is after all holding aloft a car).

16   The person is wearing so111e type of costume, but significantly the colors, if any, for
17   the same are not represented, as the advertisement appears only in black and
18   white. The argument that the "S" crest is recognizable in the promotional
19   advertisement is not persuasive. What is depicted on the chest of the costume is
20   so small and blurred as to not be readily recognizable, at best all that can be seen is
21   some vague marking or symbol its precise contours hard to decipher. The Court

22   thus concludes that defendants may continue to exploit the image of a person with
23   extraordinary strength who wears a black and white leotard and cape. What

24   remains of the Siegel and Shuster's Superman copyright that is still subject to
25   termination (and, of course, what defendants truly seek) is the entire storyline from
26   Action Comics, Vol. 1, Superman's distinctive blue leotard (complete with its

27   inverted triangular crest across the chest with,a red "S" on a yellow background), a

28   red cape and boots, and his superhuman ability to leap tall buildings, repel bullets,


                                                 40


                                           EXHIBIT 19                                          WME 00122
                                              243
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 74 of 157 Page
                                   ID #:31786
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 41 of 72



 1   and run faster than a locomotive, none of which is apparent from the

 2   announcement.
 3          2.     Work Made for Hire Aspect of Portions of Action Comics. Vol. 1

 4          Under the 1976 Act, an author's (or his or her heirs') ability to terminate a

 5   prior grant in the copyright to a creation does not apply to a "work made for hire,"

 6   because the copyright in such a creation was never the artist's to grant, belonging

 7   instead to the one who employed the artist to create the work. See 17 U.S.C.

 8   § 304(c); Playboy Enterprises, Inc. v. Dumas, 53 F.3d 549, 554 (2nd Cir. 1995)
 9   ("Once it is established that a work is made for hire, the hiring party is presumed to

1o   be the author of the work"). The manner in which Siegel and Shuster's Superman

11   material was submitted, then re-submitted in a reformatted version, and finally

12   accepted for publication by Detective Comics raises questions about the work for

13   hire status of the re-formatted material (but not the initial material submitted to the

14   publisher) later published in Action Comics, Vol. 1.

15          Defendants argue that portions of the copyrightable material contained in
16   Action Comics, Vol. 1, are unaffected by the termination notice because those

17   portions belong exclusively to them as "works for hire," arguing that certain material

18   found in the comic book was created by Detective Comics' in-house employees, or
19   that the material was added to the underlying Superman material by Siegel and

20   Shuster at the publisher's direction. (Defs' Opp. at 27). Specifically, the alleged

21   "additional" material proviqed by Detective Comics' in-house employees is the color

22   choices made throughout the comic, notably, the red color ofthe letter "S" on

23   Superman's crest and the art work for the cover to the magazine itself (albeit

24   modeled after a interior panel in the Superman comic illustrated by Shuster).

25   Similarly, the additional material supplied in response to the publisher's February 1,

26   1938, letter is Shuster's admitted (and as acknowledged by Siegel) drawing of

27   "several additional pictures to illustrate the story continuity" appearing "on page 1 of

28   the first Superman release" and "the last panel appearing on the thirteenth page."


                                                41


                                          EXHIBIT 19                                           WME 00123
                                             244
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 75 of 157 Page
                                   ID #:31787
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 42 of 72



 1   (Decl. Michael Bergman Ex. G at 2 & Ex. H at 5).

 2          The thrust of defendants' argument was made and rejected by the Second

 3   Circuit in the 1970s Superman copyright renewal litigation, and is thus precluded as

 4   a matter of collateral estoppel here. In that litigation, defendants' predecessors-in-

 S   interest presented much of the same evidence now submitted in this case to argue

 6   that this additional material transformed the entirety of Siegel and Shuster's

 7   pre-existing Superman material published in Action Comics, Vol. 1, into a work

 8   made for hire. The Second Circuit rejected this argument, elaborating: "In the case

 9   before us, Superman and his miraculous powers were completely developed long

1o   before the employment relationship was instituted. The record indicates that the

11   revisions directed by the defendants were simply to accommodate Superman to a

12   magazine format. We do not consider this sufficient to create the presumption that

13   the [comic book] strip was a work for hire." Siegel, 508 F.2d at 914. This

14   conclusion forecloses any further litigation on the point of whether Shuster's

15   additional drawings when reformatting the underlying Superman material into a

16   comic book format or other facts related to such a theory such as the colorization

17   process for Action Comics, Vol. 1, or the party responsible for the illustration of the

18   cover to the magazine, rendered all or portions of the resulting comic book a work

19   made for hire.

20          Defendants seek to avoid the collateral estoppel effect of the Second

21   Circuit's decision by arguing that the only issue concerning the work for hire status

22   of Action Comics, Vol. 1, related to Siegel and Shuster's 1934-1935 "contributions,"

23   and not what was "added to the first Superman story by Detective's employees,"

24   amongst whom defendants count Siegel and Shuster after they executed the

25   December, 1937, contract. (Defs' Opp. at 36). Such a reading conflicts with the

26   record. The evidence that was proffered during the 1970s litigation in the trial court

27   on the work for hire question included declarations from Siegel and Shuster

28   discussing what took place during the reformatting process. This is the same


                                                42


                                          EXHIBIT 19                                           WME 00124
                                             245
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 76 of 157 Page
                                  ID #:31788 Filed 03/26/2008 Page 43 of 72
     Case 2:04-cv-08776-SGL-RZ Document 174



 1   evidence that defendants now seek to use in this case to argue that the reformatted

 2   material was a work made for hire.

 3           Moreover, the circumstances surrounding the reformatting of the underlying

 4   Superman material was not only mentioned by the Second Circuit, but discounted

 5   by that court in passing on the work for hire nature of Action Comics, Vol. 1, itself,

 6   not just the initial contributions made by Siegel and Shuster back in 1934 and 1935.

 7   It would be incongruous for the Court, in respecting as it must the Second Circuit's

 8   judgment, to now hold that, while that reformatted material did not transform the

 9   entirety of the material in Action Comics, Vol. 1, into a work made for hire, some

1o   subpart thereof (and, indeed, a very limited subpart, consisting of but a few panels)

11   was somehow excised out and should be accorded work made for hire status. The

12   litigation of the larger question sweeps within it defendants' opportunity to litigate a

13   subpart thereof.
14          A contrary holding would transgress certain core principles of collateral

15   estoppel: "A new contention is not necessarily a new issue. If a new legal theory or
16   factual assertion raised in the second action is relevant to the issues that were

17   litigated and adjudicated previously, the prior determination of the issue is

18   conclusive on the issue despite the fact that new evidence or argument relevant to

19   the issue was nofin fact expressly pleaded, introduced into evidence, or otherwise

20   urged." 18 JAMES WM. MOORE, MOORE'S FEDERAL PRACTICE§ 132.02[2][c] at 132-25

21   (3rd ed. 2007). Significantly, much of the evidence Underlying defendants'

22   arguments was presented in the Second Circuit litigation (notably Siegel and

23   Shusters' declarations submitted in that litigation) or, if not, was certainly available

24   to be used in that case (the colorization process for the initial printing of

25   Action Comics, Vol. 1, or that in-house employees supposedly drew the cover to the

26   magazine). "A party may be precluded from re-litigating an issue if evidence

27   supporting the party's position on the issue could have been submitted in previous

28   litigation but, for whatever reason, was not properly raised. Evidence that is not the


                                                 43


                                           EXHIBIT 19                                           WME 00125
                                              246
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 77 of 157 Page
                                    ID #:31789
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 44 of 72



 1    result of a different factual situation or changed circumstances, but is instead

 2    historical in nature and could have been admitted at the first trial if properly

 3    submitted, cannot be introduced in subsequent litigation of the same issue." l.Q.. §

 4    132.02[2][d] at 132-25 to 132-26 (citing Yamaha Corp. v. United States, 961 F.2d

 5    245, 257 (D.C. Cir. 1992)).
 6           Nowhere have defendants explained why they did not bring up the question

 7    of the colorization process for Action Comics, Vol. 1) or the cover art work for the

 8    magazine, before the courts handling the 1970s Superman litigation. The question

 9    about the legal effect the reformatting of the t:mderlying Superman material had on

1o    the work for hire question was litigated by the parties and resolved by the courts

11    during the 1970s Superman matter. Similarly, the question about the colorization

12    and cover art work (and who was responsible for the same) could have been raised

13    in conjunction with the work for hire question, but defendants failed or decided not

14    to do so. Having litigated the. question and having the opportunity to present all the

15    evidence that pressed on the issue, defendants are now barred from seeking to

16    relitigate it anew even under the purported limited guise that it is now being offered.

17.          Some noted treatise writers have commented that the Second Circuit's

18    analysis focusing on the work for hire nature of the additional reformatted material

19    should have been analyzed as a derivative work, that is, that the additional material

20    was derivative of the underlying Superman materiaL See .1 NIMMERON COPYRIGHT

21    § 5.03[8] [1][b][l] at 5~33 n.92. (''The Siegel decision ... may be understood as
22    holding that the first expression of the Superman character was the underlying

23    work, and the later development of the character was a derivative work. Because

24    only the derivative work was produced in a for-hire relationship, the underlying work

25    remains the property of the creators"). However, this analysis does not benefit

26    defendants.
27           First, no additional literary material was supplied in re-formatting the

28    underlying Superman material into a comic book format. All the dialogue and


                                                 44



                                            EXHIBIT 19                                       WME 00126
                                               247
Case 2:10-cv-03633-ODW-RZ       Document 500-4 Filed 10/10/12 Page 78 of 157 Page
                                     ID #:31790
      Case 2:04-cv-08776-SG L-RZ Document  174  Filed 03/26/2008 Page 45 of 72



 1    storyline contained in Action Comics, Vol. 1, was present before Detective Comics

 2    requested the pair to provide a reformatted version of the material, and that literary

 3    material remained unchanged through the reformatting process. All that is left was

 4    supplying some additional illustrations by Shuster, the precise ones specified in his

 5    declaration. From the Court's review of these additional illustrations, it appears that

 6    the material is completely derivative of other panels in the Action Comics, Vol. 1,

 7    comic, with its origins in the underlying Superman material. Thus, for instance,

 8    while the final panel on page 13 shows Superman's crest with a red "S" on a yellow

 g-   background, so, too, does another pane.l containing the underlying, pre-existing

1o    material. Similarly, while the panels on the first page to the comic show Superman

11    leaping skyscapers, running at high rates of speed, and demonstrating feats of

12    great strength, so, too, do other panels containing the pre-existing material. Indeed,

13    the earliest sketches by Shuster from 1934 and 1935 demonstrate that the graphical

14    depiction of Superman was well on its way to being completely developed before

15    the re-formatted material in question was created some three years later. Thus,

16    even if the additional material in question was tendered as a derivative work that

17    was made for hire by Shuster, all the potentially copyrightable material contained

18    therein is completely derivative of the pre-existing material and, hence, is not

19    subject to independent copyright protection in the first instance. This, then, lends

20    strong support to the Second Circuit's observa~ion: "Superman and his miraculous.
            .             .                    .             . .            .       .    .
21    powers were completely developed long before the employment relationship was

22    instituted." Siegel, 508 F.2d at 914.

23              Defendants also argue that the coloring for Action Comics, Vol. 1 , was not

24    created or chosen by·Siegel or Shuster, but was instead the product of some of

25    Detective Comics' in-house employees working in the printing department. Even if

26    this argument was not otherwise precluded by collateral estoppel, the evidence

27    produced in support is less than persuasive. According to "eye-witness" Jack Adler,

28    the material contained in comic books "at the time" was provided by artists to the


                                                   45



                                             EXHIBIT 19                                        WME 00127
                                                248
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 79 of 157 Page
                                  ID #:31791
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 46 of 72



 1   Detective Comics' production staff in black and white. (Decl. Jack Adler~ 3).

 2   "Typically," members of the staff then decided upon the color that would be applied

 3   throughout the magazine, something that defendants argue is an additional element

 4   added to the underlying Superman material that is itself subject to copyright

 5   protection. (Dec!. Jack Adler~ 3). Defendants' argu,ment depends entirely upon

 6   Mr. Adler's declaration, which is not as clear as they suggest.

 7          Mr. Adler does not state that he worked on the colorizing of Action Comics,

 8   Vol. 1, itself. Instead he states tha~ he "worked for the engraving company that
 9   made the metal plates for printing of, among other things, comic books for Detedive

1o   Comics." (Dec!. Jack Adler~ 3). He then states that, "[a]t the time, comic book

11   artists ... submitted drawn and inked comic book work in black and white." (.!Q.).

12   Mr. Adler further states that the black-and-white pages "were then photographed by

13   the engraver and a photo print was hand[-]colored by staff at Detective and by the

14   engravers.!' (.IQ.). Of course, nothing in this statement precludes the possibility that,

15   even if the Superman material was so submitted, Siegel and Shuster may have also
16   placed certain color directions with their material to be utilized in the engraving

17   process. In fact, that the earlier incarnation of Superman as hulking strongman in

18   the tradition of Tarzan was created by the pair as a comic book with color

19   illustrations lends to the possibility that they already had pre-conceived color

20   choices .in. mind for the later comic if it were later reformatted into a comic book,

21   rather than a newspaper comic strip.
22          Moreover, viewed in context, Mr. Adler's declaration appears to describe

23   procedures generally employed in the printing process, not as evidence of what

24   actually occurred with respect to the printing of Action Comics, Vol. 1, itself. His

25   statement (and, in fact, the entire Adler declaration) is of dubious evidentiary value

26   in light of his candid admission that he has "no knowledge of Siegel and Shuster

27   selecting any of the color in Action Comics, No.1." (I d.~ 4). Mr. Adler attempts to

28   temper his admission of lack of knowledge by stating, without any basis, that he is


                                                 46



                                           EXHIBIT 19                                         WME 00128
                                              249
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 80 of 157 Page
                                   ID #:31792
      Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 47 of 72



 1    "aware that Detective staff member, Ed Eisenberg, selected the color for

 2    Superman's 'S' in Shield on his costume." (ld.) Of course, Mr. Adler's statement on
 3    this point is inadmissible as it is based on hearsay. Without any direct link between
 4    Mr. Adler's work and the printing of Action Comics, Vol. 1, in particular, there exists

 5    an insufficient evidentiary foundation for his conclusions concerning the manner in
 6    which the Superman material was supplied to the printer and the colorization of the
 7    same was handled.
 8           Finally, defendants argue that the cover for Action Comics, Vol. 1, was drawn
                                                .                              .
 9.   by Detective Comics' in-house artists. However, the scant evidentiary basis
10    provided in support of this argument is ambiguous. In a letter sent to Jerome Siegel
11    dated February 22, 1938, Detective Comics' editor, Vin Sullivan, enclosed "a
12    silverprint of the cover of Action Comics," with the obseNation that Detective
13    Comics "used one of those panel drawings of SUPERMAN, as you suggested in

14    your recent letter." (Dec!. Michael Bergman, Ex. 1). The inference sought to be
15    drawn by defendants is that when Mr. Sullivan stated that the publisher "used" an
16    interior illustration from the Superman comic for the cover artwork he was stating
17    that one of the publisher's in-house artists saw the interior panel in question and
18    then drew the cover using the interior panel as inspiration. Of course, given the
19    limited nature of the information contained in the passage it could also be argued

20    that, in his e~rlier letter, Siegel enclosed an illustration by .Shuster as a suggestion
21    for the comic book's cover and Detective Comics decided to "use" this suggestion.
22    This alternative reading is not implausible. As demonstrated by the pair's attempt to
23    have their earlier incarnation of Superman published by Detective Dan, Shuster had

24    in the past drawn exemplars for the cover illustration for his comics well before they
25    were ever accepted for publication.

26           In conclusion, the Court finds that the question of the work-for-hire nature of

27    certain portions of the Superman material published in Action Comics, Vol. 1, is
28    precluded from further litigation by operation of the 1974 Second Circuit decision.


                                                    47


                                            EXHIBIT 19                                           WME 00129
                                               250
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 81 of 157 Page
                                    ID #:31793
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 48 of 72



 1·   Accordingly, the binding nature of that court's decision leads to the conclusion that
 2    all the Superman material contained in Action Comics, Vol. 1, is not a work-made-
 3    for-hire and therefore is subject to termination.
 4           3.      Failure to Include 1948 Consent Judgment

.5           Among the regulatory requirements promulgated by the Register of
 6    Copyrights concerning the termination notice's "form, content, and manner of
 7    service," 17 U.S.C. § 304(c)(4)(8), is the requirement that the notice must
 8    "reasonably" identify "the grant" to which it applies. 37 C.F.R. § 201.10(b)(1)(iv).

 9    Thus, if the author entered into five separate grants of rights for the same work, and
10    a notice of termination identifies only four of those grants, the fifth grant remains

11    "intact," and the grantee's rights thereunder remain unaffected. See 3 NIMMER ON
12    COPYRIGHT§ 11.06[8] at 11-40.22(1) n.63 ("if a grant was not effectively terminated,
13    then the rights licensed under such grant remain").
14           Here, defendants argue that plaintiffs' failure to identify the 1948 consent

15    judgment from the Westchester action is fatal to their attempts to terminate their
16    grant to the copyright in Superman, as that consent judgment was among the
17    grants leading to the transfer of ownership from the artists to Detective Comics.
18    Such argumentation is predicated upon the notion that, notwithstanding the
19    plaintiffs' act of identifying the stipulation between the parties from the Westchester
20    litigation that resulted in the consent judgment, identification of the con sen~

21    judgment from the Westchester action itself as (or part of) a "grant" was necessary
22    because it constituted the final step in "effectuat[ing] the transfer to [Detective
23    Comics] of the sole and exclusive ownership of all rights relating to 'Superman'";
24    "without it the rights identified in the Stipulation would not have been transferred."

25    (Defs' Opp. at 39). The Court disagrees.

26           Although the 1976 Act nowhere defines the term "grant," the central question
27    raised is plainly one of transfer: Did Siegel and Shuster transfer any rights to

28    Superman through or in conjunction with the 1948 consent judgment? If so, then it


                                                  48



                                            EXHIBIT 19                                         WME 00130
                                               251
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 82 of 157 Page
                                    ID #:31794
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 49 of 72



 1    operated as a grant by the artists in the same.

 2           On that point, the 1976 Act is helpful as it defines a "transfer of copyright

 3    ownership" as "an assignment, mortgage, exclusive license, or any other

 4    conveyance, alienation, or hypothecation of a copyright." 17 U.S.C. § 101; see

 5    Melville B. Nimmer, Termination of Transfers under the Copyright Act of 1976, 125

 6    U. PA. L. REV. 947, 951-52 (1977) ("In general, the termination provisions apply to

 7    any 'transfer' of copyright and to nonexclusive licenses of copyright or of any right

 8    comprised in a copyright. [Thus, a] 'transfer' includes not only assignments (as

 9    understood under the [1909] Act), but also exclusive licenses and any other

1o    conveyance of copyright or of any exclusive right comprised in a copyright").

11           The consent judgment at issue did not effectuate any transfer of rights from

12    Siegel and Shuster to Detective Comics. If any rights were transferred as a result of

13    the Westchester action, such a transfer was effectuated by the execution of the

14    earlier stipulated agreement of the parties, not a document created two days later·

15    which simply memorialized the transfer that the stipulation itself had accomplished.

16    The binding nature of the transfer contained in the stipulation was completed the

17    moment that agreement was executed. The consent judgment was a mere

18    formality whose execution (or lack thereof) did not detract from the otherwise

19    binding nature of the parties' earlier agreement. It merely parroted what was

20    already agreed to by the parties in the stipulation itself.

21           Finally, even if the 1948 consent judgment is a "grant" separate and apart

22    from (or part and parcel with) the 1948 stipulation, the regulations recognize that not

23    all errors in compliance with its terms impact the validity of the termination notice:

24    "Harmless errors in a notice that do not materially affect the adequacy of the

25·   information required to serve the purposes of ... section 304(c) ... shall not render

26    the notice invalid." 37 C.F.R. § 201.1 O(e)(1 ). Here, viewing the issue in the light

27    most favorable to the defendants, the 1948 consent judgment simply served to

28    culminate or otherwise finalize the transfer of the Superman copyright achieved


                                                  49


                                             EXHIBIT 19                                        W E 00131
                                                252
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 83 of 157 Page
                                   ID #:31795
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 0~/26/2008 Page 50 of 72



 1   through the stipulation the parties reached two days earlier. That plaintiffs only

 2   identified the latter rather than the former does not materially affect defendants'

 3   understanding of the "grant" sought to be affected by the notice. Indeed, courts

 4   have required much less in meeting the regulation's requirement of providing "a

 5   brief statement reasonably identifying the grant being terminated." See Music Sales

 6   Corp. v. Morris, 73 F.Supp.2d 364, 378 (S.D.N.Y. 1999) (holding that description of

 7   the grant in the termination notice as the "grant or transfer of copyright and the

 8   rights of the copyright proprietor" was sufficient as "it appears to be boilerplate on

 9   termination notices customarily accepted by the Register of Copyrights"); see also 2

10   PATRY ON CoPYRIGHT§ 7:45 (approving Music Sales). Nowhere do defendants

11   argue why the harmless error rule should not apply in a situation such as this where

12   one document that is a part in the process leading to the "transfer'' of rights is

13   identified, but its necessary corollary was not.

14          Accordingly, the Court concludes that, even if the consent judgment is

15   viewed as integral to the transfer of rights, plaintiffs' failure to identify it as a grant
16   subject to the termination notice was a harmless error that did not diminish the

17   notice defendants received regarding the nature of the grant (and resulting transfer

18   of rights) that plaintiffs intended to terminate.
19          4.      Continued Acceptance of Benefits Under 1975 Agreement

20          Defendants argue that Joanne Siegel's continued acceptance of benefits

21   under the parties' 1975 agreement constitutes, "as a matter of equity," a de facto

22   post-termination grant of rights in the Superman copyright to defendants under the

23   terms of that agreement (or as phrased by defendants, plaintiffs have "effectively re-

24   accepted the terms of the grant"). (Defs' Opp. at 41 ). The legal premise of their

25   argument is that the 1976 Act recognizes that, once a termination notice has been

26   served and thereby vested, see 17 U.S.C. § 304(c)(6)(B), the terminating party is

27   free to make "a further grant ... of any right covered by a terminated grant" to the

28   original grantee or its successor in title. 17 U.S.C. § 304(c)(6)(0). The Court


                                                   50



                                             EXHIBIT 19                                            WME 00132
                                                253
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 84 of 157 Page
                                  ID #:31796
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 51 of 72



 1   ultimately rejects this argument as unpersuasive because it mistakenly assumes the

 2   1975 agreement was a "grant" to the Superman copyright.

 3          A look at the context leading up the execution of the 1975 agreement

 4   illuminates in what way the parties believed (and just as importantly did not intend)

 5   for that agreement to bind them. The 1975 agreement appears to have been

 6   drafted in response to bad publicity (apparently due to the juxtaposition of the

 7   creators' misfortune and the Superman character's commercial success), and not

 8   as a means to transfer or convey the party's rights to the Superman copyright. The

 9   agreement observed that nothing therein should be construed as undermining the

1o   rights defendants had been conferred by virtue of the March 1, 1938, assignment,

11   rights which were later vindicated in the Westchester action and the 1970s Second

12   Circuit litigation. Indeed, the agreement reaffirmed defendants' existing rights to

13   Superman and provided plaintiffs with annual payments, medical insurance, and

14   screen credits. Such conferral of benefits was identified in the agreement as a

15   "voluntary" act by defendants in recognition of Siegel and Shuster's "past services."

16   The 1982 codicil, in turn, removes the condition for the promised benefits to Siegel's ·

17   widow on the timing of her husband's death.

18          This context and the language in the ag reeme,nt itself demonstrate that the

19   1975 agreement was not a "grant." The agreement's execution did not result in the

20   transfer or assignment of the Superman 90pyright. Indeed, the agreement itself

21   expressly disavows such an interpretation by including language that the conferring

22   of benefits by defendants to Siegel and Shuster was simply a "voluntary" act in

23   recognition of the pair's "past services," and that nothing therein should be

24   construed as undermining the rights defendants had been conferred in the March 1,

25   1938, assignment as vindicated in the Westchester action and the 1970s Second

26   Circuit litigation. Thus, by its own terms, no rights were transferred through the

27   execution of that agreement. A reaffirmation of existing rights without more is no
28   more "an assignment" or "conveyance" of rights to a copyright than it would if


                                               51


                                         EXHIBIT 19                                          WME 00133
                                            254
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12               Page 85 of 157 Page
                                         ID #:31797
      Case 2:04-cv-08776-SGL-RZ         Document 174        Filed 03/26/2008      Page 52 of72



 1   Detective Comics had instead issued a press release declaring that previous court

 2   rulings had recognized its existing ownership rights to that copyright.

 3          Similarly, the 1982 codicil under which Joanne Siegel continued to receive

 4   annual payments and benefits did not transfer any rights. The codicil consists of

 5   five paragraphs. The first merely notes that the letter is in response to a letter

 6   written by Joanne Siegel to the company's executive officer regarding her concern

 7   over how she would provide for herself after her husband's death. The second

 8   referenced the 1975 agreement, noted the increase in the amount of the annual

 g   payments from $20,000 to $50,000 thereunder, and the payment of an additional

1o   bonus. The third clarified a royalty policy that applied to creators other than Siegel

11   and Shuster. The fourth set forth the agreement to continue to pay benefits to

12   Joanne Siegel for the balance of her life in the event her husband predeceased her

13   before .1985. The fifth and final paragraph merely wishes Joanne Siegel and her

14   family well. Nowhere in these five humble paragraphs is a transfer of rights to be

15   inferred, much less explicitly found.
16          Thus, even if Joanne Siegel's continued receipt of the benefits of the bargain

17   contained in the 1975 agreement post-termination somehow operated as a de facto

18   re-acceptance of the agreement itself (and the obligations flowing thereunder),

19   nowhere among those re-accepted "obligations" or "commitments" in that

20   agreement was there a grant to the Superman copyright. Defendants protest the

21   Court drawing this conclusion, arguing that plaintiffs have admitted in their

22   pleadings (their complaint, and by filing a termination notice directed at the 1975
23   ·agreement) that the 1975 agreement contained a grant to the Superman copyright.

24   It certainly is true that "[f]actual assertions in pleadings and pre-trial orders ... are

25   considered judicial admissions" that bind the party who made them. American Title

26   Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988). That being said,

27   "courts still have discretion not to apply the doctrine in particular cases." 18 JAMES

28   WM. MOORE, MOORE'S FEDERAL PRACTICE§ 134.33[6] at 134-84 (3rd. ed. 2007)


                                                 52


                                             EXHIBIT 19                                          WME 00134
                                                255
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 86 of 157 Page
                                    ID #:31798
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 53 of 72



 1    (citing New Hampshire v. Maine, 532 U.S. 742, 750 (2001) ("Because the rule is
 2    intended to prevent 'improper use of judicial machinery,' judicial estoppel 'is an

 3    equitable doctrine invoked by a court at its discretion"')).
 4           As noted at the outset, the termination provisions contained in the 1976 Act

 5    are among the most complex and technical ones in the statute. Given this
 6    complexity, it is not surprising that a party seeking to harness its machinery may,

 7    out of an abundance of caution, be more "over-inclusive" in terms of listing the
 8    possible "grants" it seeks to terminate. To penalize a party for being over-inclusive
 9    rather than under-inclusive is all the more inequitable given the high hurdles the
1o    termination provisions put in place. Here, plaintiffs were represented by highly
11    experienced counsel who decided to list the 1975 agreement as a "grant" so as to

12    leave no stone unturned; an approach all the more justified given the extremely
13    technical and arcane arguments that have been advanced in this litigation

14    concerning the effic~cy and enforceability of the termination notices themselves.
15    The Court therefore concludes that in these circumstances discretion counsels
16    against applying the judicial estoppel doctrine in the manner advocated by

17    defendants.
18           Accordingly, the Court concludes that Joanne Siegel's continued receipt of

19    payments and benefits under the 1975 agreement and 1982 codicil thereto does not
20   , constitute a "furthergranf' or "an agreement to make a further grant" pursuant to 17

21    U.S.C. § 304(c)(6)(D).

22           5.      Statute of Limitations

23           Defendants contend that the present action was filed untimely. The statute
24    of limitations itself is clear enough. The Copyright Act of 1976 provides that "[n]o

25    civil action shall be maintained under the provisions of this title unless it is
26    commenced within three years after the claim accrued." 17 U.S.C: § 507(b). The

27    issue raised by defendants implicates the latter clause and requires the Court to

28    determine when plaintiffs' claims accrued.


                                                   53


                                              EXHIBIT 19                                      WME 00135
                                                 256
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 87 of 157 Page
                                   ID #:31799
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 54 of 72



 1            At the outset, a clarification of terms is in order. The instant matter, although

 2   couched in terms of terminating the 1938 grant, is in effect one for co-ownership of

 3   the copyright in the Superman material contained in Action Comics, Vol. 1,

 4   because, if successful, plaintiffs would gain only a joint ownership interest in that

 5   material with DC Comics, owing to the fact that Shuster left no heirs who could

 6   simultaneously seek to terminate his half of the grant in the material. Claims of co-

 7   ownership accrue when there is a "plain and express repudiation of co-ownership

 8   ... communicated to the claimant." Zuill v. Shanahan, 80 F .3d 1366, 1369 (9th Cir.

 9   1996).

1o            Here, defendants assert that such a repudiation was expressed by a letter

11   submitted to plaintiffs' counsel dated December 18, 1997, during the whirlwind of

12   negotiations that took place between the parties shortly after the submission of the

13   termination notices. The Court finds to the contrary. As explained more fully below,

14   although the letter stated a position that the termination notices were "defective," the
                                                              '
15   letter addressed only the scope of the rights that could be recaptured by the

16   termination notices and left unchallenged the notices' validity and enforceability,

17   thus falling short of the required repudiation?

18
               7
                One could quibble with whether any date other than the termination
19
      effective date itself can serve as the accrual date in a case involving the right to
20    termination of a grant. Much like having to await a judicial determination whether
      one is a heir(as opposed to instances when an ownership claim is based on
21    whether or not someone is a creator) has been- held to be the earliest instant for
      an accrual date, see Stone v. Williams, 970 F.2d 1043 (2nd Cir. 1992) (Hank
22    Williams' putative daughter's claim to be an owner had to await judicial
23    determination that she was in fact his daughter and heir, thus accrual date was not
      triggered when Hank Williams' first contested her putative status but instead when
24    state court made determination that she was his heir), so too a claim of ownership
      by way of termination of a grant cannot be realized unless and until after the
25    termination's effective date. Stated another way, a party's status as a creator is a
      factual question subject to being challenged by the other putative co-owner at any
26
      time, and hence, the accrual date for the same would begin at that instant. The
27    same, however, is not true of a putative co-owner by way of termination. Their
      status as co-owner is not predicated upon a pre-existing factual scenario, like
28    whether they were involved in jointly creating the material per se. Instead, their
      status as a co-owner is predicated upon a legal mechanism- the exercise of a
                                                  54



                                            EXHIBIT 19                                        WME 00136
                                               257
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12               Page 88 of 157 Page
                                         ID #:31800
     Case 2:04-cv-08776-SGL-RZ          Document 174        Filed 03/26/2008      Page 55 of 72



 1          Specifically, the letter upon which defendants rely notified plaintiffs' counsel,

 2   Mr. Levine, that they considered "the Superman Notices to be defective in several

 3   respects." (Defs' Opp. at 50). What is telling is that the areas of defect elaborated

 4   upon in the letter did not relate to the validity or enforceability of the termination

 5   notices themselves, but pointed to areas curtailing the scope of what could be

 6   recaptured even assuming the notice to be properly presented. These defects thus

 7   did not call into question plaintiffs asserted right to termination contained in the

 8   notices. For example, the letter remarks that defendants would still. retain its rights

 9   in trademarks that it had secured over the years to certain Superman-related

1o   material, and that the termination would not give plaintiffs access to an accounting

11   of the foreign profits defendants gained from exploiting the copyright. Far from

12   repudiating plaintiffs co-ownership to the copyright, the letter acknowledged the

13   validity of that ownership interest. Thus, the letter remarked that, "if the Siege Is do

14   not execute a re-grant to DC, beginning in April of 1999, DC and the Siegels will be

15   joint owners of the United States copyright in the 'Superman' comic published in
16   Action Comics No.1 in June, 1938." (Decl. Michael Bergman, Ex. U at 2).

17          Even more telling was DC Comics' subsequent conduct. The parties'

18   negotiations quickly broke down .and not much of substance was communicated

19   between the parties thereafter. Then, the day before the termination effective date,

20   DC Comics sent a letter to plaintiffs' counsel denying the validity of the termination .

21

22    new statutory right revoking an earlier transfer in the copyright in question, be it
23    one they solely or jointly created -that takes place at a certain defined point in
      time. Unless and until that legal triggering point is passed, there is nothing for the
24    other co-owner to reject or challenge. This is particularly the case given that
      termination notices can be served up to ten years before the effective termination
25    date. Defendants' position would, as a matter of logic, countenance scenarios
26    where due to an early "rejection" of the termination notice, the passage of the
      limitations period would occur well before the termination effective date even
27    arrived (and with it the putative co-owner's rights even vested). Nonetheless, the
      Court need not resolve this question as the letter in question does not constitute a
28    plain and express repudiation of plaintiffs' termination notice (and, hence, its right
      to co-ownership to the copyright in the Siegel and Shuster Superman material).
                                                 55



                                           EXHIBIT 19                                         WME 00137
                                              258
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12               Page 89 of 157 Page
                                           ID #:31801
      Case 2:04-cv-08776-SGL-RZ           Document 174        Filed 03/26/2008      Page 56 of72



 1    notice, proclaiming:

 2                   The absence of any steps towards negotiation for two
                     years, particularly on the 'eve' of the April 16, ·1999
 3                   purported 'effective' date of the termination, leaves us
                     concerned. Thus our client has no alternative but to
 4                   move to the stage of putting your clients on clear notice,
                     as set forth below, of DC Comics' rights and of its
 5                   determination, if it becomes necessary, to take all
                     appropriate and necessary steps to protect those rights.
 6                   First, your clients ·are hereby put on notice that DC
                     Comics rejects both the validity and scope of the Notices
 7
 8    (Decl. Marc Toberoff, Ex.. Q (emphasis added)).
 9           If, as defendants contend, such notice of intent had been so clearly and

1o   · unmistakably communicated over a year and half earlier, it is odd for them to have
11    to repeat it and then state that they were "putting" plaintiffs "on notice" about it

12    Accordingly, the Court finds that the present action seeking declaratory relief

13    regarding plaintiffs' termination of the 1938 grant accrued on April16, 1999, the

14    effective date of that termination. DC Comics' submission of the letter the day

15    before that date denying the validity of the termination notice gave a plain and
16    express indication to plaintiffs that a claim for declaratory relief vis-a-vis the validity

17    of their termination notice was now ripe. See 28 U.S.C. § 2201 ("In a case of actual

18    controversy within its jurisdiction, ... any court of the United States, upon the filing
19    of an appropriate pleading, may declare the rights and other legal relations of any

20    interested party seeking such declaration, whether or not further relief is or could be

21    sought")
22           Applying both the date of the accrual of the claim, the parties' tolling

23    agreement to the three-year statute of limitations, and the filing date of this action,

24    the Court concludes that it is timely. The effective date of the termination notice,

25    and therefore the date of accrual, is April 16, 1999. The parties entered into a

26    tolling agreement on April 6, 2000, which amounts to nine days less than one year

27

28


                                                   56


                                             EXHIBIT 19                                             WME 00138
                                                259
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12             Page 90 of 157 Page
                                         ID #:31802
     Case 2:04-cv-08776-SGL-RZ          Document 174       Filed 03/26/2008     Page 57 of 72



 1   that the limitations clock ran before being tolled. 8 The tolling agreement lasted until

 2   ten business days after plaintiffs' September 21, 2002, letter providing written notice

 3   that they were ending settlement negotiations, that is, October 4, 2002, at which

 4   time the limitations clock started ticking once more. 9 The present action was filed

 5   two years and four days later, on October 8, 2004. Adding the periods of time the

 6   limitations period was running together, it is clear that they add up to a period of

 7   time just short of the three-year period set forth in § 507(b).

 8          Accordingly, the Court concludes that the present action is timely.

 9          6.     The 2001-2002 Settlement Negotiations ·

1o          Defendants contend that plaintiffs' termination notice is no longer effective as

11   the parties' settlement negotiations led to them entering into a binding post-

12   termination agreement that resolved the issues presently before the Court. Abrief

13   review of the time line regarding those negotiations is helpful to the Court's analysis

14   of the present issue:

15          October 19, 2001      Pursuant to the parties' negotiations, plaintiffs' counsel
                                  sent to defendants' counsel a six-page letter outlining
16                                the substance of a settlement offer from defendants that

17
             8
                 Defendants' argument that the tolling agreement does not apply to
18    plaintiffs' claims against Time Warner, Inc., and Warner Bros. Entertainment, Inc.,
19    because neither was a "party to" or bound by that agreement is disingenuous.
      .(Defs' Opp. at 52). The tolling agreement expressly provides that its terms bound
20    not only DC Comics but also. its "past and present subsidiaries or affiliates." (Decl.
      Marc Toberoff, Ex. Z). Being the parent company (Time Warner, Inc.) or corporate
21    sibling (Warner Bros. Entertainment, Inc.,) of another (DC Comics) certainly
      qualifies as a corporate affiliate to the same; a point defendants later admit when
22
      speaking to the alter ego question presented in the pleadings. (Defs' Mot. Summ.
23    J. at 79 ("the following is a chart of the current corporate structure and affiliations
      between DC, WBEI and TWI")). Moreover, representatives for both companies
24    were actively involved in the settlement negotiations themselves, further
      undermining any suggestion that they were bystanders to the process.
25
             9
                Defendants argue that the tolling period concluded much earlier based on
26
      the parties earlier having reached "an amicable resolution of the dispute." (Defs'
27    Opp. at 51 (emphasis in original)). Given that the Court finds that no such
      "resolution," as opposed to a naggingly close potential for the same, occurred
28    through the parties settlement discussion post-termination, see infra A.6, their
      argument is without merit.
                                                 57


                                           EXHIBIT 19                                       WME 00139
                                              260
Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12 Page 91 of 157 Page
       Case 2:04-cv-08776-SGL-RZ           ID #:31803
                                        Document 174  Filed 03/26/2008 Page 58 of 72



  1                                was "accepted" by the plaintiffs.

  2           October 26, 2001     Defendants responded, noting they were working on a
                                   draft agreement and enclosing "a more fulsome outline"
  3                                of "what" they "believe the deal" they have "agreed" to is.

  4           February 1, 2002      Defendants' counsel provided a fifty-six page draft
                                    agreement that reserved the right to have their clients
  5                                 comment upon it and noted that certain, related "stand
                                    alone" assignments were in the process of being
  6                                ·finalized.

  7           May 5, 2002          Plaintiffs responded to defendants' draft by stating that
                                   the proposed agreement contained new, unacceptable
  8                                terms to which they had not agree.d.

  9           May 21, 2002          Defendants sent a letter to plaintiffs stating that they
                                    believed that each of the major points in the settlement
 10                                 had already been agreed upon.

 11           Sept 21, 2002        Plaintiffs rejected their counsel's proposed draft
                                   agreement and advised defendants in writing that they
 12                                were ending negotiations.

 13           The parties are in agreement that California law should be applied in

 14    deciding this question, but disagree as to its application. "California law is clear that

 15    there is no contract until there has been a meeting of the minds on all material

 16    points." Banner Entertainment v. Superior Court, 62 Cai.App.4th 348, 358 (1998).

 17    The failure to reach a meeting of the minds on all material points prevents the

 18    formation of a contract even if the parties have orally agreed upon some of the

 19    terms, or have taken some action related to the contract. Grove v. Grove Valve &

 20    Reg. Co., 4 Cai.App.3d 299, 311:-1? (1970). Similarly, the terms proposed in an

 21    offer must be met exactly, precisely, and unequivocally for its acceptance to result

 22    in the formation of a binding contract. See Panagotacos v. Bank of America, 60

 23    Cai.App.4th 851,855-56 (1998); Apablasa v. Merritt & Co., 176 Cai.App.2d 719,

 24    726 (1959). A qualified acceptance constitutes a rejection terminating the original

 25    offer and the making of a counteroffer to the original offeror, which must also be

 26    unequivocally accepted by the former offeror for a binding contract to form. See

. 27   Panagotacos, 60 Cai.App.4th at 855-56; Glende Motor Co. v. Superior Court, 159

 28    Cai.App.3d 389, 396 (1984) ("California law has generally held that a qualified


                                                   58



                                            EXHIBIT 19                                         WME 00140
                                               261
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 92 of 157 Page
                                   ID #:31804
     Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 59 of 72



 1   acceptance ... affects the viability of the offer itself, so that 'a qualified acceptance

 2   amounts to a new proposal or counteroffer putting an end to the original offer"'); 1n.

 3   re Pago Pago Air Crash, 637 F.2d 704, 706 (9th Cir. 1981); see also CAL. CiV. CODE

 4   § 1585 ("A qualified acceptance is a new proposal.").

 5          The parties disagree over whether the terms contained in plaintiffs' October

 6   19, 2001, letter differ in substance from those set forth in defendants' later letter of

 7   October 26, 2001 (and accompanying outline), such that there was no unequivocal

 8   acceptance of an offer and, thus, no agreement. As with much in both life and law,

 9   materiality is in the eye of. the beholder. From the Court's reading of the parties'

1o   correspondence, it is clear that the parties went well beyond reaching a settlement

11   in principle regarding thefr respective positions to the Superman property. Rather,

12   as suggested by the time· line above, the parties' correspondence, and the actions

13   taken in response thereto, illustrates that they found themselves in the all-too-

14   familiar situation in which verbal settlement negotiations result in what the parties

15   believe to be an agr~ement on all the major points of dispute, but which, upon

16   further discussion, falls short of the agreement needed to resolve their dispute. The

17   devil, as it often is, was in the details.

18          That material details remained is evidenced by defendants' response to

19   plaintiffs' initial letter, enclosing "a more fulsome outline" of what it "believed the

20   deal" they had "agreed to." Moreover, defendants' February, 2002, draft

21   agreement was not even considered final by its authors, who reserved the right for

22   their clients to "comment" on it, and would also require the further submission of a

23   number of "stand alone" agreements yet to be finalized. Indeed, Time Warner's

24   CEO later co.mmented that submission of the draft agreement was "expected" to

25   result in further "comments and questions" from the Siegel heirs that "would need to

26   be resolved."

27          This give and take reveals that the parties, while close to agreeing to a

28   complete and comprehensive settlement of their dispute, had not passed the


                                                  59


                                             EXHIBIT 19                                          WM   00141
                                                262
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12              Page 93 of 157 Page
                                         ID #:31805
     Case 2:04-cv-08776-SGL-RZ          Document 174        Filed 03/26/2008      Page 60 of 72



 1   threshold where they had finalized and assented to all material terms of such a

 2   settlement. Rather, as they attempted to sketch in the finer details of a settlement

 3   from the broad outlines contained in the October 19 letter, more and more issues

 4   arose upon which they could not reach agreement, resulting in the negotiations

 5   falling apart. In this respect, the present case is not unlike Callie v. Near, 829 F.2d

 6   888 (9th Cir. 1987), and Weddington Prods. v. Flick, 60 Cai.App.4th 793 (1998), in

 7   which the courts held that no enforceable agreement was reached when the parties

 8   had agreed to a rough outline of an agreement, but were thereafter unable to reach

 9   agreement on the finer details and the negotiations fell apart.

1o          Defendants' argument to the contrary is premised on the notion that they can

11   limit the scope of the legal analysis to the October 19, 2001, letter and call it a

12   contract, regardless of their materially different October 26, 2001, letter in reply ("I

13   enclose ... a more fulsome outline of what we believe the deal ... is") and their

14   vastly different February 1, 2002, draft, which were both part and parcel of the same
15   settlement negotiation. Ignoring these contemporaneous communications is at

16   odds with the requirement in contract formation that courts must consider "all the

17   surrounding circumstances." Donovan v. RRL Corp., 26 Cal.4th 261,271 (2001).

18   These subsequent efforts to 'sketch in a more fulsome outline of the parties' alleged

19   agreement provides context and meaning as to the understanding the parties had

20   about the effect of the October 19 letter itself.

21          Defendants further seek to create issues offact through post hoc testimony

22   and rationalizations. None of this subjective belief is sufficient to defeat the

23   objective manifestation of the parties' intent relayed in the documents referenced

24   above that aptly demonstrate that there was no "meeting of the minds" on all

25   material terms. See Meyer v. Benko, 55 Cai.App.3d 937, 942-43 (1976) ("The

26   existence of mutual consent is determined by objective rather than subjective

27   criteria, the test being what the outward manifestations of consent would lead a

28   reasonable person to believe. Accordingly, the primary focus in determining the


                                                 60


                                           EXHIBIT 19                                           WME 00142
                                              263
Case 2:10-cv-03633-ODW-RZ          Document 500-4 Filed 10/10/12              Page 94 of 157 Page
                                        ID #:31806
     Case 2:04-cv-08776-SGL-RZ          Document 174       Filed 03/26/2008     Page 61 of 72



 1   existence of mutual consent is upon the acts of the parties involved"); Stewart v.

 2   Preston Pipeline Inc., 134 Cai.App.4th 1565, 1587 (2005) ("mutual assent to a

 3   contract is based upon objective and outward manifestations of the parties"); CAL.

 4   CIV. CODE § 1639.

 5          One need only review the language of the parties' correspondence, their

 6   conduct in reaction thereto, and the numerous material differences betwe~n the

 7   terms relayed in the October 19 and 26, 2001, letters and the February 1, 2002,

 8   draft to reach the conclusion that the parties failed to come to an agreement on all

 9   material terms. See Grove v. Grove Valve & Reg. Co., 4 Cai.App.3d 299, 311-12

1o   (1970) (failure to reach meeting of the minds on all material points prevents contract

11   formation even though parties orally agreed on many terms, or have taken action

12   relating to the contract). Far from signifying that.the parties' "negotiations ...

13   result[ed] in a binding contract" leaving nothing more than the drafting of more

14   formal documentation memorializing that agreement, see Louis Lesser Enterprises,

15   Ltd. v. Roeder, 209 Cai.App.2d 401,404 (1962), these submissions between the

16   parties went far beyond that by adding in or further refining areas from what was

17   contained in the October 19 letter. That after the submission of the October 19

18   letter defendants began the process of cr~ating a settlement trust account and the

19   parties negotiated about providing Siegel and Shuster screen credits in the then

26   upcoming movie Superman Returns could as much be seen as goodwill gestures

21   on defendants' part while the negotiations continued as it could reflect an indication

22   on their part that they thought they were contractually bound to do the same.

23          From all of this there is no document or set of documents reflecting

24   agreement by the parties to singular, agreed terms. Defendants cannot explain to

25   the Court what from the parties' differing exchange constitutes this purported

26   contract; rather, it appears that defendants wish to take the plaintiffs' "acceptance"

27   reflected in the October 19 letter and either festoon upon it all the terms contained

28   in the February 1, 2002, draft settlement agreement (even though Joanne Siegel


                                                61


                                          EXHIBIT 19                                          WM   00143
                                             264
Case 2:10-cv-03633-ODW-RZ           Document 500-4 Filed 10/10/12             Page 95 of 157 Page
                                         ID #:31807
     Case 2:04-cv-08776-SGL-RZ          Document 174       Filed 03/26/2008     Page 62 of 72



 1   clearly and unequivocally rejected that latter draft agre~ment), or have the Court
 2   perform that task. The Court's responsibility is not to create a patch-quilt agreement
 3   by stringing together certain expressions of assent made at one point (October 19),
 4   and attaching to it material terms spelled out later in time (and to which the.

 5   supposedly assenting party promptly rejected). See Industrial Indemnity v. Superior
 6   Court, 224 Cai.App.3d 828, 832 (1990) ("courts will not write a new contract").
 7            Accordingly, the Court concludes that the parties' settlement negotiations did

 8   not result in an enforceable agreement resolving the issues presently before the
 g   Court.

10   B.       Limitations on Scope of Recaptured Rights

11            The principal purpose behind the creation of the termination right was to give
12   authors (and their heirs) a chance to retain the extended renewal term in their work
13   and then re-bargain for it when its value in the marketplace was known. See H.R.
14   REP. No. 1476, 94th Cong., 2d Sess. 124 (recognizing as the justification for the
15   termination right "safeguarding authors against unremunerative transfers ...
16   because of the unequal bargaining position of authors, resulting in part from the
17   impossibility of determining a work's prior value until it has been exploited").
18            The need for such a second bite at the apple flowed from the fact that the
19   1909 Act created a dual term in the copyright to a work, one realized upon the .
20   work's publication and the second occurring twenty-eight years later with the

21   copyright's renewal. Justification for this splitting of terms was based, in part, on the
22   understanding that an author's ability to realize the true value of his or her's work
23   was often not apparent at its creation, but required the passage of time (and the

24   marketing efforts by a publisher) to materialize. The renewal term in the copyright
25   to the work thus served as a mid-course re-valuation tool allowing the author, by
26   giving him or her the right of renewal in the work, leverage in re-negotiating a better

27   deal with the original grantee or any other suitor who desired to continue to market
                          I

28   the copyright. See Patry, Choice of Law, 48 Am. J. Comp. L at 446 ("The main


                                                62


                                           EXHIBIT 19                                        WME 00144
                                              265
Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12 Page 96 of 157 Page
                                  ID #:31808
     Case 2:04-cv-08776-SGL-RZ Document 174  Filed 03/26/2008 Page 63 of 72



 1   theory behind a dual system of term was that it gave the author or the author's heirs

 2   a 'second bite at the. apple;' when the renewal term came around, the value of the

 3   copyright would be better known than at the time of initial publication. With this

 4   information, a new bargain could be struck that would more accurately reflect the

 5   market rate"). This re-valuation mechanism provided by the renewal term under the

 6   1909 Act was largely frustrated by the Supreme Court's decision in Fred Fisher
 7   Music, 318 U.S. at 656-59, allowing authors to assign away at the outset all of their

 8   rights to both the initial and the renewal term.
 9          Although the termination right contained in the 1976 Act sought to correct the

10   damage done by Fred Fisher to an author's ability to renegotiate through the

11   reversion of rights, it did not revert to the author the full panoply of rights he or she

12   would have enjoyed upon renewal under the 1909 Act. Owing in large measure to

13   objections by publishers seeking to minimize the disruption to "existing contracts

14   and authorized derivative works already in distribution" that such a recapture right

15   would engender, see 2 PATRY ON COPYRIGHT§ 7:43, Congress placed certain

16   limitations on what authors (or their heirs) gained from exercising the termination

17   right. It is to these limits on the termination right that the Court now turns.

18          1.      Foreign Profits

19          Section 304(c)(6)(E) to the 1976 Act provides that "[t]ermination of a grant

20   under this subsection affects only those rights covered by the grant that arise under

21   this title[, Title 17 of the United s·tates Code, governing copyrights], and in no way

22   affects rights arising under any other Federal, State, or foreign laws." Defendants

23   read from this a statutory limitation on the scope of any accounting arising from the

24   termination notices in this case to those profits realized by the domestic exploitation

25   of the Superman copyright contained in Action Comics, Vol. 1, excluding those

26   realized from foreign sources. The Court finds this argument persuasive.

27          Although the Court can locate no case that has specifically addressed the

28   issue of accounting profits from the foreign exploitation of a copyright that is subject


                                                 63



                                           EXHIBIT 19                                            WME 00145
                                              266
 Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 97 of 157 Page
                                    ID #:31809 Filed 03/26/2008 Page 64 of 72
       Case 2:04-cv-08776-SGL-RZ Document 174




   1   to a valid termination notice, the statutory text could not be any clearer on this

  2    subject. Through this section, Congress expressly limited the reach of what was

  3    gained by the terminating party through exercise of the termination right;

  4    specifically, the terminating party only recaptured the domestic rights (that is, the

  5    rights arising under title 17 to the United States Code) of the grant to the copyright

  6    in question. Left expressly intact and undisturbed were any of the rights the original

  7    grantee or its successors in interest had gained over the years from the copyright

  8    through other sources of law, notably the right to exploit the work abroad that would

  9    be governed by the copyright laws of foreign nations. Thus, the statute explains

 10    that termination "in no way affects rights" the grantee or its successors gained

 11    "under foreign laws."

 12           Such a reading is supported by leading commentators, who are in agreement

 13    as to the effect of§ 304(c)(6)(E) has in a case such as this.

 14           Professor Nimmer states:

 15                          A grant of copyright "throughout the world" is
                     terminable only with respect to uses within the
 16                  geographic limits of the United States. Because
                     copyright has no extraterritorial operation, arguably
 17                  American law is precluded from causing the termination
                     of rights based upon foreign copyright laws. A response
 18                  to this argument is that the nonextraterritoriality of
                     copyright is irrelevant because the question here is one
 19                  of contract law, not copyright ·law, in that it concerns the
                     effect" of a contract granting certain rights: The contract
 20                  law of one ·nation may be applica~le in another natio_n -
                     under the latter's conflicf-of-laws rule. The conclusive
 21                  answer to this problem lies in the text of the termination
                     provisions of the Copyright Act, which expressly provide
 22                  that statutory termination "in no way affects rights arising
                     under ... foreign laws"- that is, under foreign copyright
. 23                 (not contract) laws. Thus, even if the conflicts rule of a
                     foreign nation were to call for application of the American
 24                  termination rule as a rule of contract law, that rule by its
                     own terms excepts from termination the grant of those
 25                  rights arising under foreign copyright laws.

 26    3 NIMMER ON COPYRIGHT§ .11.02[8][2] at 11-19.

 27           Professor Patry agrees: "Accordingly, where a U.S. author conveys

 28    worldwide rights and terminates under either section, grants in all other countries


                                                  64



                                            EXHIBIT 19                                          WME 00146
                                               267
Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12 Page 98 of 157 Page
                                   ID #:31810 Filed 03/26/2008 Page 65 of 72
      Case 2:04-cv-08776-SGL-RZ Document 174



 1    remain valid according to their terms or provisions in other countries' laws." 7

 2    PATRY ON COPYRIGHT§ 25:74.

 3             Plaintiffs argue, however, that the section also allows for the possibility that

 4    the terminating party gains not only the domestic rights to the copyright in question

 5    (the "rights covered by the grant that arise under this title"), but also retains

 6    whatev~r other rights it may have under "Federal, State, or foreign laws."      From this

 7    premise, plaintiffs argue that, because an accounting between co-owners in a

 8    copyright is governed by state law, and California state law 9llows for the sharing of

 9.   foreign profits between tenants in. common;. so; too, should
                                                          '   ..   defendants be forced to

10    account for their foreign profits. This argument misses the fact that all plaintiffs

11    have gained from the termination right is a recapturing of the domestic copyright in

12    the Superman material published in Action Comics, Vol. 1. Defendants continue to

13    hold, unaffected, separate rights to that copyright arising under foreign copyright

14    laws. This distinction is important for two reasons.

15             First, such an open effort to extend the reach of U.S. copyright law overseas,

16    as plaintiffs' reading of the statute avows, would be in direct contradiction. to not only

17    the plain terms of the statute (stating that termination does not affect another

18    parties' rights arising under the copyright laws of "foreign" nations), but stands in

19    stark juxtaposition to the longstanding rule "that the copyright laws [of this country]

20·   have no application beyond the U.S. border." Los Angeles News Serv. v. Reuters

21    TV Intern., 340 F.3d 926, 931 (9th Cir. 2003). ·If Congress contemplated the ability

22    to attach or otherwise force the accounting of foreign profits to which the original

23    grantee or its successors are legally entitled under the copyright laws of other

24    nations through the backdoor of applying state law tenant in common principles,

25    one would have expected such an intention to have been made expressly, and

26    certainly with some explanation given the incongruity that arises from the statutory

27    language's notation that termination did not affect another's rights under "foreign

28    laws."


                                                   65


                                             EXHIBIT 19                                           WME 00147
                                                268
Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12 Page 99 of 157 Page
                                    ID #:31811
      Case 2:04-cv-08776-SGL-RZ Document  174  Filed 03/26/2008 Page 66 of 72



 1           Second, the cases cited by plaintiffs requiring one co-owner to account to the

 2    other for both domestic and foreign profits involved parties who were co-owners to

 3    the "world-wide" copyright in the work and, not as with the termination right, to only

 4    the domestic copyright. See Goodman v. Lee, 78 F.3d 1007, 1010 (5th Cir. 1996)

 5    (noting that declaratory action was filed after other co-owner obtained a "renewal of

 6    the copyright" listing himself as the sole author in the song "Let the Good Times

 7    Roll"). Plaintiffs have directed the Court to no case wherein a co-owner of the

 8    domestic copyright in a work was allowed an accounting of a co-owner's foreign·

 9.   profits. See 3 NIMMER ON COPYRIGHT§ 11.02[8][1] at 11-17· ("Only such rights as

1o    were originally the subject of a grant will revert upon the termination of that grant.

11    [T]o the extent that a grant includes rights based upon federal law other than the

12    Copyright Act, state law, or foreign law, such rights are not subject to termination").
13           Accordingly, the Court holds that the termination notice affects only the

14    domestic portion of Siegel's and Shuster's 1938 worldwide grant ("all rights") to

15    Detective Comics of the copyright in the Superman material contained in Action

16    Comics, Vol. 1. The termination notice is not effective as to the remainder of the

17    grant, that is, defendants exploitation of the work abroad under the aegis of foreign

18    copyright laws. Thus, although defendants retain the unfettered right to exploit the

19    works (and retain the profits derived therefrom) in foreign nations, they may do so
20    domestically only as a co-owner (t~rough Shuster's share) of the works. See Oddo · ·

21    v. Ries, 743 F.2d 630, 632-33 (9th Cir. 1984) (""[E]ach co-owner has an

22    independent right to use or license the use of the copyright. .... A co-owner of a

23    copyright must account to other co-owners for any profits he earns from licensing or

24    use of the copyright .... "). As such, defendants must account to plaintiffs only for ·

25    the profits from such domestic exploitation of the Superman copyright.

26           2.      Trademark Rights and Ownership of Pre-Termination Derivative

27                   Works

28           As noted in the previous section, the right to termination leaves undisturbed


                                                  66


                                            EXHIBIT 19                                          WME 00148
                                               269
     Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12             Page 100 of 157
                                           Page ID #:31812
        Case 2:04-cv-08776-SGL-RZ          Document 174       Filed 03/26/2008      Page 67 of 72



 1      the original grantee or its successors in interests rights arising under "federal law."
 2      17 U.S.C. § 304(c)(6)(E). Among the rights based on federal law that defendants
 3      secured over the years were several trademarks that utilized or incorporated

 4      portions of the copyrighted material found in Action Comics, Vol. 1. Defendants

 5      seek a declaration from the Court that, even if successful in terminati'ng the
 6      Superman copyright contained in Action Comics, Vol. 1, plaintiffs cannot share in
 7     defendants' profits "purely attributable .to [Superman] trademark rights." (Defs'

 8      Reply at 11 ). Plaintiffs admirably concede the point in their briefs; but argue that
 9     they are "entitled to profits from mixed trademark uses to the extent such exploit
10      recaptured copyright elements (e.g., 'Superman costume')." (Pis' Reply at 49 n.28).
11             Similarly, defendants seek a declaration that, to the extent plaintiffs are

12     entitled to an accounting as a result of their successfully terminating the 1938 grant,
13      it should not include any profits attributable to the "post-termination exploitation of

14     derivative works [of Action Comics, Vol. 1,] prepared prior to termination." (Defs'
15      Mot. Summ. J. at 28). Again, plaintiffs concede, as they should, this point. (Pis'
16      Reply at 49 n.28). Section 304(c)(6)(A) provides that derivative works created
17     during the grant (meaning up until the termination effective date) may continue to be
18     exploited after termination. Again, however, plaintiffs hold out as a separate
19     question the existence of pre-termination derivative works that are "altered so as to
20     become post-termination derivative works." (Pis' Reply at 49 n.28).

21             Given that these contentions by plaintiffs- the recapture or accounting from
22     the mixed use of trademark ana copyright and what to do with any alteration in pre-
23     termination derivative works- are not the subject of the present motion, the Court
24     will not address them in this Order. Even though it is clear that these issues will

25,    impact the accounting of profits in some manner, they cannot be fully adjudicated
26     based on the narroW record currently before the Court and absent a full briefing of

27     the particular mixed uses or altered pre-termination derivative works that are

28     specifically at issue.


                                                   67


                                             EXHIBIT 19                                           WME 00149
                                                270
     Case 2:10-cv-03633-ODW-RZ    Document 500-4 Filed 10/10/12                    Page 101 of 157
                                   Page ID #:31813
        Case 2:04-cv-08776-SGL-RZ Document 174   Filed 03/26/2008                 Page 68 of 72



 1            Accordingly, the Court holds that the profits defendants garner from the use
 2     of Superman trademarks that "are purely attributable to [those] trademark rights,"
 3     and from its use of unaltered pre-termination derivative works are not subject to

 4     accounting.

 5            3.      Accounting for Profits of Warner Bros. Entertainment, Inc., and Time

 6                    Warner. Inc.
 7            The parties are in disagreement over whether plaintiffs may directly share in

 8     the profits from the exploitation of the works by DC Comics corporate sibling,

 9     Warn.er Brothers Entertainm~nt, Inc. ("WBEI"), and its corporate parent, Time
10     Warner, Inc. ("TWI"). The genesis for this claim stems from certain inter-corporate
11     transactions amongst these actors concerning the Superman copyright. In the
12     same year that plaintiffs' termination notices became effective, DC Comics
13     executed an exclusive license in favor ofWBEI (and a year later a separate

14     exclusive license with WBEI's television division) to exploit the Superman copyright
15     for the remainder of its extended renewal term in certain media formats, notably
16     movies, television, and home video. (Decl. Marc Toberoff, Exs. E & F). Defendants
17     contend that, as co-owners of the joint works at issue, plaintiffs are entitled to an
18     accounting of the profits made by DC Comics (in the form of the licensing fees it has
19     collected), but that plaintiffs are not entitled to an accounting of the profits WBEI has
20    . made pursuant to· the license. 10

21            Defendants' argument is not without support. The Court starts with the
22     general principle that "each co-owner has an independent right to use or license the
23     use of the copyright[, but that a] co-owner of a copyright must account to other

24     co-owners for any profits he earns from licensing or use of the copyright." Oddo,
25     743 F.2d at 633. Licensees, on the other hand, are accountable only to their

26
               10
27                 It appears to the Court that because TWI is not a licensee of the works, it
        may not have any profits to account for; however, absent evidence of this fact from
28      either side (or the representation that such is not the case), the Court cannot rule
        on this issue at this time.
                                                  68


                                            EXHIBIT 19                                         WME 00150
                                               271
     Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12 Page 102 of 157
       Case 2:04-cv-08776-SGL-RZ           Page ID #:31814
                                          Document 174   Filed 03/26/2008 Page 69 of 72



 1     licensors, and owe no duty of accounting to the non-licensor co-owner of a

 2     copyright the licensee exploits. See Ashton-Tate Corp. v. Ross, 916 F.2d 516, 523 ·

 3     (9th Cir. 1990).
 4            Plaintiffs, however, take a different view of the licenses, arguing that "Warner

 5     has stepped exclusively into DC's shoes with respect to such motion picture and

 6     television copyrights." (Pis' Opp. at 30). In other words, the exclusive license had

 7     the net effect of substituting WBEI for DC Comics as a joint owner with plaintiffs.

 8     (assuming the successful termination of the 1938 grant) insofar as the exploitation

 9     of the copyright in the mediums in which those licenses are concerned.

1o            This theory, however, requires large legal leaps that are not countenanced

11     by current law. To begin, in order for an exclusive license in the entirety of the

12     interest in a joint work itself (such as Superman) to be effective, the consent of both

13     joint owners in the copyrighted work is required. See 2 PATRY ON COPYRIGHT§ 5:7

14     ("A joint author (or co-owner) may not, however, transfer £ill interest in the work

15     without the other co-owner's express (and written) authorization, since that would

16     result in an involuntary transfer of the other joint owner's undivided interest in the
17     whole"). The same requirement for prior consent holds true even with respect to. the

18     wholesale transfer of exclusive licenses in subparts to a copyright, swch as a license
19     transferring all the stage rights (not just the joint owner's rights) to a novel but not

20     the movie or literary rights. Cf. 1 NiMMER ON COPYRIGHT§ 6.12[C][3lat 6-38.8 to 6-

21     39.
22            Such consent simply did not occur here. DC Comics unilaterally sought to

23     give an exclusive license to the entirety in the Superman property's movie and

24     television rights to WBEI post-termination. As a result, the attempt to provide an

25     exclusive license was ineffective. At best, all that was conveyed was a non-

26     exclusive license, and, at worst, a license agreement whose terms are null and void

27     absent ratification by plaintiffs. See 3 NIMMER ON COPYRIGHT§ 10.03[A][7] at 10-51.

28            Applying these principles in a vacuum, the Court would readily reach the


                                                   69


                                             EXHIBIT 19                                           WM   00151
                                                272
     Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12                     Page 103 of 157
                                  Page ID #:31815
       Case 2:04-cv-08776-SGL-RZ Document 174   Filed 03/26/2008                  Page 70 of72



 1     conclusion championed by defendants: WBEI, as a licensee, is answerable only to

 2     DC Comics as its licensor; that DC Comics is the only entity that must account for

 3     profits to plaintiffs; and, absent exploitation of the works by DC Comics itself, that

 4     DC Comics' accounting to plaintiffs is limited to those profits derived from licensing

 5     the Superman copyright to WBEI.
 6            However, the Court's analysis does not occur in vacuum; rather, it must take

 7     into account the relevant facts of this case, particularly given that the accounting

 8     sought by plaintiffs in this action is an equitable remedy, and the Court must

 9     conduct its inquiry accordingly .. See Oddo, 743 F .2d at 633 ("A co-owner of a

1o     copyright must account to other co-owners for any profits he earns from licensing or

11     use of the copyright, ... but the duty to account does not derive from the copyright

12     law's proscription of infringement. Rather, it comes from equitable doctrines

13     relating to unjust enrichment and general principles of law governing the rights of

14     co-owners.") (internal quotation marks and citations omitted).

15            Here, the relatedness of the transferor and the transferee entities cannot be

16     ignored. The evidence before the Court reveals that the relevant entities are all

17     closely related entities- parent corporations, wholly and partially-owned

18     subsidiaries, partners, sibling business entities (owned directly or indirectly by the

19     same parent)- although it is not entirely clear to the Court exactly what those

20     relationships have been at all relevant times. This fact alone raises a specter of a

21     "sweetheart deal" entered into by related entities in order to pay a less than market

22     value fee for licensing valuable copyrights. If such were the case, the related entity

23     might be able to exploit the copyrights without the responsibility of answering to the

24     co-owner of a joint work, and the licensor co-owner would thereby be relieved of the

25     responsibility of accounting for any profits (other than a greatly reduced licensing

26     fee) to the non-licensor co-owner. This result would be inequitable.

27            This concern is bolstered by the declaration of Paul Levitz, President and

28     Publisher for DC Comics, which states that under the post-2003 corporate ·


                                                   70



                                            EXHIBIT 19                                          WME 00152
                                               273
     Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12 Page 104 of 157
       Case 2:04-cv-08776-SGL-RZ            Page ID 17
                                           Document #:31816
                                                      4   Filed 03/26/2008 Page 71 of 72



 1     restructuring of Time Warner's business, "for operating management purposes, DC

 2     reports" not to immediate corporate parent WCI, but to its sibling corporation

 3     "WBEI," the licensee of the rights at issue in this action. (Decl. Paul Levitz 1f 17).

 4     As Levitz explains, "I report to and obtain approvals from WBEI's President and

 5     Chief Operating Officer before making significant acquisitions or certain financial

 6     decisions or investments that are outside the scope of DC's customary acquisitions

 7     and investments; before implementing meaningful strategic changes; and before

 8     embarking on something substantially outside DC's normal course of business."

.9     (lQJ. Although this is not evidence of what occurred at the time of the license, it is

1o     still probative evidence of the relatedness of the licensee and licensor that could

11     result in an extremely favorable licensing arrangement that works to the detriment of

12     the non-licensor co-owner. These open issues also touch upon factors to be

13     considered in analyzing alter ego claims. See Sonora Diamond Corp. v. Superior

14     Court, 83 Cai.App.4th 523 (2000); Mesler v. Bragg Management Co., 39 Cal.3d 290

15     (Cal.1985) ("The essence of the alter ego doctrine, in which it is claimed that an
16     opposing party is using the corporate form unjustly, is that justice be done. What the

17     formula comes down to, once shorn of verbiage about control, instrumentality,

18     agency and corporate entity, is that liability is imposed to reach an equitable result").

19            Whether the license fees paid represents the fair market value therefor, or

20     whether the license for the works between the related entities was a "sweetheart

21     deal," are questions of fact that are not answered on summary judgment, certainly

22     not without the benefit of expert testimony which has not been presented by either

23     party on this topic. The Court therefore concludes that summary judgment on this

24     issue is inappropriate at this time. 11

25

26
                11
27                Because the Court concludes that defendants' motion for summary
        adjudication of this issue must be denied for the reasons stated above, the Court
28      does not at this time resolve other arguments raised by plaintiffs regarding this
        issue.
                                                    71


                                                 EXHIBIT 19                                     WME 00153
                                                    274
     Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12                     Page 105 of 157
                                  Page ID #:31817
       Case 2:04-cv-08776-SGL-RZ Document 174   Filed 03/26/2008                  Page 72 of72



 1                                         CONCLUSION

 2            After seventy years, Jerome Siegel's heirs regain what he granted so long
 3     ago- the copyright in the Superman material that was published in Action Comics,
 4     Vol. 1. What remains is an apportionment of profits, guided in some measure by.
 5     the rulings contained in this Order, and a trial on whether to include the profits
 6     generated by DC Comics' corporate sibling's exploitation of the Superman

 7     copyright.
 8            DATE: March 26, 2008

 9

10
11                                                        STEPHEN G. LARSON
                                                          UNITED STATES DISTRICT JUDGE
12
13
14

15
16
17
18
19
20
21
22
23

24

25
26

27
28


                                                     72



                                            EXHIBIT 19                                      WM   00154
                                               275
                  Case 2:10-cv-03633-ODW-RZ                Document 500-4 Filed 10/10/12           Page 106 of 157
..                                                          Page ID #:31818

          Tom McGuire Assistant

          From:                                 Ariel Emanuel Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                                GROUP/CN=RECIPIENTS/CN=AEMANUEL_ASST>
          Sent:                                 Tuesday, April 01, 2008 6:37 PM
          To:                                   Ariel Emanuel Assistant; ariannahuf@aol.com
          Subject:                              RE: Marc Toberoff
          Attachments:                          Superman SJ Decision.3.26.08.pdf


          Attached please find the court's opinion.

          Mark Tseng 'r:nJC'avor << ... >>



      From: Ariel Emanuel Assistant
      Sent: Tuesday, April 01, 2008 5:47PM
      To: 'ariannahuf@aol.com'
      Subject: Marc Toberoff

      Hi Arianna- Ari asked me to send you the news articles from the New York Times, Los Angeles, Times, and
      Variety; all regarding the victory in the Superman copyright case against Warner Bros Studios.




      Time Warner ordered to share Superman rights
      From Bloomberg News

     March 29, 2008

     Time Warner Inc., the world's largest media company, must share control of the Superman copyright with the
     heirs of the comic hero's creator, Jerome Siegel, a federal judge has ruled.

     Siegel's widow, Joanne, and their daughter, Laura Larson, won back his half of the copyright to Superman
     material,- under the order this week by U.S. District Judge Stephen Larson in Riverside.

     Jerome Siegel and his creative partner, Joseph Shuster, granted the rights to DC Comics in 1938, a contract that
     expired in 1999, the judge found ..

     11
      After 70 years, Jerome Siegel's heirs regain what he granted so long ago-- the copyright in the Superman
     material that was published in Action Comics," Larson wrote in his order Wednesday. The victory was "no
     small feat indeed, 11 he said.                                                    ·

     Joanne Siegel's and Laura Larson's share of the profit must still be determined at trial, according to the order.

     Marc Toberoff, the Siegels' lawyer, said Jerome Siegel fought for decades, without success, to share in the
     profit from the rights to his Superman character, which he sold with Shuster for $130. Jerome Siegel died in
     1996.

     "Joanne Siegel has courageously carried the torch in this matter for decades, and this is probably the first good
                                                                    1
                                                               EXHIBIT 19                                     WME 00155
                                                                  276
                                                                         CONFIDENTIAL
              Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12           Page 107 of 157
:-                                                       Page ID #:31819
      news she has received regarding Superman in 70 years," Toberoff said.

      Time Warner spokesmen Edward Adler and Keith Cocozza didn't immediately return phone calls and e-mails
      seeking comment.

      Warner vexed by legal Man of Steel
      Lawyer Toberoff dings Superman

      By DIANE GARRETT

      He's a superhero to rights holders - but Kryptonite to studios.

      La:st week, attorney Marc Toberoffwon a potentially costly "Superman" victory against Warner Bros. for co-
      creator Jerome Siegel's heirs. The federal ruling, which gives the heirs a stake in rights sold 71 years ago, could
      put a serious crimp on future plans for one of the studio's most enduring-- and lucrative-- franchises, especially
      if co-creator Joe Shuster's heirs follow suit in five years, when they are eligible to do so.

     As it is, the studio has at least two Superman projects in development -- a follow-up to Bryan Singer's
     "Superman Returns" and "Justice League"-- and it may end up paying tens of millions from the domestic haul
     of "Superman Returns" to Siegel's heirs under the ruling, which applies to domestic monies for Superman
     projects since 1999.

     The case is Toberoffs latest-- and potentially most damaging-- claim against the studio. The dedicated
     copyright crusader has pursued claims involving "Wild Wild West," "Dukes of Hazzard," "Smallville" and the
     upcoming "Get Smart."

     He has gone after other studios, including Sony, but his most high-profile cases-- and victories-- have involved
     Warners. The studio paid "Moonrunners" producer Robert B. Clark a $17.5 million settlement in a case about
     similarities between that 1974 movie and the bigscreen "The Dukes of Hazzard." And a federal judge ruled
     earlier in the Siegels' favor over "Smallville," although that was challenged and the case still being resolved.

     The studio declined to comment on the latest ruling in favor of their legal nemesis, issuing only a statement
     noting that, "substantial issues relating to the accounting of profits were ruled in our favor."

     Among these issues: international profits, trademark-related revs and profits stemming from Superman fare
     produced before 1999, when Siegel's heirs terminated the earlier copyright arrangement under a 1976law.

     To the Siegels, Toberoffs legal maneuvers are nothing short of heroic. The family had been destitute for years
     after Siegel sold rights to his Man of Steel to Detective Comics for $130. DC Comics had started to pony up
     more monies after Warners made successful movies based on the character, but Siegel had long wished to
     redress the fact he had gotten so little from his creation; he died in 1996.

     Toberoffhas set up a production company, Intellectual Properties Worldwide, to develop films around these
     and other titles. And he has built up a sideline business producing bigscreen adaptations of the projects whose
     copyright claims he pursues. He has a producing credit on "Fantasy Island," a Sony project for Eddie Murphy,
     as well as "Sanford and Son."

     March 29, 2008


                                                                  2
                                                            EXHIBIT 19
                                                               277
                                                                               CONFIDENTIAL                 WME 00156
             Case 2:10-cv-03633-ODW-RZ       Document 500-4 Filed 10/10/12       Page 108 of 157
·- .                                          Page ID #:31820
       Ruling Gives Heirs a Share of Superman Copyright
       By MICHAEL CIEPLY

       LOS ANGELES -Time vVarner is no longer the sole proprietor of Superman.

       A federal judge here on Wednesday ruled that the heirs of Jerome Siegel - who 70 years
       ago sold the rights to the action hero he created with Joseph Shuster to Detective Comics
       for $130 -were entitled to claim a share of the United States copyright to the character.
       The ruling left intact Time vVarner's international rights to the character, which it has long
       owned through its DC Comics unit.

       And it reserved for trial questions over how much the company may owe the Siegel heirs
       for use of the character since 1999, when their ownership is deemed to have been restored. ·
       Also to be resolved is whether the heirs are entitled to pa:Yments directly from Time ·
       Warner's film unit, Warner· Brothers, which took in $200 million at the domestic box
       office with "Superman Returns" in 2006, or only from the DC unit's Superman profits.

    Still, the ruling threatened to complicate Warner's plans to make more films featuring
    Superman, including another sequel and a planned movie based on the DC Comics'
  · "Justice League of America," in which he joins Batman, Wonder Woman and other
    superheroes to battle evildoers.                                          ·

   If the ruling survives a Time Warner legal challenge, it may also open the door to a similar
   reversion of rights to the estate of Mr. Shuster in 2013. That would give heirs of the two
   creators control over use of their lucrative character until at least 2033 - and perhaps
   longer, if Congress once again extends copyright terms- according to Marc Toberoff, a
   lawyer who represents the Siegels and the Shuster estate.

   "It would be very powerful," said Mr. Toberoff, speaking by telephone on Friday. "After
   20i3, Time Warner couldn't exploit any new Superman-derived works without a license
   from the Siegels and Shl.isters." ·

   Time Warner lawyers declined to discuss the decision, a spokesman said. A similar ruling
   in 2006 allowed the Siegels to recapture their rights in the Superboy character, without
   determining whether Superboy was, in fact, the basis for Warner Brothers's "Smallville"
   television series. The decision was later· challenged in a case that has yet to be resolved,
   said Mr. Toberoff, who represented the family in that action.

  This week's decision by Stephen G. Larson, a judge in the Federal District Court for the
  Central District of Califqrnia, provided long-sought vindication to the wife and daughter of
  Mr. Siegel, who had bemoaned until his death in 1996 having parted so cheaply with rights
  to the lucrative hero.

  "We were just stubborn," Joanne Siegel, Mr. Siegel's widow, said in a joint interview with
  her daughter, Laura Siegel Larson. "It was a dream of Jerry's, and we just took up the
  task."
                                                    3
                                                EXHIBIT 19
                                                   278
                                                                  CONFIDENTIAL            WME 00157
         Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12       Page 109 of 157
                                        Page ID #:31821
 The ruling specifically upheld the Siegels' copyright in the Superman material published in
 Detective Comics' Action Comics Vol. 1. The extent to which later iterations of the
 character are derived from that original was not determined by the judge.

 In an unusually detailed narrative, the judge's 72-page order described how Mr. Siegel and
 Mr. Shuster, as teenagers at Glenville High School in Cleveland, became friends and
 collaborators on their school newspaper in 1932. They worked together on a short story,
 "The Reign of the Superman," in which their famous character first appeared not as hero,
 but villain.

 By 1937, the pair were offering publishers comic strips in which the classic Superman
 elements - cape, logo and Clark Kent alter-ego -were already set. When Detective ·
 Comics bought 13 pages of work for its new Action Comics series the next year, the
 company sent Mr. Siegel a check for $130, and received in return a release from both
 creators granting the company rights to Superman "to have and hold forever," the order
 noted.

In the late 1940s, a referee in a New York court upheld Detective Comics' copyright,
prompting Mr. Siegel and Mr. Shuster to drop their claim in exchange for $94,000. More
than 30 years later, DC Comics (the successor to Detective Comics) gave the creators each
a $2o,ooo-per-year annuity that was later increased to $30,000. In 1997, however, Mrs.
Siegel and her daughter served copyright termination notices under provisions of a 1976
law that permits heirs, under certain circumstances, to recover rights to creations.

Mr. Toberoff, their lawyer, has been something of a gadfly to Warner in the past. In the
late 1990s, for example, he represented Gilbert Ralston, a television writer, in a legal battle
over his rights in the CBS television series "The Wild Wild West," which was the basis for a
1999 Warner Brothers film that starred Will Smith. The case, said Mr. Toberoff, was
settled.

Compensation to the Siegels would be limited to any work created after their 1999
termination date. Income from the 1978 "Superman" film, or the three sequels that
followed inthe 1980s, are not at issue. But·a "Superman Returns" sequel being planned
with the filmmaker Bryan Singer (who has also directed "The Usual Suspects" and "X-
Nien") might require payments to the Siegels, should they prevail in a demand that the
studio's income, not just that of the comics unit, be subject to a court-ordered accounting.

Nlrs. Siegel and Ms. Larson said it was too soon to make future plans for the Superman
character. But they were inclined to relish this moment.                       ·

"I have lived in the shadow of this my whole life," Ms. Larson said. "I am so happy now, I
just can't explain it."
Mark Tseng !f F.ndeavnr




                                              4
                                          EXHIBIT 19
                                             279
                                                           CONFIDENTIAL             WME 00158
               Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12               Page 110 of 157
' '                                                    Page ID #:31822


       Tom McGuire Assistant

       From:                            Ariel Emanuel Assistant </O=ENDEAVOR AGENCY/OU=ARST ADMINISTRATIVE
                                        GROUP/CN=RECIPIENTS/CN=AEMANUEL_ASST>
       Sent:                            Monday, March 31, 2008 3:08 PM
       To:                              cr@charlierose.com
       Subject                          Superman/Marc Toberoff News Articles



       Hi Charlie - Ari asked me to send you the news articles from the New York Times, Los Angeles, Times, and
       Variety; all regarding the victory in the Superman copyright case against Warner Bros Studios.

       Mark Tseng '/ Ende-avor


       Time Warner ordered to share Superman rights
      From Bloomberg News

      March 29, 2008

      Time Warner Inc., the world's largest media company, must share control of the Superman copyright with the
      heirs of the comic hero's creator, Jerome Siegel, a federal judge has ruled.

      Siegel's widow, Joanne, and their daughter, Laura Larson, won back his half of the copyright to Superman
      material, under the order this week by U.S. District Judge Stephen Larson in Riverside.

      Jerome Siegel and his creative partner, Joseph Shuster, granted the rights to DC Comics in 1938, a contract that
      expired in 1999, the judge found.

      "After 70 years, Jerome Siegel's heirs regain what he granted so long ago-- the copyright in the Superman
      material that was published in Action Comics," Larson wrote in his order Wednesday. The victory was "no
      small feat indeed," he said.

      Joanne Siegel's and Laura Larson's share of the profit must still be determined at trial, according to the order.

      Marc Toberoff, the Siegels' lawyer, said Jerome Siegel fought for decades, without success, to share in the
      profit from the rights to his Superman character, which he sold with Shuster for $130. Jerome Siegel died in
      1996.

      "Joanne Siegel has courageously carried the torch in this matter for decades, and this is probably the first good
      news she has received regarding Superman in 70 years,'~ Toberoffsaid.

      Time Warner spokesmen Edward Adler and Keith Cocozza didn't immediately return phone calls and e-mails
      seeking comment.


      Warner vexed by legal Man of Steel
      Lawyer Toberoff dings Superman

                                                               1
                                                          EXHIBIT 19
                                                             280         CONFIDENTIAL                       WME 00159
        Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12            Page 111 of 157
                                                   Page ID #:31823
 By DIANE GARRETT
 He's a superhero to rights holders- but Kryptonite to studios.

 Last week, attorney Marc Toberoffwon a potentially costly "Superman" victory against Warner Bros: for co-
 creator Jerome Siegel's heirs. The federal ruling, which gives the heirs a stake in rights sold 71 years ago, could
 put a serious crimp on future plans for one of the studio's most enduring-- and lucrative-- franchises, especially
 if co-creator Joe Shuster's heirs follow suit in five years, when they are eligible to do so.

· As it is, the studio has at least two Superman projects in development-- a follow-up to Bryan Singer's
  "Superman Returns" and "Justice League"-- and it may end up paying tens of millions from the domestic haul
  of "Superman Returns" to Siegel's heirs under the ruling, which applies to domestic monies for Superman
  projects since 1999.

 The case is Toberoffs latest-- and potentially most damaging-- claim against the studio. The dedicated
 copyright crusader has pursued claims involving "Wild Wild West," "Dukes of Hazzard," "Smallville" and the ·
 upcoming "Get Smart."

 He has gone after other studios, including Sony, but his most high-profile cases-- and victories-- have involved
 Warners. The studio paid "Moonrunners" producer Robert B. Clark a $17.5 million settlement in a case about
 similarities between that 1974 movie and the bigscreen "The Dukes ofHazzard." And a federal judge ruled
 earlier in the Siegels' favor over "Smallville," although that was challenged and the case still being resolved.

The studio declined to comment on the latest ruling in favor of their legal nemesis, issuing only a statement
noting that, "substantial issues relating to the accounting of profits were ruled in our favor."

Among these issues: international profits, trademark-related revs and profits stemming from Superman fare
produced before 1999, when Siegel's heirs terminated the earlier copyright arrangement under a 197 6 law.

To the Siegels, Toberoffs legal maneuvers are nothing short of heroic. The family had been destitute for years
after Siegel sold rights to his Man of Steel to Detective Comics for $130. DC Comics had started to pony up
more monies after Warners made successful movies based on the character, but Siegel had long wished to
redress the fact he had gotten so little from his creation; he died in 1996.

Toberoffhas set up a production company, Intellectual Properties Worldwide, tD develop films around these
and other titles. And he has built up a sideline business producing bigscreen adaptations of the projects whose
copyright claims he pursues. He has a producing credit on "Fantasy Island," a Sony project for Eddie Murphy,
as well as "Sanford and Son."

March 29, 2008


Ruling Gives Heirs a Share of Superman Copyright
By MICHAEL CIEPLY

LOS ANGELES- Time vVarner is no longer the sole proprietor of Superman.

A federal judge here on Wednesday ruled that the heirs of Jerome Siegel - who 70 years
ago sold the rights to the action hero he created with Joseph Shuster to Detective Comics
for $130- were entitled to claim a share of the United States copyright to the character.
                                                            2
                                                      EXHIBIT 19
                                                         281      CONFIDENTIAL                        WME 00160
       Case 2:10-cv-03633-ODW-RZ       Document 500-4 Filed 10/10/12      Page 112 of 157
                                        Page ID #:31824
 The ruling left intact Time Warner's international rights to the character, which it has long
 owned through its DC Comics unit.

 And it reserved for trial questions over how much the company may owe the Siegel heirs
 for use of the character since 1999, when their ownership is deemed to have been restored.
 Also to be resolved is whether the heirs are entitled to payments directly from Time
 \Varner's film unit, Warner Brothers, which took iri $200 million at the domestic box
 office with "Superman Returns" in 2006, or only from the DC unit's Superman profits.

Still, the ruling threatened to complicate vVarner's plans to make more films featuring
Superman, including another sequel and a planned movie based on the DC Comics'
"Justice League of America," in which he joins Batman, Wonder Woman and other
superheroes to battle evildoers.               ·

If the ruling survives a Tim.e Warner legal challenge, it may also open the door to a similar
reversion of rights to the estate of Mr. Shuster in 2013. That would give heirs of the two
creators control over use of their lucrative character until at least 2033 - and perhaps
longer, if Congress once again extends copyright terms- according to Marc Toberoff, a
lawyer who represents the Siegels and the Shuster estate.

"It would be very powerful," said Mr. Toberoff, speaking by telephone on Friday. "Mter
2013, Time Warner couldn't exploit any new Superman-derived works without a license
from the Siegels and Shusters."

Time Warner lawyers declined to discuss the decision, a spokesman said. A similar ruling
in 2006 allowed the Siegels to recapture their rights in the Superboy character, without
determining whether Superboy was, in fact, the basis for Warner Brothers's "Smallville"
television series. The decision was later challenged in a case that has yet to be resolved,
said Mr. Toberoff, who represented the family in that action.

This week's decision by Stephen G. Larson, a judge in the Federal District Court for the
Central District of California, proVided long-sought vindication to _the wife and daughter of
Mr. Siegel, who had bemoaned until his death in 1996 having parted so cheaply with rights
to the lucrative hero.

"We were just stubborn," Joanne Siegel, Mr. Siegel's widow, said in a joint interview with
her daughter, Laura Siegel Larson. "It was a dream of Jerry's, and we just took up the
task."       ·

The ruling specifically upheld the Siegels' copyright in the Superman material published in
Detective Comics' Action Comics Vol. 1. The extent to which later iterations of the
character are derived from that original was not determined by the judge.

In an unusually detailed narrative, the judge's 72-page order described how Mr. Siegel and
Mr. Shuster, as teenagers at Glenville High School in Cleveland, became friends and
collaborators on their school newspaper in 1932. They worked together on a short story,

                                              3
                                         EXHIBIT 19   CONFIDENTfAL                 WME 00161
                                            282
         Case 2:10-cv-03633-ODW-RZ     Document 500-4 Filed 10/10/12       Page 113 of 157
                                        Page ID #:31825
  "The Reign of the Superman," in which their famous character first appeared not as hero,
  but villain.

  By 1937, the pair were offering publishers comic strips in which the classic Superman
  elements - cape, logo and Clark Kent alter-ego - were already set. When Detective
  Comics bought 13 pages of work for its new Action Comics series the next year, the
  company sent Mr. Siegel a check for $130, and received in return a release from both
  creators granting the company rights to Superman "to have and hold forever," the order
  noted.

 In the late 1940s, a referee in a New York court upheld Detective Comics' copyright,
 prompting Mr. Siegel and Mr. Shuster to drop their claim in exchange for $94,000. More
 than 30 years later, DC Comics (the successor to Detective Comics) gave the creators each
 a $2o,ooo-per-year annuity that was later increased to $30,000. In 1997, however, Mrs.
 Siegel and her daughter served copyright termination notices under provisions of a 1976
 law that permits heirs, under certain circumstances, to recover rights to creations.

 Mr. Toberoff, their lawyer, has been something of a gadfly to Warner in the past. In the
 late 1990s, for example, he represented Gilbert Ralston, a television writer, in a legal battle
 over his rights in the CBS television series "The Wild Wild West,'' which was the basis for a
 1999 Warner Brothers film that starred Will Smith. The case, said Mr. Toberoff, was
 settled.

 Compensation to the Siegels would be limited to any work created after their 1999
 termination date. Income from the 1978 "Superman" film, or the three sequels that
 followed in the 1980s, are not at issue. But a "Superman Returns" sequel being planned
 with the filmmaker Bryan Singer (who has also directed "The Usual Suspects" and "X-
 Men") might require payments to the Siegels, should they prevail in a demand that the
 studio's income, not just that of the comics unit, be subject to a court-ordered accounting .

.Mrs. Siegel and Ms. Larson said it was too soon to make future plans for the Superman
 character. But they were inclined to relish this ·moment.

"I have lived in the shadow of this my whole life," Ms. Larson said. "I am so happy now, I
just can't explain it."                                                              ·
·Mark Tseng it Endeavor




                                               4
                                          EXHIBIT 19
                                             283
                                                      rn
                                                      · ••• ._j                     WME 00162
         Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12           Page 114 of 157
                                                 Page ID #:31826

 Tom McGuire Assistant

 From:                            Ariel Emanuel Scheduler </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                  GROUP/CN=RECIPIENTS/CN=AEMANUEL_SCHED>
 Sent:                            Tuesday, April 01, 2008 7:35 PM
 To:                              marja@ariannaonline.com; adriana@huffingtonpost.com
 Cc:                              Ariel Emanuel Assistants Group
 Subject:                         CCI/Ariana Huffington, Marc Toberoff


  Hey Ladies,
· Please let me know when Ariana will be available to talk to Marc re: SUPERMAN CASE.
  Best,

 Katrina Lebedeva
 Endeavor




                                                         1
                                                    EXHIBIT 19                                   WME
                                                       284
           Case 2:10-cv-03633-ODW-RZ                       Document 500-4 Filed 10/10/12   Page 115 of 157
                                                            Page ID #:31827


Tom McGuire Assistant

From:                                   Ariel Emanuel Assistant </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                        GROUP/CN=REUPIENTS/CN=AEMANUEL_ASST>
Sent:                                   Tuesday, July 20, 2004 8:51AM
To:                                     Ariel Emanuel Scheduler
Subject:                                set


Marc Toberoff, Siegels, AE


T oberoff wants this re: Superman. Ask AE if this is ok.




                                                                 1
                                                             EXHIBIT 19
                                                                285
                                                                     CONFIDENTIAL                   WME 00164
         Case 2:10-cv-03633-ODW-RZ                 Document 500-4 Filed 10/10/12              Page 116 of 157
                                                    Page ID #:31828


 Tom McGuire Assistant

 From:                               Ariel Emanuel Scheduler </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                     GROUP/CN=REOPIENTS/CN=AEMANUEL_SCHED>
 Sent:                               Friday, July 16, 2004 9:44 AM
 To:                                 Ariel Emanuel Assistant
 Subject:                            Superboy


, Superman/superboy offer- mtoberoff@ipwla.com- Please email Toberoff the offer (ae spoke to Toberoff about it last
  week).


 IF you cant email it email Toberoff telling him why.

Erin Junkin
Endeavor Agency




                                                           1
                                                        EXHIBIT 19
                                                           286    CONFIDENTIAL                           WME 00165
             Case 2:10-cv-03633-ODW-RZ                   Document 500-4 Filed 10/10/12                      Page 117 of 157
                                                          Page ID #:31829


  Tom McGuire Assistant

  From:                                 Chris Jacquemin </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                        GROUP/CN=REOPIENTS/CN=OACQUEMIN>
  Sent:                                 Wednesday, August 27, 2003 5:57 PM
  To:                                   Ariel Emanuel
  Cc:                                   Ariel Emanuel Assistant
  Subject:                              superman



 Below is a list of all of the Superman properties my office could find. We have denoted the dates that the properties aired or were
 released. If there was box office data associated with anything, we have listed that as well. Please let me know if you would like
 anything further about this.

 Superman - Film

 Superman (1941)
 Animation/Short

 Superman (1948)
 A compilation of 15 episodes of "The Adventures of Superman."

 Superman (1950)
 A compilation of 15 episodes of "The Adventures of Superman."

 Superman and the Mole Men {1951)

 Superman's Peril (1954)
 A compilation of 3 episodes of "The Adventures of Superman" TV series: episodes #32, #44 and #47.

 Superman in Scotland Yard (1954)
 A compilation of 3 episodes of "The Adventures of Superman" TV series: episodes #34, #38 and #49;

 Superman in Exile (1954)
 A compilation cif 3 episodes of "The Adventures of Superman" TV series: no #s given.

 Superman Flies Again (1954)
 A compilation of 3 episodes of "The Adventures of Superman" TV series: episodes #30, #35 and #42.

Superman and the Jungle Devil (1954) ·
A compilation of 3 episodes of "The Adventures of Superman" TV s~ries: episodes #31, #39 and #40.

Stamp Day for Superman (1954)- Short Film

Superman (1973)
A compilation of 4 episodes of "The Adventures of Superman" TV series: episodes #80, #82 and #95, #100.

Superman: The Movie (1978)
Warner Bros.
Total Box Office: $134,218,018

Superman II (1980)
Warner Bros.
Total Box Office: $108,185,706

Superman III (1983)
Warner Bros.
Total Box Office: $59,950,623

Supergirl (1984)
Tri-Star

                                                                  1
                                                             EXHIBIT 19
                                                                287         CONFIDENTIAL                                 WME 00166
          Case 2:10-cv-03633-ODW-RZ                  Document 500-4 Filed 10/10/12                  Page 118 of 157
                                                      Page ID #:31830
  Total Box Office: $14,296,438

 Superman IV: The Quest for Peace (1987)
 Warner Bros.
 Total Box Office: $15,681,020

 Superman -Television

 The Adventures of Superman
 (Syndication, 1952- 1957- 104 episodes)
 (ABC, 1Q57-1958, daytime)
 (CBS, 1966)

 The New Adventures of Superman
 (CBS, 1966-1969, Animated, 68 total Episodes)

 The Adventures of Superboy
 (CBS, 1966-1969, Animated, 34 6-minute episodes)

 The Batman/Superman Hour
 (CBS, 1968-1969, Animated)

 The Superman-Aquaman Hour
 (CBS, 1968-1969, Animated)

 SuperFriends
 (ABC, Animated, 1973-1985: Super Friends, The All-New SuperFriends Hour, SuperFriends: The Legendary Super Powers Show, The
 Challenge of the Superfriends, The World's Greatest SuperFriends, The Super Powers Team: Galactic Guardians)
 (Cartoon Network)

 The Making of Superman: The Movie (1978)

 The Making of Superman II (1980)

 Man and Superman (1982)

The Making of Superman III (1983)

Supergirl: The Making of the Movie (1984)

Superman 50th Anniversary (1988)

Superman {1988)
(CBS, Animated)

Superboy
(1988-1991, Syndicated Only, 78 episodes)
*1990-1991 name changed to Adventures of Superboy

Lois and Clark: The New Adventures of Superman
(1993-1997, ABC)

Superman: The Last Son of Krypton (1996)
Animated - 64 minutes

Superman
(1996-2000, Animated, 54 episodes)

Making Superman: Riming the Legend (2001)

The Batman/Superman Movie (1998)
Animated - 64 minutes

Superman: The Animated Series
(WB, 1996-2000)
                                                              2
                                                         EXHIBIT 19
                                                            288
                                                                       CONFIDENTfAL                              WME 00167
        Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12   Page 119 of 157
                                               Page ID #:31831
(Cartoon Netvvork)

Superboy and Supergirl and 7 Monster (????)

Justice League
(Cartoon Network, M-F Spm, Sat 12:30pm)




CJ




                                                   3

                                                EXHIBIT 19
                                                   289
                                                          CONFIDENTIAL               WME 00168
          Case 2:10-cv-03633-ODW-RZ            Document 500-4 Filed 10/10/12               Page 120 of 157
                                                Page ID #:31832

Tom McGuire Assistant

From:                            Andrew Goodman </O=ENDEAVOR AGENCY/OU=FIRST ADMINISTRATIVE
                                 GROUP/CN=REOPIENTS/CN=AGOODMAN>
Sent:                            Thursday, August 29, 2002 12:14 PM
To:                              Ariel Emanuel
Cc:                              Ariel Emanuel Assistant
Subject                          Superman



Marc would like to know if Kevin Marks at Gang, Tyre, Ramer, & Brown ever responded to you regarding the Superman
offer.




-Andrew




                                                       1
                                                   EXHIBIT 19          Fl           AI.
                                                                                     II~              WME 00169
                                                      290
        Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12              Page 121 of 157
                                               Page ID #:31833




                                              REDACTED


From: marc.toberoff@gmail.com [mailto:marc.toberoff@gmail.com] On Behalf Of Marc Toberoff
Sent: Tuesday, June 08, 2010 12:27 PM
To: Ariel Emanuel
Cc: Ariel Emanuel Assistant
Subject: URGENT stolen docs

DA's office says I need to file a claim with LAPD so that they commence an investigation. The West LA
Division LAPD has jurisdiction; do you or anyone have a contact there so this gets the attention it deserves?

Marc Toberoff
Toberoff & Associates, PC
2049 Century Park East, Suite 2720
Los Angeles, CA 90067
Tel: (310) 246-3333
Fax: (310) 24~-3101
MToberoff@ipwla.com




                                                   REDACTED




                                                        1

                                                 EXHIBIT 19                                         WME 00170
                                                    291
         Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12              Page 122 of 157
                                                Page ID #:31834




                                                   REDACTED

 From: marc.toberoff@gmail.com [mailto:marc.toberoff@gmail.com] On Behalf Of Marc Toberoff
 Sent: Tuesday, June 15, 2010 4:14PM
 To: Ariel Emanuel
 Cc: Ariel Emanuel Assistant
 Subject: URGENT

 Ari:

 To better orient this so we can get some results here:

 I do not believe that this matter would fall under the Cyber/IP Crimes Section of the US Attorneys' Office. It
 would probably fall under the Major Frauds section of the US Attorney's Office, Central District of California

 The Deputy Chief of the Major Frauds section is AUSA, Mr. Beong-Soo Kim, (213) 894-3868. Mr. Kim
 reports to the Chief of the Criminal Division, Ms. Christine Ewell (213) 894-4443., and the Deputy Chief of
 the Criminal Division, Daniel Goodman.

. Can you please run this up the flagpole with your contact to get the reference that will help move this along?

 THANKS!

 Marc Toberoff
 Toberoff & Associates, PC
 2049 Century Park East, Suite 2720
 Los ,Angeles, CA 90067
 Tel: (310) 246-3333
 Fax: (310) 246-3101 .
 MToberoff@ipwla.com




                                                 REDACTED



                                                          1 .

                                                   EXHIBIT 19             10        AL               WME 00171
                                                      292
        Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12             Page 123 of 157
                                                Page ID #:31835




                                                  REDACTED




 From: Ariel Emanuel [maHto:aemanuel@wmeentertainment.com]
 Sent: Tuesday, June 15, 2010 4:16PM                      ·
 To: 'Marc Toberoff
 Subject: RE: URGENT

,yes

 From: marc.toberoff@gmail.com [mailto:marc.toberoff@gmail.com] On Behalf Of Marc Toberoff
  Sent: Tuesday, June 15, 2010 4:14PM
, To: Ariel Emanuel
 Cc: Ariel Emanuel Assistant
 Subject: URGENT

 Ari:

 To better orient this so we can get some results here:

I do not believe that this matter would fall under the Cyber/IP Crimes Section of the US Attorneys' Office. It
would probably fall under the Major Frauds section of the U:S Attorney's Office, Central District of California

The Deputy Chief of the MajorFrauds section is AUSA, Mr. Beong-Soo Kim, (213) 894-3868: Mr. Kim
reports to the Chief of the Criminal Division, Ms. Christine Ewell (213) 894-4443., and the Deputy Chief of
the Criminal Division, Daniel Goodman.

Can you please run this up the flagpole with your contact to get the reference that will help move this along?

THANKS!

Marc Toberoff
Toberoff & Associates, PC
2049 Century Park East, Suite 2720
Los Angeles, CA 90067
Tel: (310) 246-3333


                                                              1

                                                   EXHIBIT 19                                       WME 00172
                                                      293
       Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12    Page 124 of 157
Fax: (310) 246-3101                 Page ID #:31836
MToberoff@ipwla.com




                                           2

                                     EXHIBIT 19                    AL        WME 00173
                                        294
         Case 2:10-cv-03633-ODW-RZ                Document 500-4 Filed 10/10/12                 Page 125 of 157
                                                   Page ID #:31837




                                                   REDACTED

 From: marc.toberoff@gmail.com [mailto:marc.toberoff@gmail.com] On Behalf Of Marc Toberoff
 Sent: Monday, August 16, 2010 4:05PM
 To: Kim, Beong-Soo (USACAC)
 Cc: Ariel Emanuel
 Subject: Re: referral

 Mr. Ki)n:

 Are you free to meet tomorrow morning for breakfast or at your office~ any time between 8:30 and 10:30 am?

 Marc Toberoff

 On Fri, Aug 13, 2010 at 4:56PM, Kim, Beong-Soo (USACAC) <Beong-Soo.Kim@usdoj.gov> wrote:

 Yes, I'll be in on Monday. We could also talk by phone now, if you wa11ted. 213-894-:3868.




 From: marc.toberoff@gmail.com [mailto:marc.toberoff@grnail.com] On Behalf Of Marc Toberoff
 Sent: Friday, August 13, 2010 4:55PM


. To: Kim, Beong-Soo (USACAC)
  Subject: Re: referral




 We missed each other, but I will be in the area again Monday. Is there a time I could swing by and see you?

 On Thu, Aug 12,2010 at 10:20 PM, Kim, Beong-Soo (USACAC) <Beong-Soo.Kim@usdoj.gov> wrote:

 I'm upstairs fi:om Judge Wright; you could try me on the llth Floor after your hearing?




 From: marc.toberoff@gmail.com [mailto:marc.toberoffla),gmail.com] On Behalf Of Marc Toberoff
 Sent: Thursday, August 12, 2010 10:20 PM
 To: Kim, :Beong-Soo (USACAC)
 Subject: Re: referral




                                                              1

                                                      EXHIBIT 19                    [                   WME 00174
                                                                                    L
                                                         295
       Case 2:10-cv-03633-ODW-RZ              Document 500-4 Filed 10/10/12               Page 126 of 157
:Mr. Kim:                                      Page ID #:31838

I would welcome that opportunity. However, I am in Federal Court tomorrow before Judge Otis Wright for a
status conference at 2:30pm, with traffic I may not be back to the office in time. If Friday does not work are
you available on Monday?

I would also be happy to go downtown and meet with you in person.

Thank-you.

Marc Toberoff

On Thu, Aug 12, 2010 at 9:20PM, Kim, Beong-Soo (USACAC) <Beong-Soo.Kim@usdoj.gov> wrote:

Marc: Let's try to talk tomorrow afternoon, if you're around, about your referral to my office. I'll leave it to
you whether you'd like Ari Emanuel to be on the call. .




                             '
                            '·
                                          REDACTED


Beong-Soo Kim

Chief, Major Frauds Section

Central District ofCalifornia

(213) 894-3868 (phone); (213) 894-6269 (fax)




Marc Toberoff
Toberoff & Associates, PC
2049 Century Park East, Suite 2720
Los Angeies, CA 90067
Tel: (310) 246-3333
Fax: (310) 246-3101
MToberoff@ipwla.com




Marc Toberoff
                                                         2

                                                  EXHIBIT 19                                          WME 00175
                                                     296
      Case 2:10-cv-03633-ODW-RZ      Document 500-4 Filed 10/10/12   Page 127 of 157
                                      Page ID #:31839
Toberoff & Associates, PC
2049 Century Park East, Suite 2720
Los Angeles, CA 90067
Tel: (310) 246-3333
Fax: (310) 246-3101
MToberoff@ipwla.com




Marc Toberoff
Toberoff & Associates, PC
2049 Century Park East, Suite 2720
Los Angeles, CA 90067
Tel: (310) 246-3333
Fax:(310)246-3101
MToberoff(a),ipwla.com




                                             3

                                       EXHIBIT 19 CONFIDENTIAL                WME 00176
                                          297
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 128 of 157
                             Page ID #:31840




                              EXHIBIT 19
                                 298
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 129 of 157
                             Page ID #:31841




                              EXHIBIT 19
                                 299
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 130 of 157
                             Page ID #:31842




                              EXHIBIT 19
                                 300
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 131 of 157
                             Page ID #:31843




               EXHIBIT 20
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12             Page 132 of 157
                                       Page ID #:31844




BEIJING                          1999 Avenue of the Stars, 7th Floor                    SAN FRANCISCO

BRUSSELS                         Los Angeles, California 90067-6035                          SHANGHAI

HONG KONG                                                                               SILICON VALLEY
                                      TELEPHONE     (310) 553-6700
LONDON                                                                                      SINGAPORE
                                       FACSIMILE   (310) 246-6779
LOS ANGELES                                                                                     TOKYO
                                           www.omm.com
NEWPORT BEACH                                                                         WASHINGTON, D.C.

NEW YORK




                                                                                      OUR FILE NUMBER
August 3, 2011                                                                             905900-321

VIA E-MAIL                                                                         WRITER’S DIRECT DIAL
                                                                                        (310) 246-6840
Marc Toberoff
                                                                                WRITER’S E-MAIL ADDRESS
Toberoff & Associates, P.C.
                                                                                 mkline@omm.com
2049 Century Park East, Suite 3630
Los Angeles, California 90067

Gerald A. Berk
Steuer Escovar Berk Brown
55 Public Square, Suite 1475
Cleveland, Ohio 44113

                Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

      We write to follow up on several issues raised during Don Bulson’s deposition—all of
which we hope to resolve before taking the second day of his deposition, per his agreement, this
Fall:

        1. Withdrawn Objections. At the end of Mr. Bulson’s deposition Mr. Berk stated that he
would be withdrawing many of the objections and instructions not to answer that he made during
the deposition. Dep. of Don Bulson (“Tr.”) at 163:13-21. As Mr. Berk promised he would do,
see id. at 163:22-164:4, please review the enclosed transcript and specifically identify each
objection that counsel for the defendants and the Estate of Michael Siegel wish to withdraw. We
need to meet and confer this week or next week on any remaining objections that you have, so
that we can address them in any necessary motion.

        2. Objections re: Documents Conveyed to Mr. Bulson by Mr. Siegel. Throughout the
deposition both Mr. Berk and Mr. Toberoff instructed Mr. Bulson not to answer questions
regarding non-privileged documents or information conveyed to Mr. Bulson by Mr. Siegel. E.g.,
Tr. at 24:22-30:23, 52:1-3; 55:11-20, 60:13-62:1. We requested that you identify what authority
you were relying on to take that position, but you did not have any specific authorities at hand.
See id. at 27:2-29:10. The law is clear that non-privileged documents do not become privileged
because they are sent to an attorney or reside in his files. E.g., U.S. v. Osborn, 561 F.2d 1334,
1338 (9th Cir. 1977); In re Rupert, 309 F.2d 97, 99 (6th Cir. 1962); Suezaki v. Super. Ct., 58 Cal.



                                         EXHIBIT 20
                                            301
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12              Page 133 of 157
                                       Page ID #:31845


August 3, 2011 - Page 2



2d 166, 176 (1962) (mere transmission to counsel of non-privileged communication “cannot
create the privilege if none, in fact, exists”); Moskovitz v. Mt. Sinai Med. Ctr., 69 Ohio St. 3d 638
(1994); Davies v. Columbia Gas & Elec. Co., 68 N.E.2d 571, 579 (Ohio C.P. 1938), order aff’d,
68 N.E.2d 231 (Ct. App. 1939) (non-privileged documents received by “attorney for the
purposes of consultation … could not be regarded as privileged communications.”).1 Please
provide us with citations to the authorities you are relying on in asserting that non-privileged
documents and information become privileged simply because they were conveyed to an
attorney. We need to meet and confer this issue this week or next week, so that we can address
any remaining disputes in a motion.

       2. Expert Report. Mr. Bulson testified that he believes an expert report was submitted in
the Renner Otto litigation against the Estate of Michael Siegel containing billing records and/or
time entries reflecting when Mr. Bulson spoke with Mr. Toberoff. Tr. at 20:5-24:3. Mr. Ryland
has indicated that Renner Otto can produce such responsive documents to DC but needs to go
through you regarding privilege assertions before doing so. Please confirm that Mr. Ryland is
authorized to produce Renner Otto’s expert report. We hope to avoid having to serve subpoenas
on your offices seeking this document, which is readily available to Mr. Ryland. If you are
unwilling to allow these documents to be produced, we need to meet and confer on the issue this
week or next week.

        3. Calendar and/or Billing Entries. In addition to the expert report, DC requests that
non-privileged portions or calendars and billing entries maintained by Mr. Bulson and/or Renner
Otto regarding the representation of Michael Siegel be produced. Tr. at 18:12-24:3. Please
confirm that Mr. Ryland is authorized to produce these documents (redacted, as need be). We
are not seeking the disclosure of attorney-client or work product information that may be
contained in Mr. Bulson’s calendars or billing entries, but we are entitled to discover the dates on
which Mr. Bulson spoke or corresponded with Mr. Toberoff. The timeline of Mr. Bulson and
Mr. Toberoff’s interactions is directly relevant to our claims in this case. If you are unwilling to
allow these documents to be produced, we need to meet and confer on the issue this week or next
week.

      4. Michael Siegel File. As you are aware, as Mr. Ryland informed us, see July 15, 2011,
Ryland Letter to Kline, and as Mr. Bulson testified, Tr. at 14:25-18:11, Renner Otto is in

    1
      Accord U.S. v. Ruehle, 583 F.3d 600, 608-09 (9th Cir. 2009) (district court’s presumption of
privilege over all communications during attorney-client relationship was error); U.S. v.
Goldfarb, 328 F.2d 280, 281-82 (6th Cir.), cert. denied, 377 U.S. 976 (1964) (attorney-client
relationship does not create an automatic “cloak of protection … draped around all occurrences
and conversations which have any bearing, direct or indirect, upon the relationship of the
attorney with his client”); N. Pacifica, LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1127 (N.D.
Cal. 2003) (statements made in meeting not necessarily privileged simply because legal counsel
present); Sneider v. Kimberly-Clark Corp., 91 F.R.D. 1, 4 (N.D. Ill. 1980) (“Attachments which
do not, by their content, fall within the realm of the privilege cannot become privileged by
merely attaching them to a communication with an attorney.”).



                                          EXHIBIT 20
                                             302
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12             Page 134 of 157
                                       Page ID #:31846


August 3, 2011 - Page 3



possession of a digital copy of Mr. Siegel’s files. Renner Otto is lawfully in possession of those
documents and is entitled to retain a copy of Mr. Siegel’s files as well as review them. E.g., OH
Adv. Op. 1992-8 (Ohio Bd. Com. Griev. Disp.); In re Int’l Corp., 2004 WL 5507905, at *1 (S.D.
Ohio Oct. 1, 2004); OH. Prof. Cond. R. 1.15(a), 1.16(d); Disc. Counsel v. Noel, 894 N.E.2d 31,
34 (Ohio 2008). We understand that Mr. Ryland intends to defer to you regarding claims of
attorney-client privilege and work product. However, Renner Otto is obligated to respond to
DC’s subpoena for production of documents—which requires it to produce responsive, non-
privileged documents in these digital files and produce a privilege log. FED. R. CIV. P. 45(d), (e);
e.g., Heilman v. Vojkufka, 2011 WL 677877, at * 18 (E.D. Cal. Feb. 17, 2011); U.S. v. Martin,
278 F.3d 988. 1000 (9th Cir. 2002); Clarke v. Am. Commerce Nat’l Bank, 974 F.2d 127, 129 (9th
Cir. 1992); see also William W. SCHWARZER ET AL., FEDERAL CIVIL PROCEDURE BEFORE TRIAL
(“RUTTER”) §§ 11:2220-2318 (2011).

        As an interim step to Renner Otto making this full production or making any privilege
calls, and so that our disputed document issues may be framed, we propose that the Renner Otto
firm (at DC’s expense) take the first step of preparing a log of all documents in their Michael
Siegel file. This log would identify who authored the document, to whom it was sent (if
anyone), the date of the document, when it was received by Renner Otto (if that date is known),
and the total number of pages for each individual document. All attachments and enclosures
would be listed separately, as would each part of email chains.2 Such a log is necessary to
identify each document in Mr. Siegel’s file, since Mr. Toberoff’s privilege assertions over the
Michael Siegel file and other documents—in this and related cases—have been adjudged to be
erroneous and overbroad, and given that he has admitted clipping privileged and non-privileged
documents together and listing them as a single privilege log entry. Case No. 1:06 MC 99,
Docket No. 15 at 2-3 (April 1, 2008, Order of the U.S. District Court for the Northern District of
Ohio) (“[T]he court finds that none of the 15 documents are subject to the attorney/client
privilege … [N]one of the 15 communications … are for the purpose of giving legal advice.”);
June 20, 2011, Hearing Tr. at 16:19-18:15 (“[T[he letter we believe was part of a larger
communication from the client wanting to discuss these communications with her brother … It
appeared paper clipped with the other documents.”).

       If you are unwilling to agree to this procedure, we need to meet and confer on the issue
this week or next week.


    2
      E.g., Narayan v. EGL, Inc., 2006 WL 3050851, at *1 (N.D. Cal. Oct. 24, 2006) (ordering
amended privilege log to include separate listing for attachments); In re Heritage Bond Litig.,
2004 WL 1970058, at *5 (C.D. Cal. July 23, 2004) (same); Mold-Masters Ltd. v. Husky Injection
Sys. Ltd., 2001 U.S. Dist. LEXIS 20152, at *8-9 (N.D. Ill. Dec. 5, 2001) (“Since a document
with an attachment constitutes two separate documents, a party objecting to the disclosure of a
document with an attachment must prove that both the document and the attachment individually
satisfy the requirements of the applicable privilege or doctrine.”); RUTTER § 11:1919 (“Listing
each e-mail separately is crucial where different e-mails in the strand potentially raise different
privilege grounds.”).



                                          EXHIBIT 20
                                             303
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12              Page 135 of 157
                                       Page ID #:31847


August 3, 2011 - Page 4



        5. “Confidentiality” Designations. During the deposition, you refused to allow us to
examine Mr. Bulson regarding two exhibits: (1) a February 12, 2002, memorandum of
agreement between Pacific Pictures Corporation, Ari Emanuel, and Endeavor (Ex. 44 -
EN00001-7), Tr. at 88:8-92:14; and (2) a May 12, 2005, letter from Mr. Toberoff to Patrick
Perkins responding to DC’s April 28, 2005, proposal to the Shusters (Ex. 52 - SHU 109-111), Tr.
at 137:12-139:25. You objected to both exhibits on the grounds that they were marked
“confidential” and therefore governed by the protective order in the Siegel case, which you
argued applied in this case because the parties purportedly always anticipated entering into a
protective order. First, there is no protective order in this case, and defendants produced both
exhibits by designation, without reservation of any rights or claims of confidentiality. See Dec.
7, 2010, Toberoff Letter to Petrocelli (attached). Second, neither of the two exhibits was marked
“confidential” when the bates stamps were applied prior to production, as required by the
protective order in Siegel. The “confidential” label exists on the underlying document—and the
person whom affixed it could not have labeled the document confidential with the parties’
protective order in Siegel in mind. That order did not enter until April 5, 2006. Please confirm
your agreement that DC may proceed to examine Mr. Bulson regarding both exhibits when his
deposition is re-commenced. If you disagree, we need to meet and confer on these issues
without delay.

         As for your threats that defendants will disclose DC’s confidential documents, e.g., Tr. at
152:2-153:1 (“Warner Brothers and DC have marked thousands of documents confidential with
all sorts of financial information. And if DC is not abiding by when we mark things confidential
and abiding by the protective order we're not going to abide by that order either.”), these threats
are improper and be advised that DC will seek full relief against you and defendants if you act
out on them.

       6. Protective Order re: Deposition. During the deposition, Mr. Ryland requested that
Mr. Bulson’s deposition be marked “attorney’s eyes only” and be subject to a protective order
between the parties, specifically with respect to portions of the deposition that deal with the
business practices of Renner Otto Boisselle & Sklar, LLP. Tr. at 20:14-21:24. Please confirm
your agreement to Mr. Ryland’s request and we will prepare a protective order for your review.




                                          EXHIBIT 20
                                             304
Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12             Page 136 of 157
                                       Page ID #:31848


August 3, 2011 - Page 5



                                         *       *      *

       Please provide us with the earliest possible date this or next week that you are available
to meet and confer on these issues.

                                                 Very truly yours,



                                                 Matthew T. Kline
                                                 of O’MELVENY & MYERS LLP


Enclosure(s)
cc:    Daniel M. Petrocelli, Esq.
       Jason Tokoro, Esq.
       Josh Ryland, Esq.
       Richard Kendall, Esq.




                                         EXHIBIT 20
                                            305
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 137 of 157
                             Page ID #:31849




               EXHIBIT 21
            Case 2:10-cv-03633-ODW-RZ             Document 500-4 Filed 10/10/12             Page 138 of 157
                                                   Page ID #:31850

                                  TOBEROFF & ASSOCIATES, P.C.
                                                   A PROFESSIONAL CORPORATION


                                            2049 CENTURY PARK EAST, SUITE 3630

MARC TOBEROFF*                                LOS ANGELES, CALIFORNIA 90067                                     TELEPHONE
NICHOLAS C. WILLIAMSON                                                                                        (310) 246-3333
KEITH G. ADAMS
JEFFREY R. RHOADS                                                                                                FACSIMILE
                                                                                                              (310) 246-3101
* Also admitted in New York
                                                                                                         mtoberoff@ipwla.com


            August 11, 2011

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Matt:

            I write on behalf of defendants and the Estate of Michael Siegel (the “Estate”) in response to
            your August 3, 2011 letter regarding Don Bulson’s deposition.

            1.     Withdrawn Objections: Mr. Berk stated at the end of Mr. Bulson’s deposition that he
            would consider withdrawing certain of his objections made early on in the deposition.

            The Estate hereby withdraws its objections to DC’s questioning on the following topics: (1)
            communications between Mr. Bulson and Mr. Toberoff concerning the purchase of the Michael
            Siegel interest (Rough Transcript (“Trns.”) at 31:5-13, 43:12-45:3); (2) whether Mr. Bulson
            discussed the May 13, 2003 letter from Michael Siegel to Laura Siegel Larson with Marc
            Toberoff (Trns. at 55:11-56:16); and (3) whether Mr. Bulson would have “wanted to know” the
            identity of the potential investor in the Michael Siegel interest (Trns. at 85:19-86:15). However,
            topic (3) is moot as it was answered later without objection. Trns. at 98:9-16. The Estate
            maintains its objections to the extent DC’s questioning concerns or implicates the substance of
            any communications between Mr. Bulson and Michael Siegel.

            The Estate also maintains its objections as to communications between Michael Siegel and Don
            Bulson regarding Mr. Siegel’s communications with Laura Siegel Larson. Trns. at 60:13-66:3,
            72:21-75:8, 76:18-80:17.

            2.      Documents Conveyed to Mr. Bulson: Your assertion that we improperly instructed Mr.
            Bulson not to answer questions concerning certain alleged “non-privileged documents” is a straw
            man. The Estate clearly stated that “[Mr. Bulson] can answer concerning whether he sent these
            documents, but any conversations he had with Michael Siegel concerning these documents are
            privileged.” Trns. at 51:16-20. Defendants also never asserted, as you claim, that non-privileged



                                                      EXHIBIT 21
                                                         306
Case 2:10-cv-03633-ODW-RZ Document 500-4 Filed 10/10/12                           Page 139 of 157
                            Page ID #:31851
TOBEROFF & ASSOCIATES, P.C.

August 11, 2011
Re:   DC Comics v. Pacific Pictures Corp.
Page: 2 of 4

documents become privileged through their transmission to an attorney, and none of DC’s
examples involve such assertions:

       •   Trns. at 24:22-30:23: The Estate did not assert the May 13, 2003 letter from Michael
           Siegel to Laura Siegel Larson itself was privileged. The Estate merely instructed Mr.
           Bulson not to answer a question about whether he had previously seen the document
           to the extent that he had seen it during privileged communications with Michael
           Siegel. Mr. Bulson clearly testified that he had never seen the May 13 letter
           “independent of Michael [Siegel] giving [him] this document.” Trns. at 26:21-23.
       •   Trns. at 52:1-3: The Estate clearly and properly asserted privilege as to
           “communications between Mr. Bulson and Michael Siegel.”
       •   Trns. at 55:11-20: The Estate did not assert privilege as to the May 13 letter.
           Nonetheless, the instruction not to answer the question of whether Mr. Bulson ever
           communicated with Mr. Toberoff about the May 13 letter is withdrawn as stated
           above.
       •   Trns. at 60:13-62:1: The Estate clearly and properly instructed Mr. Bulson not to
           answer questions regarding his attorney-client communications with Michael Siegel
           about Marc Toberoff.

3.      Expert Report/Calendar & Billing Entries: We have asked Renner Otto for a copy of the
expert report and its calendar and billing entries so that we can review such documents and
determine whether the Estate will assert privilege as to any information contained therein. The
Estate needs to review such documents as they are produced to enable it to assert privilege where
appropriate. DC cannot possibly object to this, as it states that it is “not seeking the disclosure of
attorney-client or work product information” contained in such documents, but merely “the dates
on which Mr. Bulson spoke or corresponded with Mr. Toberoff.”

DC’s claim that the “timeline of Mr. Bulson and Mr. Toberoff’s interactions is directly relevant
to our claims in this case” is incorrect, as the discovery sought by DC is entirely collateral. DC’s
complaint makes no allegations whatsoever concerning the purchase of the Michael Siegel
interest and does not once mention Mr. Siegel.

4.      The Michael Siegel File: Your demand that Renner Otto prepare what amounts to a
privilege log and to include information far beyond that which is required is improper.

The privilege as to these files is for the Estate to assert. Renner Otto stated “unequivocally [that]
we will not make any determinations with respect to privilege on our own judgment, because we
do not hold the privilege, nor can we assert it or waive it.” Trns. at 53:5-8.

Moreover, your proposal to “log” “all” documents in Renner Otto’s Michael Siegel archive
regardless of whether they are even responsive to the subpoena makes no sense whatsoever. You
demand that the log must identify “the date of the document” and the date “when it was received
by Renner Otto (if that date is known),” as well as “the total number of pages for each individual



                                          EXHIBIT 21
                                             307
Case 2:10-cv-03633-ODW-RZ Document 500-4 Filed 10/10/12                             Page 140 of 157
                            Page ID #:31852
TOBEROFF & ASSOCIATES, P.C.

August 11, 2011
Re:   DC Comics v. Pacific Pictures Corp.
Page: 3 of 4

document” and that “[a]ll attachments and enclosures would be listed separately, as would each
part of email chains.” DC is not entitled to all these details in a standard log unless otherwise
ordered by a court. DC’s February 7, 2011 motion to compel such details (Docket No. 160 at
40-44) was denied on April 11, 2011 (Docket No. 209 at 13); its April 25, 2011 motion for
review of that April 11 order on that subject (Docket No. 225 at 17-20) was denied on May 11,
2011 (Docket No. 248); and its motion for reconsideration of that April 11 order on that subject
(Docket No. 253 at 9-10) was denied on June 20, 2011 (Docket No. 285). Each time, DC
claimed that defendants’ privilege logs were “deficient” and that defendants were required to list
such details, particularly with respect to “Michael Siegel” documents, and the Courts denied
DC’s demands and upheld defendants’ privilege logs.

Your offer to pay Renner Otto is a transparent and improper attempt to motivate Renner Otto to
act contrary to its former client’s and now the Estate’s interest by divulging information that the
Courts have consistently held DC is not entitled to.

5.      Confidentiality Designations: The entire dispute as to this issue of documents marked
“Confidential” from the Siegel litigation could be easily avoided if DC would agree to a
protective order in this case similar in substance to the one entered into by the parties in Siegel,
which permitted witnesses to be examined as to documents designated “confidential.” See Siegel
v. Warner Bros. Entertainment, Inc., Docket No. 50, ¶¶ 5-8.

DC’s claim that “the ‘confidential’ label exists on the underlying document,” and that therefore
the Siegel protective order does not apply, is disingenuous. The Siegel protective order applies
to “any writing produced in any Document Production by any party or non-party witness marked
as ‘CONFIDENTIAL.’” Id., ¶ 4. Nowhere does the protective order require that such a
“CONFIDENTIAL” designation be affixed at the time of production.

DC’s hypocrisy on this subject is notable; on one hand, it asserts that no protective order was
entered into in this case, while threatening, on the other hand, that it will “seek full relief against
you and defendants” if defendants disclose confidential documents produced by DC in Siegel.

You also falsely contend that I “refused” to allow you to examine Mr. Bulson on a May 12, 2005
letter from me to Patrick Perkins. You asked several questions about that letter, I did not instruct
Mr. Bulson not to answer any questions on the basis of my objections, and you chose not to ask
any further questions after I objected. Trns. at 137:2-138:19.

6.      Protective Order re: Depositions: We will agree in principle to Mr. Ryland’s request for
a protective order concerning Renner Otto’s business practices, subject to approving the
particular terms and language of any such order.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.




                                           EXHIBIT 21
                                              308
Case 2:10-cv-03633-ODW-RZ Document 500-4 Filed 10/10/12   Page 141 of 157
                            Page ID #:31853
TOBEROFF & ASSOCIATES, P.C.

August 11, 2011
Re:   DC Comics v. Pacific Pictures Corp.
Page: 4 of 4

Very truly yours,


Marc Toberoff

cc:    Josh Ryland




                                     EXHIBIT 21
                                        309
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 142 of 157
                             Page ID #:31854




               EXHIBIT 22
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 66 ofPage 143 ofID157
                                                                   74 Page      #:3675
                                Page ID #:31855




                                    EXHIBIT 22
                                       310
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 67 ofPage 144 ofID157
                                                                   74 Page      #:3676
                                Page ID #:31856




                                    EXHIBIT 22
                                       311
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 68 ofPage 145 ofID157
                                                                   74 Page      #:3677
                                Page ID #:31857




                                    EXHIBIT 22
                                       312
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 69 ofPage 146 ofID157
                                                                   74 Page      #:3678
                                Page ID #:31858




                                    EXHIBIT 22
                                       313
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 70 ofPage 147 ofID157
                                                                   74 Page      #:3679
                                Page ID #:31859




                                    EXHIBIT 22
                                       314
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 71 ofPage 148 ofID157
                                                                   74 Page      #:3680
                                Page ID #:31860




                                    EXHIBIT 22
                                       315
CaseCase 2:10-cv-03633-ODW-RZ
     2:10-cv-03633-ODW-RZ      Document
                           Document     500-409/03/10
                                    49 Filed     Filed 10/10/12
                                                        Page 72 ofPage 149 ofID157
                                                                   74 Page      #:3681
                                Page ID #:31861




                                    EXHIBIT 22
                                       316
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 150 of 157
                             Page ID #:31862




               EXHIBIT 23
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 151 of 157
                             Page ID #:31863




                              EXHIBIT 23
                                 317
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 152 of 157
                             Page ID #:31864




                              EXHIBIT 23
                                 318
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 153 of 157
                             Page ID #:31865




                              EXHIBIT 23
                                 319
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 154 of 157
                             Page ID #:31866




                              EXHIBIT 23
                                 320
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 155 of 157
                             Page ID #:31867




                              EXHIBIT 23
                                 321
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 156 of 157
                             Page ID #:31868




                              EXHIBIT 23
                                 322
Case 2:10-cv-03633-ODW-RZ   Document 500-4 Filed 10/10/12   Page 157 of 157
                             Page ID #:31869




                              EXHIBIT 23
                                 323
